Case:Highly
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      1               IN THE UNITED STATES DISTRICT COURT
      2                FOR THE NORTHERN DISTRICT OF OHIO
      3                           EASTERN DIVISION
      4    ______________________
      5    IN RE:                                     Case No. 17-MD-2804
                                                                MDL No. 2804
      6    NATIONAL PRESCRIPTION                      Hon. Dan A. Polster
           OPIATE LITIGATION
      7
           APPLIES TO ALL CASES
      8    ______________________
      9
     10
                                 HIGHLY CONFIDENTIAL
     11
                  SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
     12
                            Wednesday, December 19, 2018
     13
     14
     15
     16
     17               Video Deposition of STEVEN A. BECKER,
     18     held at the JW Marriott, 2141 Lindau Lane,
     19     Minneapolis, Minnesota, commencing at 9:16 a.m.,
     20     on the above date, before Myrina A. Kleinschmidt,
     21     Registered Merit Reporter, Certified Realtime
     22     Reporter, and Certified Realtime Captioner.
     23
     24                     GOLKOW LITIGATION SERVICES
                      877.370.3377 ph | 917.591.5672 fax
     25                             deps@golkow.com

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     1 APPEARANCES:                                      1   APPEARANCES, continued:
     2                                                   2
     3 Representing Plaintiffs:                          3   Representing Cardinal Health:
     4                                                   4
     5      KELLER ROHRBACK L.L.P.                       5       WILLIAMS & CONNOLLY LLP
     6      DEREK W. LOESER                              6       MELINDA JOHNSON
     7      ALISON S. GAFFNEY                            7       Attorney at Law
     8      Attorneys at Law                             8       725 Twelfth Street, N.W.
     9      1201 Third Avenue, Suite 3200                9       Washington, DC 20005
    10      Seattle, WA 98101-3052                      10       mkjohnson@wc.com
    11      dloeser@kellerrohrback.com                  11
    12      agaffney@kellerrohrback.com                 12
    13                                                  13   APPEARED VIA CONFERENCE CALL:
    14                                                  14
    15 Representing Tennessee Plaintiffs:               15   Representing Validus Pharmaceuticals:
    16                                                  16
    17      BRANSTETTER, STRANCH & JENNINGS, PLLC       17       FOX ROTHSCHILD LLP
    18      BENJAMIN A. GASTEL                          18       JACOB S. PERSKIE
    19      Attorney at Law                             19       Attorney at Law
    20      The Freedom Center                          20       1301 Atlantic Avenue
    21      223 Rosa L. Parks Avenue, Suite 200         21       Midtown Building, Suite 400
    22      Nashville, TN 37203                         22       Atlantic City, NJ 08401-7212
    23      beng@bsjfirm.com                            23       jperskie@foxrothschild.com
    24                                                  24
    25                       (continued...)             25                              continued...)
                                               Page 3                                                   Page 5
     1   APPEARANCES, continued:                         1 APPEARANCES, continued:
     2                                                   2
     3   Representing Mallinckrodt LLC, SpecGX LLC,      3 APPEARED VIA CONFERENCE CALL AND REMOTE
     4   and the Witness:                                4 REALTIME/VIDEO STREAM:
     5                                                   5
     6       ROPES & GRAY LLP                            6 Representing AmerisourceBergen
     7       WILLIAM DAVISON                             7 Drug Corporation:
     8       JOSH GOLDSTEIN                              8
     9       Attorneys at Law                            9      JACKSON KELLY PLLC
    10       Prudential Tower                           10      JILL MCINTYRE
    11       800 Boylston Street                        11      Attorney at Law
    12       Boston, MA 02199-3600                      12      500 Lee Street East, Suite 1600
    13       william.davison@ropesgray.com              13      Charleston, WV 25301-3202
    14       joshua.goldstein@ropesgray.com             14      jmcintyre@jacksonkelly.com
    15                                                  15
    16                                                  16
    17   Representing Walmart:                          17 Representing Endo Pharmaceuticals:
    18                                                  18
    19       JONES DAY                                  19      ARNOLD & PORTER KAYE SCHOLER LLP
    20       BRANDY H. RANJAN                           20      SEAN P. HENNESSY
    21       Attorney at Law                            21      Attorney at Law
    22       325 John H. McConnell Blvd., Suite 600     22      601 Massachusetts Avenue, NW
    23       Columbus, OH 43215-2673                    23      Washington, DC 20001-3743
    24       branjan@jonesday.com                       24      sean hennessy@arnoldporter.com
    25                       continued...)              25                      (continued...)

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     3   Representing McKesson:                                    3 MALLINCKRODT-BECKER EXHIBITS                       PAGE
     4                                                             4
     5           COVINGTON & BURLING LLP                           5 Exhibit 002 ..................................45
     6           JAMES HOVARD                                      6     Written Notification of
     7           Attorney at Law                                   7     Unsatisfactory Performance;
     8           3000 El Camino Real                               8     Employee Name: Steve Becker,
     9           5 Palo Alto Square                                9     Job Title: National Account Director,
    10           Palo Alto, CA 94306-2112                         10     Manager Name: Jane Williams,
    11           jhovard@cov.com                                  11     Department: Specialty Generics,
    12                                                            12     Date: August 7, 2014
    13                                                            13     MNK-T1_0007147596 through 598
    14   The Videographer:                                        14
    15                                                            15 Exhibit 003 ..................................58
    16           DANIEL BURTON                                    16     Document Produced in Native Format,
    17                                                            17     FY13 Pharmaceutical Combined Trade Show,
    18                                                            18     Conference and Event Schedule
    19                                                            19     MNK-T1_0002161144, (and 2 additional pages)
    20                                                            20
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    22                                                            22     Pre-show Worksheet
    23                                                            23     MNK-T1_0002867894 through 898
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     6         By Mr. Gastel - Page 374                            6     e-mail correspondence with
     7         By Mr. Davison - Page 417                           7     attached HD Smith Fentanyl Patches
     8                                                             8     & Lozenge Fall Suggested Order September
     9 REQUESTS:                                                   9     12.xls; HD Smith Oxycodone Fall Suggested
    10                                                            10     Orders September 2012.xlsx
    11         Pages 30, 31, 218                                  11     MNK-T1_0004809715
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    13 EXHIBITS:                                                  13 Exhibit 006 ..................................99
    14                                                            14     Newsroom, 12/3/06; Alarm over
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    16                                                            16     Skyrocket as Dealers and Addicts
    17 Exhibit 001..................................25            17     Flock to S. Florida
    18     Plaintiffs' Amended Notice of                          18     (5 pages)
    19     Oral Videotaped Deposition of                          19
    20     Steven Becker and Requests for                         20 Exhibit 007 .................................108
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    22     (Amended as to location only)                          22     MNK-T1_0000264194 through 195
    23     (6 pages)                                              23
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     5 Exhibit 008 ..................................112              5 Exhibit 016 .................................201
     6     "The 'Oxy Express':                                        6     MNK-T1_0000264292
     7     Florida's Drug Abuse Epidemic"                             7     (3 pages)
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    10 Exhibit 009 ..................................115             10     e-mail correspondence
    11     e-mail correspondence                                     11     MNK-T1_0000559192, 195,
    12     MNK-T1_0004916278 through 279                             12     (and 1 additional page)
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    15     e-mail correspondence with attached                       15     MNK-T1_0000264296
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    21     6-16-11Oxycotin PD Article rtf                            21     its DEA Registration to Resolve
    22     MNK-T1_0004888161 through 162                             22     Allegations of Unlawful Prescription Drug
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     5 Exhibit 012 .................................142               5 Exhibit 020 .................................228
     6     Document Produced in Native Format,                        6     List of Clients
     7     Specialty Generics National Sales                          7     MNK-T1_0000448041 through 042
     8     Meeting, November 9, 2011                                  8
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    18     attached Griffin                                          18     Backgrounder.DOC; 2011PBA TrueCare
    19     Pharmacy-Montclair_20110601 xlsx                          19     Backgrounder.DOC; 2011 Pharmacy Select
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    14     e-mail correspondence                                    14     Press release, "Michigan Pharmaceutical
    15     MNK-T1_0004595209 through 211                            15     Supplier'S DEA License Suspended;
    16                                                              16     -Harvard Drug Group, LLC distributed
    17 Exhibit 025 .................................278             17     13 million doses of Oxy from 2008-2010"
    18     e-mail correspondence                                    18     (1 page)
    19     MNK-T1_0000267546 through 547                            19
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    21 Exhibit 026 .................................283             21     e-mail correspondence with
    22     e-mail correspondence                                    22     attached Untitled Attachment
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    25                               (continued...)                 25                               (continued...)

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     5 Exhibit 027 .................................288              5 Exhibit 035 .................................322
     6     e-mail correspondence with                                6     "Pennsylvania Pharmaceutical
     7     attached Backorder Priority                               7     Wholesaler Value Drug, Inc. to
     8     customers.xlsx                                            8     Pay $4,000,000 in Settlement"
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    12     Document Produced in Native Format,                      12     Federal Register; Vol. 80, No. 178;
    13     Trade Records                                            13     Tuesday, September 15, 2015
    14     MNK-T1_0000560953,                                       14     (3 pages)
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    16                                                              16 Exhibit 037 .................................329
    17 Exhibit 029 .................................295             17     "Manhattan U.S. Attorney Announces
    18     e-mail correspondence                                    18     $10 Million Civil Penalty Recovery
    19     MNK-T1_0000506895                                        19     Against New York Pharmaceutical
    20                                                              20     Distributor Kinray, LLC."
    21 Exhibit 030 .................................298             21     (3 pages)
    22     e-mail correspondence                                    22
    23     MNK-T1_0004787571 through 576                            23
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     6     e-mail correspondence with attached                       6      e-mail correspondence with attached ANWC
     7     image001.gif; image002.jpg                                7      Program.docx; Distributor ABC Alternate
     8     MNK-T1_0000561015 through 016                             8      NW Contract Program 3-17-2011 xls;
     9                                                               9      Distributor Cardinal Alternative NW
    10 Exhibit 039 .................................348             10      Contract Program 3-17-2011 xls;
    11     e-mail correspondence with attached                      11      Distributor McKesson Alternative NW
    12     Customer Audit Checklist Revision                        12      Contract Program 3-17-2011 xls
    13     04_01_11.doc; 02_11 Update Wholesaler                    13      MNK-T1_0005890567 through 569
    14     Checklist.docx; 04_11 Customer Checklist                 14
    15     Information Sheet.doc                                    15
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    18 Exhibit 040 .................................367             18
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    21     12_27_2007.pdf; DEA Memo Reference                       21
    22     Southwood Pharm Revocation_Suspicious                    22
    23     Order Monitoring.pdf                                     23
    24     MNK-T1_0005038685 through 690                            24
    25                        (continued...)                        25                                    (continued...)

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     1 EXHIBITS:                                                     1 EXHIBITS WHICH WERE MARKED PRIOR, BUT REFERENCED
     2                                                               2 DURING THIS DEPOSITION:
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     6     Spreadsheet, TN and UT oxy15 and 30                       6 Borelli Exhibit 2 .......................... 54
     7     through June 2012; Date Created: 9/4/2012                 7     This document produced natively,
     8     (20 pages)                                                8     Retail Generic Incentive Plan Earnings
     9                                                               9     by Sales Rep, Calendar year 2006 through
    10 Exhibit 042 .................................399             10     calendar year 2011
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    12     via by mo Jan2014-Dec2014 run 1-15-15                    12
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    15 Exhibit 043 .................................404             15     (2 pages)
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    17     Non-Warehousing Chain, Bridge the Gap                    17 Borelli Exhibit 22 .........................127
    18     Campaign, March 22, 2011                                 18     e-mail correspondence with attached
    19     MNK-T1_0006449611, (and 11 additional pages)             19     Oxycodone IR Monthly Update.docx
    20                                                              20     MNK-T1_0000368646 through 649
    21                                                              21
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    23                                                              23     "Inside Broward County's pill mills"
    24                                                              24     (17 pages)
    25                               (continued...)                 25                  *****


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                                                        Page 22                                                 Page 24
     1         WHEREUPON, the following proceedings were           1   the package inserts to know if there -- what any
     2   duly commenced:                                           2   side effects could be. Except a bloody nose, I
     3         THE VIDEOGRAPHER: We are now on the                 3   know that one.
     4   record. My name is Dan Burton. I'm the                    4      Q So you have no reason to believe, from the
     5   videographer for Golkow Litigation Services.              5   medications that you are taking, that it will
     6   Today's date is December 19th, 2018, and the time         6   interfere with your ability to testify --
     7   is 9:16 a m.                                              7      A Correct.
     8         This video deposition is being held in              8      Q -- accurately and truthfully?
     9   Minneapolis, Minnesota, in the matter of National         9      A Right.
    10   Opiate Litigation, MDL number 2804, in the United        10      Q Have you ever had your deposition taken
    11   States District Court for the Northern District of       11   before?
    12   Ohio, Eastern Division. The deponent is Steven           12      A No.
    13   Becker.                                                  13      Q Well, I'll go over a few of the ground
    14         Counsel will be noted on the record. The           14   rules that should make this go a little more
    15   court reporter is Myrina Kleinschmidt and will now       15   smoothly. I'm going to ask you questions --
    16   swear in the witness.                                    16      A Mm-hmm (affirmative).
    17         (Whereupon, the oath was administered by           17      Q -- and you will answer them.
    18   the court reporter.)                                     18      A Mm-hmm (affirmative).
    19         THE WITNESS: Yes, I do.                            19      Q You're under oath; do you understand that?
    20               STEVEN A. BECKER,                            20      A Yes, I do.
    21     a witness in the above-entitled proceedings,           21      Q Do you understand what that means?
    22        after having been first duly sworn,                 22      A Yes, I do.
    23          testified under oath as follows:                  23      Q And that's that you need to testify
    24                  EXAMINATION                               24   truthfully?
    25   BY MR. LOESER:                                           25      A Yes.
                                                      Page 23                                                   Page 25
     1      Q Good morning, Mr. Becker. My name is                 1      Q So I'll ask questions, and it's important
     2   Derek Loeser from the firm of Keller Rohrback for         2   that you let me finish asking the question before
     3   the plaintiffs in this litigation.                        3   you try to answer it.
     4      A Good morning.                                        4      A Mm-hmm (affirmative).
     5        MR. LOESER: Do I need to make                        5      Q Likewise, I will attempt to let you finish
     6   appearances?                                              6   answering before I ask another question. If you
     7        THE REPORTER: They'll be noted on the                7   don't understand a question, please tell me. I'll
     8   record.                                                   8   try to restate it. And it's important, as well,
     9   BY MR. LOESER:                                            9   that you answer affirmatively, yes or no, and not
    10      Q Could you please state and spell your --            10   shake your head or --
    11   your last name, please?                                  11      A Mm-hmm (affirmative).
    12      A Becker, B-e-c-k-e-r.                                12      Q -- answer nonverbally; do you understand
    13      Q And your full name?                                 13   that?
    14      A Steven A. Becker.                                   14      A Yes, I do.
    15      Q And what is your current job?                       15      Q Are you represented by counsel here today?
    16      A I'm retired.                                        16      A Yes.
    17      Q What was the last job you had before you            17      Q And --
    18   retired?                                                 18      A Ropes & Gray. Bill Davison.
    19      A Mallinckrodt.                                       19      Q And any other counsel?
    20      Q And what year did you retire?                       20      A No.
    21      A 2014.                                               21      Q I'm going to show you what will be marked
    22      Q Are you taking any medication or is there           22   Exhibit 1.
    23   any reason that would interfere with your ability        23        (Whereupon, Exhibit Mallinckrodt-Becker-
    24   to answer questions fully and truthfully today?          24   001 was marked for identification by the
    25      A I'm taking medications, but I haven't read          25   reporter.)

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     1 BY MR. LOESER:                                                  1       Q Nothing in your personal e-mail or any
     2     Q I've handed you the deposition notice for                 2   other --
     3 your deposition today. Have you seen this                       3       A Not that I'm aware of.
     4 document before?                                                4       Q If you read the next request below that,
     5     A I don't believe so.                                       5   it says, "All documents that you have consulted or
     6     Q If you read the bottom of that first page                 6   reviewed or plan to consult in preparation for
     7 of that document, there's a paragraph that starts               7   your deposition and have relied upon or will rely
     8 "ADDITIONALLY, PLEASE TAKE NOTICE that pursuant to              8   upon for your testimony for your deposition," and
     9 the applicable Federal Rules of Civil Procedure,                9   this really is a question for counsel.
    10 Plaintiffs have requested that the individual                  10         MR. LOESER: Have all the documents that
    11 identified above produce the documents identified              11   Mr. Becker relied on been produced in this
    12 in the Schedule A attached to this Notice that are             12   litigation?
    13 in their possession, custody, or control"; do you              13         MR. DAVISON: Yes, they have.
    14 see that?                                                      14         MR. LOESER: I would like to note, just
    15     A Mm-hmm (affirmative).                                    15   for the record, that yesterday we received, from
    16     Q And the notice is -- does the notice have                16   opposing counsel, notice that looks like about
    17 your name in the first paragraph?                              17   another 300,000 documents were produced to us,
    18     A The first paragraph, up above here                       18   some of which were from Mr. Becker's custodial
    19 (indicating)?                                                  19   file, and we have not, obviously, had the time to
    20     Q Yeah.                                                    20   go through 300,000 documents in one night, and
    21     A Steven A. Beck- -- or Steven Becker, yes.                21   have looked at those that specifically came from
    22     Q Great. If you could turn to the next                     22   Mr. Becker's custodial file. We reserve the right
    23 page --                                                        23   to recall Mr. Becker if, in fact, there's other
    24     A Mm-hmm (affirmative).                                    24   materials that were produced yesterday that are
    25     Q -- which indicates "SCHEDULE A," keep                    25   relevant to his testimony.
                                                            Page 27                                                       Page 29
     1 turning to page 4.                                              1        MR. DAVISON: And just to make the record
     2      A Yes.                                                     2   clear, I believe there were less than 40 documents
     3      Q There are some requests for production,                  3   produced from Mr. Becker's custodial file, which
     4   and I'm going to skip to REQUEST FOR PRODUCTION               4   were provided courtesy copies last evening.
     5   NO. 2, which states, "All documents, including                5        MR. LOESER: However, the other 300,000
     6   electronic data and e-mail, in your possession                6   documents may well have information and materials
     7   related in any way to any defendant's manufacture,            7   relevant to the questions we'd like to ask
     8   marketing, sale, distribution, suspicious order               8   Mr. Becker.
     9   monitoring and lobbying efforts in connection with            9        MR. DAVISON: We would disagree,
    10   its opioid business"; do you see that?                       10   obviously, but it's on the record, so...
    11      A No, I'm not seeing it. Can you point to                 11   BY MR. LOESER:
    12   where --                                                     12      Q When you worked for Mallinckrodt, did they
    13      Q Can you turn to page 5 of the document?                 13   provide you with a phone?
    14      A Oh, page 5. Okay. Yes.                                  14      A Yes.
    15      Q At the very top, it says, "REQUEST FOR                  15      Q And did you return that phone to
    16   PRODUCTION NO. 2"?                                           16   Mallinckrodt --
    17      A Yes. Okay.                                              17      A Yes.
    18      Q So have you searched and determined                     18      Q -- when you left?
    19   whether you have any of the documents in your                19        And did you use your phone to send e-mail
    20   possession that are listed there?                            20   or text messages?
    21      A I have no documents.                                    21      A Very little.
    22      Q So when you left Mallinckrodt, you didn't               22        MR. LOESER: And Counsel, again, as we
    23   keep any documents or information?                           23   asked for Mr. Borelli, to the extent there's any
    24      A No, they were all sent back to the                      24   record of text messages or anything used from the
    25   company.                                                     25   phone to communicate Mallinckrodt-related matters,

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     1   we request that that be produced.                   1      Q And did you review documents and materials
     2        MR. DAVISON: We will endeavor to look          2   that were brought by counsel to that meeting?
     3   into that.                                          3      A Yes.
     4   BY MR. LOESER:                                      4      Q And can you generally describe what those
     5      Q Sir, what did you do to prepare for this       5   were?
     6   deposition?                                         6        MR. DAVISON: I'm just going to object.
     7      A Just met with Mr. Davison.                     7   You can describe generally what they were, but I
     8      Q And how many times did you meet with him?      8   don't want you to get into any of the specifics of
     9      A A week ago and then yesterday.                 9   the documents.
    10      Q And a week ago, where did you meet with       10      A Basically, e-mail documents that I had
    11   him?                                               11   sent or some that may have been sent to me.
    12      A A Marriott, across the road over here         12   BY MR. LOESER:
    13   (indicating).                                      13      Q And other than e-mail, were there reports
    14      Q And do you live nearby?                       14   or memoranda or anything else?
    15      A I live in Eagan. I have -- I've spent         15      A I'm not sure what Miranda is, but
    16   most of my time up in Brainerd, the lakes area.    16   portions -- just basically, portions of my e-mail
    17      Q And how long would you say the meeting, a     17   is what I saw, things that I've sent to the person
    18   week ago, lasted?                                  18   I reported to and other various departments.
    19      A It was from 9:00 to 4:00, approximately.      19      Q Okay. And were you shown anything, any
    20      Q And you didn't bring any documents or         20   e-mail that you didn't send, and you didn't
    21   materials with you to that meeting?                21   receive, and you were seeing for the first time?
    22      A No. All I had was a sheet of telephone        22      A I don't believe so.
    23   numbers of contacts that I used to call on, just   23      Q Have you read any transcripts from any
    24   for my memory. I didn't know -- I've never gone    24   other depositions in this case?
    25   through this, so I had no idea what was going to   25      A No.
                                                  Page 31                                                  Page 33
     1   be asked. I've been retired for basically, you      1      Q And was there anyone else present at the
     2   know, four years now, you know. It's -- I had       2   meetings with counsel, other than the two
     3   that just to refresh my memory, if any questions    3   individuals you identified?
     4   came up, because --                                 4      A It was William, and was it Cassandra?
     5      Q And did you -- sorry.                          5        MR. DAVISON: (Moves head up and down.)
     6      A -- on who is who. That's what it was for.      6      A One of the people from Ropes & Gray, and
     7      Q And is this a document that you gave to        7   then yesterday, these two gentlemen.
     8   your counsel at that meeting?                       8   BY MR. LOESER:
     9      A Yes, I did.                                    9      Q And nobody from any firm other than Ropes
    10        MR. LOESER: Counsel, if you could please      10   & Gray?
    11   ensure that that's produced --                     11      A No.
    12        MR. DAVISON: I believe it has been, but I     12      Q Have you talked about the -- in advance of
    13   will endeavor to ensure that.                      13   this deposition, have you spoken to anyone other
    14        MR. LOESER: Thank you.                        14   than your attorneys about your testimony today?
    15   BY MR. LOESER:                                     15      A I reached out to some people that I used
    16      Q And there was a second meeting. When was      16   to work with, Vic Borelli, Jane Williams, Jake
    17   that?                                              17   Longenecker, Tim Berry, and Bonnie New, just to
    18      A Yesterday.                                    18   ask if -- what was going on when I received the
    19      Q And again, was that -- who was that with?     19   deposition -- request that I was going to be in a
    20      A With William and his partner.                 20   deposition.
    21      Q And how long did that meeting last?           21      Q And when did you reach out to those
    22      A Approximately from 9:00 to 4:00.              22   individuals?
    23      Q And did you bring any documents to that       23      A I can't remember the exact date. It was
    24   meeting?                                           24   after I was contacted by Ropes & Gray.
    25      A No.                                           25      Q And do you recall what you said to them?

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     1      A I just asked if they had been deposed as               1        THE REPORTER: What was the last one?
     2   well and what it was for, that -- that's it.                2      A Schein. Henry -- Schein Pharmaceutical,
     3   Short conversation.                                         3   not Henry Schein. And then Mallinckrodt.
     4      Q And did you have a conversation with each              4   BY MR. LOESER:
     5   of the individuals that you identified?                     5      Q And the year you started at Mallinckrodt
     6      A Yes.                                                   6   was?
     7      Q And can you generally describe what you                7      A I believe 2000.
     8   learned from each of them?                                  8      Q And to go back to the first liquor store
     9      A That Vic Borelli was going to be doing a               9   that you worked for, do you generally recall what
    10   deposition, and Jane Williams was going to be              10   year that was?
    11   doing a deposition, and other people did not               11      A No, I don't.
    12   indicate that they were doing depositions, and             12      Q And Midwest Wine, do you recall when that
    13   that was the course of the conversation.                   13   was?
    14      Q And did you talk at all about what you                14      A No, I don't.
    15   thought you would have to testify about?                   15      Q Do you recall how long you worked there?
    16      A No.                                                   16      A Approximately four years, maybe.
    17      Q And did they share any of that with you?              17      Q And then John O. Butler?
    18      A No.                                                   18      A Mm-hmm (affirmative).
    19      Q And was it just one conversation with each            19      Q Then what did you do for them?
    20   of them?                                                   20      A I was a salesman and then a regional sales
    21      A Correct.                                              21   manager.
    22      Q Are you being reimbursed or compensated in            22      Q And what did you sell for them?
    23   any way for time and expenses?                             23      A Chairside dental products and toothbrushes
    24      A No.                                                   24   and floss, home care products through retail.
    25      Q For this deposition?                                  25      Q Any pharmaceuticals?
                                                          Page 35                                                  Page 37
     1      A No.                                                    1      A No.
     2      Q Nobody's offered to pay you anything for               2      Q And then was it Dental Solutions, the next
     3   your testimony?                                             3   on your list?
     4      A No.                                                    4      A That's correct.
     5      Q Have you ever been charged with a crime?               5      Q And do you generally recall when you
     6      A No.                                                    6   worked there?
     7      Q Did you ever graduate from college,                    7      A No, I don't.
     8   Mr. Becker?                                                 8      Q And what did you do for them?
     9      A Yes.                                                   9      A I was product development manager for a
    10      Q What year did you graduate?                           10   sterile dental unit that provided sterilized water
    11      A I don't recall the year, but I graduated              11   during invasive -- dental treatments for cavities,
    12   from St. Cloud State University.                           12   things of that nature, so all the water that would
    13      Q And what was your -- do you recall what               13   be utilized to cool the high-speed drill or the
    14   your major was?                                            14   air/water syringe was all sterile water.
    15      A That, I can remember. Mass                            15      Q And then, after Dental Solutions, you
    16   communications.                                            16   worked for Schein --
    17      Q And can you describe your job history                 17      A Correct.
    18   after you graduated from college?                          18      Q -- Pharmaceuticals?
    19      A After I graduated from college, I worked              19        What did you do for them?
    20   at a municipal liquor store as assistant manager           20      A I started as a salesman and was a regional
    21   for the City of Edina. Then I worked -- from               21   sales manager.
    22   there, I went and worked with Midwest Wine Company         22      Q And what products did you sell?
    23   as a wine salesman. Then from there, I went to             23      A Generic pharmaceuticals.
    24   John O. Butler dental company and then Dental              24      Q Any controlled substances?
    25   Solutions, Schein Pharmaceutical.                          25      A Yes.

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     1      Q Do you recall which ones?                           1        MR. DAVISON: Objection to form.
     2      A Hydrocodone, methylphenidate. Those are             2      A I'm not truly aware of that act, and
     3   the two I remember off the top of my head.               3   anything that I may have read in industry news
     4      Q Okay. And then from Schein, you said you            4   periodicals, things of that nature, and anything
     5   started at Mallinckrodt, and you believe that was        5   that Mallinckrodt may have handed out at various
     6   around 2000?                                             6   meetings that we had, that's basically the
     7      A Yes.                                                7   training that I had.
     8      Q And when you started at Mallinckrodt, what          8   BY MR. LOESER:
     9   was your position?                                       9      Q Do you recall how many national account
    10      A National account manager.                          10   managers there were at a time at Mallinckrodt?
    11      Q And was that the position that you                 11      A I have to use my fingers. One, two -- I
    12   retained from then until you stopped working            12   believe it was like six or seven.
    13   there?                                                  13      Q And were you responsible for a particular
    14      A Yes.                                               14   region?
    15      Q And what year did you stop working there?          15      A No.
    16      A 2014.                                              16      Q How did that work --
    17      Q And what products were you responsible for         17      A I was --
    18   selling, for Mallinckrodt?                              18      Q I'm sorry. Let me finish asking the
    19      A Their product portfolio of products. I             19   question.
    20   can't remember all of them. Hydrocodone,                20        How did that work among the different
    21   hydromorphone, methadone, methylphenidate,              21   national account managers?
    22   morphine, fentanyl patch, amoxil, oxycodone             22      A We were account-based responsibilities, so
    23   products. Then there was affiliation with a             23   it wasn't geographic.
    24   company named Zydus from India and sold their           24      Q And who made the decision what accounts
    25   products. None of those were schedule products.         25   you would have?
                                                       Page 39                                                 Page 41
     1   It was products such as warfarin, things of that         1      A The sales manager, Mike Gunning.
     2   nature.                                                  2      Q And was he the sales manager the entire
     3      Q And over the time that you worked there,            3   time you worked there?
     4   were you selling mostly controlled substances?           4      A No.
     5      A Yes.                                                5      Q Tell me the sequence. When was he the
     6      Q The majority of the products that you               6   manager and --
     7   sold --                                                  7      A When I started, then he -- he passed away.
     8      A Mallinckrodt's products, the majority of            8   I'm not certain what year it was, but he did pass
     9   the products, was controlled substance.                  9   away. It was open, and then -- I think his title
    10      Q And when you started at Mallinckrodt, did          10   was president of sales. Then a Walt Kaczmarek
    11   you receive any training in how controlled              11   came in.
    12   substances operated or what they were?                  12      Q And those were the two people that were
    13        MR. DAVISON: Object to the form.                   13   sales managers during your employment?
    14      A Just with product managers, reviewing the          14      A I believe they were president of sales. I
    15   products and learning the products.                     15   reported to Jane Williams.
    16   BY MR. LOESER:                                          16      Q And the entire time you were there, you
    17      Q Did you receive any training on the                17   reported to Jane Williams?
    18   requirements of the Controlled Substances Act?          18      A No, I reported to other people before Jane
    19      A Not at the -- not when I started, no.              19   came in.
    20      Q At some point did you provide training --          20      Q Okay. Who did you report to before Jane?
    21   were you provided training --                           21      A I can't think of her name now. Melanie
    22      A Not that I recall.                                 22   Cameron, Mitchell Goldberg, Jane Williams.
    23      Q So how did you learn about the                     23      Q Is that all you recall?
    24   requirements of the Controlled Substances Act when      24      A That's correct.
    25   you worked for Mallinckrodt, or did you?                25      Q Was the person to whom you reported

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     1   responsible for evaluating your yearly                1      Q Can you describe those, please?
     2   performance?                                          2      A I won the president's club two times that
     3      A Yes.                                             3   I recall.
     4      Q And did you have annual performance              4      Q And what is the president's club?
     5   evaluations?                                          5      A It is the group of people in various
     6      A Yes.                                             6   divisions, within Mallinckrodt, their top
     7      Q Were there written materials given to you        7   performing people were recognized for their
     8   for your evaluation, a written performance report,    8   achievements during the course of the year.
     9   for example?                                          9      Q And by "top performing," do you mean the
    10      A Yes.                                            10   people who sold the most Mallinckrodt product?
    11      Q And did that happen every year?                 11      A Not necessarily the most Mallinckrodt
    12      A Yes.                                            12   products. I'm not certain with other divisions.
    13      Q Did you keep a copy of any of those?            13   Ours was for our basic performance, sales versus
    14      A At one time, when I was working, I had          14   quota, working together with the team concept,
    15   copies of them. I no longer have copies of them.     15   which I had mentioned earlier.
    16      Q And was it your understanding that              16      Q Do you recall the years that you won the
    17   Mallinckrodt kept a copy of your annual              17   president's club award?
    18   performance evaluation?                              18      A No, I don't.
    19      A I'm not sure --                                 19      Q In discovery in this case, Mallinckrodt
    20        MR. DAVISON: Objection to form.                 20   has produced what appears to be portions of your
    21      A -- what records they kept. I would assume       21   personnel file, including a 2014 performance
    22   they did.                                            22   report, and I gather shortly after this 2014
    23   BY MR. LOESER:                                       23   evaluation, you ceased working for Mallinckrodt?
    24      Q And so each year you had a performance          24        MR. DAVISON: Objection to form.
    25   evaluation, can you generally describe for me what   25      A I retired.
                                                   Page 43                                                   Page 45
     1   happened at each evaluation? How was it               1   BY MR. LOESER:
     2   conducted?                                            2      Q And at the time that you retired, what
     3      A It was either conducted in person or over        3   was -- how were you being evaluated?
     4   the telephone.                                        4       MR. DAVISON: Objection to form.
     5      Q And with the person to whom you reported,        5      A I'm not certain, because they didn't --
     6   and nobody else, or were there other people there,    6   they hadn't finished any evaluations, but they
     7   as well?                                              7   were looking at some of the work, and it was, I
     8      A It was usually the person I reported to.         8   think, more of a downsizing technique, wanting to
     9      Q And were you asked to sign any document          9   move some people, so I decided to retire.
    10   after a performance evaluation that confirmed        10   BY MR. LOESER:
    11   matters that were discussed during the evaluation?   11      Q Did they ask you to retire or --
    12      A I believe so.                                   12      A No, I retired all on my own.
    13      Q And again, you would, as -- your                13      Q And do you recall that you received a
    14   recollection is that you would sign that and give    14   negative performance evaluation in 2014?
    15   that to Mallinckrodt?                                15      A In 2014? I retired in 2014. I wasn't
    16      A Gave it to the manager.                         16   there in 2014 when performance reviews were
    17      Q Do you recall, what was the metrics that        17   conducted.
    18   were used to evaluate your performance?              18       (Whereupon, Exhibit Mallinckrodt-Becker-
    19      A Sales performance, just regular business        19   002 was marked for identification by the
    20   conduct, how I worked with others, team conduct,     20   reporter.)
    21   team concept, things of that nature.                 21       THE REPORTER: Number 2.
    22      Q During the time that you worked for             22   BY MR. LOESER:
    23   Mallinckrodt, did you receive any awards or          23      Q Showing you what's been marked Exhibit 2,
    24   commendations for your performance?                  24   and we're not going to spend a lot of time on this
    25      A Yes.                                            25   document, I'll just -- I've handed you what says,

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     1 on the top of the document, "WRITTEN NOTIFICATION              1         MR. DAVISON: Objection to form.
     2 OF UNSATISFACTORY PERFORMANCE, EMPLOYEE NAME:                  2      A You'd have to ask Jane Williams, who wrote
     3 Steve Becker." Does that refresh your                          3   this.
     4 recollection at all?                                           4   BY MR. LOESER:
     5     A Correct, but this is not a performance                   5      Q We can put that document aside.
     6 review, as such, that I would normally get in the              6      A Do you want me to put it --
     7 course of my work, which was done at year-end.                 7      Q You can just put it there, yes.
     8     Q Can you tell me what this is?                            8         When you left, were you paid a severance?
     9     A This is basically from my manager and                    9      A No.
    10 looking to have improvements made in my work.                 10      Q Did you have any kind of agreement with
    11     Q Okay. Do you recall this happening?                     11   Mallinckrodt, upon your departure?
    12     A Yes.                                                    12      A No.
    13     Q And do you recall whether you thought this              13      Q Did you consider yourself a successful
    14 was accurate or fair or do you recall one way or              14   national account manager?
    15 the other?                                                    15      A Yes.
    16       MR. DAVISON: Objection to form.                         16      Q And a good Mallinckrodt employee?
    17     A I recall it. I didn't think it was -- it                17      A Yes.
    18 was fair. I think they were looking to move                   18      Q Did you comply with all of the rules that
    19 personnel by the use of performance. At the time,             19   Mallinckrodt told you about?
    20 I'm sure I was performing quite well, from my                 20      A I believe so.
    21 sales numbers, things of that nature.                         21      Q And would you say that you did your job
    22 BY MR. LOESER:                                                22   the way Mallinckrodt expected you to do your job?
    23     Q If you could turn to the last page of that              23      A Yes.
    24 review --                                                     24      Q Were you well regarded by your peers at
    25     A (Complies.) Yes, sir.                                   25   Mallinckrodt?
                                                           Page 47                                                 Page 49
     1     Q -- and in the second paragraph, which                    1      A I believe so.
     2 starts, "DESCRIBE THE ACTION PLAN REQUIRED THAT                2      Q Would you say that you're a
     3 WILL LEAD TO SUCCESSFUL COMPLETION OF THIS                     3   detail-oriented person?
     4 OBJECTIVE"; do you see that?                                   4      A Yes.
     5     A Yes.                                                     5      Q And is the same true for your work at
     6     Q The very bottom, the second two bullets                  6   Mallinckrodt?
     7 there, one says, "Review one account weekly to                 7      A I believe so.
     8 include Cardinal Source, Optisource, Smith Drug                8      Q And how would you say your memory is for
     9 and PBA." Do you recall what that was about?                   9   things that are important to you?
    10     A No.                                                     10        MR. DAVISON: Objection to form.
    11     Q And then the following bullet, "Target                  11      A I've been retired for four years. I
    12 products oxycodone, oxy/apap as well as full line             12   don't -- I don't have a good recollection of
    13 summary." Do you recall what that was about?                  13   everything that happened at Mallinckrodt over the
    14     A No, I don't recall what it was about. It                14   past 15, 16 years that I worked there.
    15 was just basically things that they wanted me                 15   BY MR. LOESER:
    16 to -- to work on.                                             16      Q And during your time at Mallinckrodt, did
    17     Q So this was in 2014 --                                  17   you believe you had a good memory for the details
    18     A Mm-hmm (affirmative).                                   18   of your employment?
    19     Q -- and does this suggest that Mallinckrodt              19        MR. DAVISON: Objection to form.
    20 was wanting you to target oxycodone and oxy/apap              20      A Yeah.
    21 to increase sales of those items?                             21   BY MR. LOESER:
    22       MR. DAVISON: Objection.                                 22      Q We've seen reference in documents to
    23 BY MR. LOESER:                                                23   national account managers getting to know their
    24     Q Do you have any recollection of that?                   24   clients. Can you tell me what that generally
    25     A No.                                                     25   means?

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     1        MR. DAVISON: Objection to form.                  1   it. So maybe one year I was responsible for a
     2      A Could you repeat the question?                   2   specific account. Due to the changes in the
     3   BY MR. LOESER:                                        3   business, I would relinquish that account to
     4      Q Sure. What does it mean to get to know           4   somebody else. I would be given a different
     5   your clients?                                         5   account.
     6        MR. DAVISON: Objection to form.                  6      Q And do you understand why accounts would
     7      A I don't know who made that statement, but        7   be realigned?
     8   being account-based rather than                       8        MR. DAVISON: Objection to form.
     9   geographically-based account responsibility, I        9      A Not always, but for the most part, it was
    10   would believe that Mallinckrodt placed a             10   to help grow -- help grow relationships with the
    11   salesperson with people to build decent and good     11   account.
    12   relationships with various accounts that they were   12   BY MR. LOESER:
    13   responsible for.                                     13      Q And was that ever a point of contention
    14   BY MR. LOESER:                                       14   for you?
    15      Q And as a national account manager, did you      15      A No. Acquisitions had a lot to do with
    16   believe it was important for you to get to know      16   changes of accounts, within the industry.
    17   the details of your clients' businesses?             17      Q And was your pay at all based upon the
    18      A For the most part.                              18   amount of sales that you had with any particular
    19      Q And how would you do that?                      19   account?
    20      A Reading about the account, calling on the       20      A Can you repeat that?
    21   account, investigating the account with various      21      Q Did you receive a salary?
    22   question sets, things of that nature.                22      A Yes.
    23      Q And who were your -- I'm referring to them      23      Q And did you also receive bonuses?
    24   as clients, but did you refer to them as clients     24      A Yes.
    25   or customers?                                        25      Q And were those sales-based?
                                                   Page 51                                                 Page 53
     1      A Customers, yes.                                  1      A Yes.
     2      Q Who were your customers? What types of           2      Q Were the bonuses sales-based?
     3   businesses were your customers?                       3      A Yes.
     4      A Wholesalers, chain drug stores, retail           4      Q And was the salary sales-based at all?
     5   buying groups, distributors. I may have had some      5      A Not that I recall, no.
     6   GPO account responsibility at one time. Over the      6      Q And so if a client was realigned, and as a
     7   various years, you know, responsibilities changed.    7   result you no longer had that client, would you
     8      Q And did you develop particularly close           8   lose the credit for sales to that client?
     9   relationships with any particular clients or          9      A Well, most likely, yes.
    10   customers?                                           10      Q And so did that ever happen?
    11      A I wouldn't say particularly close, where        11      A Yes, many times.
    12   I'm going out and doing things. PBA True Care, I     12      Q And was that ever a point of contention
    13   had a good relationship with the person, with        13   for you?
    14   their -- with their people.                          14      A No.
    15      Q And what made it a good relationship?           15      Q For bonuses, can you explain to me how the
    16      A We're basically friends. That's with one        16   bonus system worked at Mallinckrodt?
    17   of the buyers there.                                 17        MR. DAVISON: Objection to form.
    18      Q And any other customers that you felt like      18      A Based on sales units, for the most part,
    19   you had a particularly good relationship?            19   objectives.
    20      A Not necessarily, no.                            20   BY MR. LOESER:
    21      Q We've seen reference to customer                21      Q And was it generally the case, if you sold
    22   realignment among the national account managers.     22   more product, your bonus was larger?
    23   Can you tell me what that means?                     23        MR. DAVISON: Objection to form.
    24      A Realignment, I believe, is shifting of          24      A Repeat that.
    25   account -- accounts and who may be responsible for   25   BY MR. LOESER:

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     1      Q Was it generally the case that if you sold       1   BY MR. LOESER:
     2   more product, your bonus was larger?                  2      Q No? Okay.
     3      A It could be.                                     3        If you look 2009, your bonus $         . Do
     4      Q Were there any circumstances where that          4   you have any recollection as to why your bonus
     5   wasn't the case?                                      5   went from          to          ?
     6      A Not that I recall.                               6      A No.
     7      Q Do you recall what your -- do you recall         7      Q There's no particular product that you
     8   the years in which you received the highest           8   were selling that was -- that -- for which sales
     9   bonuses?                                              9   had increased substantially during that time
    10      A No.                                             10   period?
    11      Q Do you recall whether there were any            11      A I --
    12   particular products that you sold more of than       12        MR. DAVISON: Objection to form.
    13   other products?                                      13      A -- don't recall what products may have
    14      A No.                                             14   increased or decreased.
    15      Q I'm showing you what's previously been          15   BY MR. LOESER:
    16   marked Borelli Exhibit 2. If you could take a        16      Q Okay. So if you look at 2010, in 2010
    17   look at that.                                        17   your bonus went up              . Do you -- do you
    18        MR. LOESER: For the record, this is a           18   recall why your bonus increased to that amount?
    19   document that, at the top, is titled on the -- if    19      A No, I don't.
    20   you look at the second page, "Retail Generic         20      Q Do you recall whether there was any
    21   Incentive Plan Earnings by Sales Rep Calendar year   21   particular product that you were selling more of
    22   2006 through calendar year 2011."                    22   in 2010?
    23        And if you look at the 2006 information,        23      A No.
    24   you'll go down, and you'll see that in 2006, you     24      Q Do you remember receiving                 bonus?
    25   received a bonus of                                  25      A I remember getting bonuses. I didn't pay
                                                   Page 55                                                      Page 57
     1      A Mm-hmm (affirmative).                            1   that much attention to my bonuses, just that I got
     2   BY MR. LOESER:                                        2   them and...
     3      Q Do you recall, in 2006, what products            3      Q What was your salary in 2010?
     4   were -- what products you sold, more than any         4      A I don't recall.
     5   other products?                                       5      Q Do you have any recollection of a ballpark
     6      A No, I don't.                                     6   of it?
     7      Q And then in 2007, if you look, you'll see        7        MR. DAVISON: Objection to form.
     8   that your bonus was zero?                             8      A I really don't. I just --
     9      A Mm-hmm (affirmative).                            9   BY MR. LOESER:
    10      Q Do you recall why your bonus was zero in        10      Q Was it more than $25,000?
    11   2007?                                                11      A Yes.
    12      A No.                                             12      Q Was it more than $50,000?
    13      Q That didn't -- that doesn't stand out to        13      A Yes.
    14   you?                                                 14      Q Was it more than $75,000?
    15      A (Moves head from side to side.)                 15      A It very well could have been in 2010. I
    16      Q And then, in 2008, your bonus is         .      16   don't know.
    17   Do you recall why your bonus went from zero --       17      Q Was it more than $100,000?
    18      A No, I don't.                                    18      A I don't know.
    19      Q -- to        ?                                  19      Q Do you recall whether this bonus was more
    20      A No.                                             20   than your base salary?
    21      Q You have no recollection of any particular      21        MR. DAVISON: Objection to form.
    22   circumstances that caused you to have an increase    22      A I don't -- I don't recall.
    23   of         ?                                         23   BY MR. LOESER:
    24      A No.                                             24      Q So you have no recollection of your salary
    25        MR. DAVISON: Objection to form.                 25   in 2010, and you don't have any recollection of

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     1   why you received a $             bonus in --            1      Q And so explain how that worked.
     2        MR. DAVISON: Objection to form.                    2      A Mallinckrodt -- I mean, I was brought in
     3      A I made my bonuses, that -- that was it.            3   to call on regional wholesalers and distributors,
     4   BY MR. LOESER:                                          4   and Mallinckrodt may have or may not have been
     5      Q But no product stood out for you as being          5   doing business with the majority of the accounts
     6   one that you sold a lot of in -- particularly in        6   that were in the marketplace. It was my job to
     7   the years 2008, '9 and '10, causing you to receive      7   work with those accounts and see if we could open
     8   a much larger bonus?                                    8   up and do business with them.
     9      A No.                                                9      Q And so did you identify accounts that you
    10        MR. DAVISON: Objection to form.                   10   wanted to go after?
    11   BY MR. LOESER:                                         11      A Yes.
    12      Q If you look at 2011, your bonus is                12      Q And how did you do that?
    13           . Do you recall why it went down from          13      A Based on my knowledge within the industry,
    14              ?                                           14   looking at segments of business that Mallinckrodt
    15      A No, I don't.                                      15   wasn't doing business with, and looking at new
    16      Q And again, you don't recall any product           16   opportunities.
    17   in 2011 that you were selling more of than any         17      Q And what would you say to a potential new
    18   other product that could explain the bonus?            18   customer when you would contact them? How would
    19        MR. DAVISON: Objection to form.                   19   you encourage them to start doing business with
    20      A No.                                               20   Mallinckrodt?
    21        (Whereupon, Exhibit Mallinckrodt-Becker-          21      A I would set up an appointment, go in and
    22   003 was marked for identification by the               22   speak with them about our product line, find out
    23   reporter.)                                             23   more about their product line, find out if they're
    24        THE REPORTER: Number 3.                           24   warehousing products. If they're warehousing
    25      A You want me to look at this?                      25   products, are they on contract with other people

                                                      Page 59                                                     Page 61
     1   BY MR. LOESER:                                          1   or other companies, you know, is there interest in
     2      Q Yes. I'm referring you to -- you've been           2   doing business with Mallinckrodt.
     3   handed what's marked Exhibit 3.                         3      Q And did you bring any materials with you
     4        MR. LOESER: And for the record, I'll just          4   that would -- that you would present to them that
     5   read the Bates number, MNK-T1_0002161144.               5   described Mallinckrodt's products?
     6   BY MR. LOESER:                                          6      A Yes.
     7      Q And before you -- before we go through             7      Q And what were those materials?
     8   that document, can you -- can you explain to me         8      A Marketing materials.
     9   how marketing worked for specialty generics             9      Q And who prepared those materials?
    10   products?                                              10      A Marketing department.
    11        MR. DAVISON: Objection to form.                   11      Q And those marketing materials dealt
    12   BY MR. LOESER:                                         12   specifically with -- with generic products?
    13      Q Were you involved in any marketing of             13      A With our product line.
    14   specialty generics products?                           14      Q Okay. And your product line of controlled
    15      A I was a sales representative, sales and           15   substances?
    16   marketing sometimes go hand in hand, but I was not     16      A Yes.
    17   in the marketing department.                           17      Q And can you -- were they all products that
    18      Q So let's take a step back. How -- did you         18   were generics or did they include branded products
    19   do anything to go out and find new clients?            19   as well?
    20      A To actively pursue clients?                       20      A Our group really didn't deal with any
    21      Q Right. Or customers, as you call them?            21   branded products.
    22      A Just basically called on customers I knew,        22      Q Okay. So all the marketing materials that
    23   maybe there was an opportunity when I first            23   you would give to potential customers dealt with
    24   started with Mallinckrodt that Mallinckrodt may        24   generic Mallinckrodt products?
    25   not be doing business with.                            25      A Correct.

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     1      Q And then, when you would talk to a               1   customer and try and get a new customer, was there
     2   potential customer, would you have price              2   a competition based on price, between the
     3   negotiations with them or what would you do to        3   different manufacturers?
     4   encourage them to start purchasing from               4        MR. DAVISON: Objection to form.
     5   Mallinckrodt?                                         5      A It could be.
     6      A I would investigate the prices of what           6   BY MR. LOESER:
     7   they were paying for various products, which we       7      Q And with existing customers, did that
     8   had similar products with, do my homework. And        8   continue to be the case?
     9   then, if they wanted -- depending on what type of     9        MR. DAVISON: Objection to form.
    10   business it was and what type of business they       10      A Yes.
    11   wanted to do with Mallinckrodt, I would pursue the   11   BY MR. LOESER:
    12   business from that avenue.                           12      Q And were there factors other than the
    13      Q And would you offer price concessions or        13   price that potential or actual customers took into
    14   anything of the sort in order to entice them to      14   account when choosing to purchase from
    15   start purchasing from Mallinckrodt?                  15   Mallinckrodt?
    16      A Price concessions, no.                          16      A Yes.
    17      Q How did you determine the pricing to            17        MR. DAVISON: Objection to form.
    18   offer?                                               18   BY MR. LOESER:
    19      A Depended on the size of the account,            19      Q And what were those?
    20   who -- what type of account it was, how they         20      A Service. Our product line being fully
    21   wanted -- how they were situated in the              21   in -- basically fully integrated product line.
    22   marketplace.                                         22      Q And pause for a second. What do you mean
    23      Q Okay. And did you negotiate any discounts       23   by "service"?
    24   or rebates or anything like that?                    24      A How you service the account, how you take
    25      A You're speaking of initial accounts and         25   care of it. If they have issues, you take care of
                                                   Page 63                                                   Page 65
     1   trying to open up initial accounts, correct?          1   the issues. Hopefully, you can out perform
     2      Q Yes.                                             2   somebody, your competition.
     3      A No. No discounts. Basically, we sell at          3      Q What do you mean by "issues"? What would
     4   one price. We do contract work, and contract          4   be some examples of issues that a client would
     5   pricing can be lower than the acquisition cost.       5   have that you could take care of?
     6   Everyone would be doing contracts.                    6      A Out of stock, allocated products, things
     7      Q Okay. And if it was already -- if you            7   of that nature.
     8   were talking to a customer, an existing customer,     8      Q Do you recall any issues other than out of
     9   would you have negotiations with the customer         9   stock?
    10   about pricing?                                       10        MR. DAVISON: Objection to form.
    11      A With an existing customer, did you say?         11      A There was other issues. I don't recall
    12      Q Yes.                                            12   them all.
    13      A At times, yes.                                  13   BY MR. LOESER:
    14      Q And how would that work?                        14      Q Was that a primary issue that service
    15        MR. DAVISON: Objection to form.                 15   would take care of, when a customer was out of
    16      A Pricing, basically, if our price was out        16   stock and Mallinckrodt would make sure that it
    17   of line in the marketplace, we're me-too products,   17   would provide that stock?
    18   we're a generic company. Other companies had our     18      A We would work with the customer as best we
    19   same line of products, and if you wanted to be on    19   can and allocate a product and backorders, things
    20   a formulary, you'd hopefully have to have a very     20   of that nature, which was common in the industry.
    21   strong pricing program to be in the primary          21      Q Did you have any interaction with pharmacy
    22   position.                                            22   benefit managers?
    23   BY MR. LOESER:                                       23      A No.
    24      Q So would you say among the different            24      Q How about retail pharmacies, national
    25   generic manufacturers, when you would talk to a      25   retail pharmacies, Walgreens, Rite Aid?

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     1      A You may want to restate that question for               1   retail shows that we were going to be attending,
     2   me.                                                          2   during the course of the year.
     3      Q Yeah. As part of your marketing and sales               3   BY MR. LOESER:
     4   efforts, did you reach out to any national retail            4       Q And why would you attend these shows?
     5   pharmacies?                                                  5       A Support the account and support their --
     6      A Yeah. We were in most of the retail                     6   their accounts.
     7   chains.                                                      7       Q And was the goal to develop business by
     8      Q And was there anything different about how              8   going to these shows?
     9   Mallinckrodt supplied the retail chains versus a             9       A Not necessarily to develop business.
    10   wholesale distributor?                                      10   Basically to answer various questions on the
    11      A No.                                                    11   accounts that, for example, Cardinal may have.
    12      Q And did you interact with the -- with the              12   It's a retail pharmacy convention. The retailers
    13   three main wholesale distributors, Cardinal                 13   come up, and they may ask questions on various
    14   Health, Amerisource?                                        14   products.
    15      A I was responsible for AmerisourceBergen at             15       Q And would marketing materials about
    16   one point and Cardinal at one point.                        16   Mallinckrodt's products be distributed at these
    17      Q And was there anything different about                 17   shows?
    18   doing business with them versus regional wholesale          18       A Yes.
    19   distributors?                                               19         MR. LOESER: Mark that as Exhibit 4,
    20      A The magnitude of the business and their                20   please.
    21   sheer size and volume of business that they would           21         (Whereupon, Exhibit Mallinckrodt-Becker-
    22   do.                                                         22   004 was marked for identification by the
    23      Q Anything different about the contracting?              23   reporter.)
    24      A No.                                                    24   BY MR. LOESER:
    25      Q Price different?                                       25       Q You've been handed what's marked
                                                           Page 67                                                        Page 69
     1     A There may have been price differences, but               1   Exhibit 4, which is Bates number
     2 that's -- there may have been price differences,               2   MNK-T1_0002867894. This document states on the
     3 that's all I can say.                                          3   top, "Pre-show Worksheet," and then it says,
     4     Q Based upon the size of the orders they                   4   "Meeting, National Community Pharmacists
     5 were placing?                                                  5   Association." Can you look through this document
     6     A No.                                                      6   for a minute and then just tell me what it is?
     7       MR. DAVISON: Objection to form.                          7      A (Reviewing.) This is basically a Pre-show
     8     A Based on the size of the account.                        8   Worksheet of who will be doing what, various
     9 BY MR. LOESER:                                                 9   products and things that we sent to the meeting.
    10     Q Okay. If we could look at the exhibit                   10      Q Okay. That's good enough. And you know,
    11 that's in front of you.                                       11   when I look back at the prior exhibit, there's an
    12       MR. LOESER: For the record, I'll read the               12   item, the second convention listed says, "National
    13 heading on the second page of the exhibit. It                 13   Community Pharmacists Association (NCPA) Annual
    14 says, "FY13 PHARMACEUTICAL COMBINED TRADE SHOW, 14                 Convention and Trade Show," and then looking at
    15 CONFERENCE AND EVENT SCHEDULE."                               15   the exhibit that you just went through, this
    16     A Mm-hmm (affirmative).                                   16   appears to be the Pre-show Worksheet for the
    17 BY MR. LOESER:                                                17   National Community Pharmacists Association trade
    18     Q Can you just -- and if you look down the                18   show; is that accurate?
    19 second column -- I'm sorry -- the first column on             19        MR. DAVISON: Objection to form.
    20 the second page, you see your name listed there a             20      A What are we looking at, on this sheet?
    21 few times under "Attendees." Can you just                     21   BY MR. LOESER:
    22 generally describe for me what this document is?              22      Q On the second row, do you see where it
    23       MR. DAVISON: Objection to form.                         23   says, "National Community Pharmacists
    24     A It's just a listing of the various                      24   Association"?
    25 pharmaceutical trade shows and wholesale shows,               25      A Yes.

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     1      Q So that's one of the events that                      1      A Yes, sir.
     2   Mallinckrodt would have people from Mallinckrodt           2      Q And the Display message is "One for all,
     3   attend. Then if you turn to the next exhibit,              3   all from one... responding to your oxycodone
     4   this is actually the description of that event?            4   needs." Do you know who came up with that display
     5      A Correct.                                              5   message?
     6      Q Maybe not that particular year, but -- and            6      A No. You'd have to ask our marketing
     7   looking down at the third item on the Pre-show             7   people.
     8   Worksheet, it says, "Meeting/Audience - More than          8      Q Do you have any sense what year this --
     9   3000 leaders of independent pharmacy, independent          9   I'm sorry. It says 2005. Strike the question.
    10   pharmacy GPOs (retail buying groups), and students        10         If you go to next page, there's a list
    11   will attend."                                             11   of -- there's a schedule with days, Sunday,
    12        Do you recall whether you attended this              12   October 16, Monday, October 17, Tuesday, October
    13   particular trade show?                                    13   18, and you'll notice that on Sunday, October 16,
    14      A I believe I did.                                     14   your name is listed as "Generic Rep 1," and
    15      Q And if you read -- if you look at the                15   Monday, October 17, your name is listed "Generic
    16   section captioned "MEETING OBJECTIVES" --                 16   Rep 1." And above that, it says, "Since we will
    17      A Mm-hmm (affirmative).                                17   be featuring both generics and Zydus products, we
    18      Q -- and you can just look at those                    18   will need two representatives from both
    19   objectives for a moment and tell me, are those the        19   organizations during each exhibit session."
    20   objectives that you believe you had, when you             20         Do you recall what you did at these
    21   attended this meeting?                                    21   exhibit sessions?
    22      A (Reviewing.) Yes.                                    22      A I was there to answer questions of various
    23      Q And looking further down the exhibit,                23   people coming by the booth.
    24   under Featured Products, number 2 is                      24      Q And by "people," you mean customers?
    25   "Hydrocodone"?                                            25      A Customers, retail pharmacists.

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     1      A Mm-hmm (affirmative).                                 1      Q Okay. We can put that aside.
     2      Q And it says, "Display message: 'Trust in              2       (Whereupon, Exhibit Mallinckrodt-Becker-
     3   our strengths and soar with #1 dispensed generic           3   005 was marked for identification by the
     4   in the U.S. ...hydrocodone/APAP from                       4   reporter.)
     5   Mallinckrodt.'" Is that the -- when it says,               5   BY MR. LOESER:
     6   "Display message," is that on a -- on some                 6      Q You've been handed what's now marked
     7   marketing materials or what's being displayed and          7   Exhibit 5, which is Bates number
     8   where?                                                     8   MNK-T1_0004809715, and take a minute to look that
     9      A I don't recall if that was a message that             9   over. This is an e-mail from you to Dena Mando,
    10   was set up. There was various handout sheets              10   M-a-n-d-o, dated 9/7/2012. The subject line is,
    11   on -- just had a handout sheet on hydrocodone.            11   "Additional Dating Buy Opportunity."
    12      Q So perhaps there -- sounds like there's a            12      A (Reviewing.)
    13   display, and that's the --                                13      Q And can you read out loud, please, the
    14      A It could have been --                                14   sentence after "Dear Dena and Lynne"?
    15      Q -- that's the marketing statement that's             15      A "We were seeking an order on two" --
    16   on the display?                                           16      Q Above that?
    17        MR. DAVISON: Objection to form.                      17      A Above that.
    18      A I have no idea if that was in the display            18      Q Yeah. "Mallinckrodt would like"...
    19   or not.                                                   19      A "Mallinckrodt would like to offer HD Smith
    20   BY MR. LOESER:                                            20   a buy in opportunity extending an additional 30
    21      Q Do you know what "Display message" means?            21   days dating on the Mallinckrodt oxycodone 15 & 30
    22      A Display message is what -- the graphics              22   products & Fentanyl patches."
    23   that you have in your booth, I believe.                   23      Q And can you explain to me what a "buy in
    24      Q So if you turn to the next page, number 3            24   opportunity" is?
    25   is "Oxycodone"?                                           25      A It's an opportunity where you buy the

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     1   product, and there may be additional dating              1      A Yes.
     2   available for the customer to take advantage of          2      Q And you're aware that the manufacturer
     3   the buy.                                                 3   and -- manufacturer and distribution of narcotics
     4      Q And what does "dating" mean?                        4   must comply with the Controlled Substances Act?
     5      A Dating is the period of time that we have           5      A Yes.
     6   given to pay for the product.                            6        MR. DAVISON: Objection to form.
     7      Q And is what's described in this e-mail a            7   BY MR. LOESER:
     8   normal process for you, reaching out to a customer       8      Q Are you familiar with the term "closed
     9   to offer a buy in opportunity?                           9   system" for opioid distribution?
    10      A It could be.                                       10      A No.
    11      Q Is this the only time you did this?                11      Q Do you understand that all persons and
    12      A No. It may have been done other times.             12   entities involved in the manufacture or
    13      Q So is the idea, here, to encourage a               13   distribution of opioids must be a registrant under
    14   wholesale distributor client to buy more product        14   the CSA?
    15   from Mallinckrodt?                                      15         MS. RANJAN: Object to form.
    16      A Not necessarily, no.                               16      A I'm not aware.
    17      Q How not necessarily?                               17         (Reporter clarification.)
    18      A It could be -- we could have been coming           18   BY MR. LOESER:
    19   off back-order situations where we may have been        19      Q You're not aware that -- are you aware of
    20   low on product. You'd have to actually go back to       20   whether Mallinckrodt is a registrant under the
    21   the product manager on why this was done. That          21   Controlled Substances Act?
    22   may have come from the product manager, requesting      22      A You would have to ask the management team
    23   that we do a special specific buy or the account        23   on that. I would imagine we are compliant with --
    24   may have reached out to us.                             24   Mallinckrodt complied with all rules and
    25      Q Okay. If we look at the second paragraph           25   regulations.
                                                     Page 75                                                    Page 77
     1   of your e-mail, you say, "We are seeking a order         1      Q Do you understand what diversion is?
     2   on a 2 month allocated supply on the oxycodone           2        MR. DAVISON: Objection to form.
     3   15mg & 30mg products & the attached Fentanyl             3      A I do.
     4   patches. I have attached the suggested order for         4   BY MR. LOESER:
     5   your review."                                            5      Q Can you describe that for me?
     6        So again, it sounds like you're asking a            6      A Diversion is being -- is product being
     7   customer to place an order; is that accurate?            7   sold into the marketplace, and it falls into the
     8        MR. DAVISON: Objection to form.                     8   hands of unattended use, meaning it's not being
     9      A It possibly could be. I don't recall this           9   used possibly for the treatment of pain, on
    10   document.                                               10   opiates, as prescribed by a doctor.
    11   BY MR. LOESER:                                          11      Q And would you agree with me that a
    12      Q Okay. So this is not an interaction that           12   manufacturer that sells controlled substances to
    13   was initiated by the customer, which is HD Smith?       13   distributors who recklessly distribute opioids is
    14        MR. DAVISON: Objection to form.                    14   engaged in diversion?
    15      A I'm not certain on that.                           15        MR. DAVISON: Objection to form.
    16   BY MR. LOESER:                                          16      A Could you repeat that --
    17      Q You don't see any reference in this e-mail         17        MS. MCINTYRE: Objection to form.
    18   to the customer asking for this opportunity,            18      A -- question?
    19   right?                                                  19        MR. LOESER: Sure. Could you read it
    20      A No.                                                20   back, please?
    21      Q Okay. Instead, it's you offering this              21         (Reporter clarification.)
    22   opportunity to the customer?                            22        (The record was read by the reporter as
    23      A Appears that way, yes.                             23   follows:
    24      Q Mr. Becker, you understand that opioids            24        Question: "And would you agree with me
    25   are narcotics, correct?                                 25   that a manufacturer that sells controlled

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     1   substances to distributors who recklessly             1   did a product monitoring system start at
     2   distribute opioids is engaged in diversion?")         2   Mallinckrodt?
     3        MR. DAVISON: Same objection.                     3      A I don't recall the date.
     4   BY MR. LOESER:                                        4        MR. DAVISON: Objection to form.
     5      Q You can answer.                                  5   BY MR. LOESER:
     6      A I want you to repeat the question for me,        6      Q Was it in the first two years you worked
     7   please.                                               7   there?
     8      Q I'll repeat it.                                  8      A No. I don't recall the exact date.
     9         (Reading from realtime screen as follows:)      9      Q Was it in the latter time period that you
    10        "Would you agree with me that a                 10   worked there?
    11   manufacturer that sells controlled substances to     11        MR. DAVISON: Objection to form.
    12   distributors who recklessly distribute opioids is    12      A Most likely.
    13   engaged in diversion?                                13   BY MR. LOESER:
    14      A No.                                             14      Q Okay. So maybe something around 2012?
    15        MR. DAVISON: Objection to form.                 15        MR. DAVISON: Objection to form.
    16   BY MR. LOESER:                                       16      A Possibly before. I'm not certain,
    17      Q And why not?                                    17   exactly, what date.
    18        MR. DAVISON: Objection to form.                 18        MR. DAVISON: Hey, Derek, we've been going
    19      A Because we're doing our due diligence in        19   about an hour. I understand if you want to finish
    20   selling our product to the various accounts, and     20   the line of questioning, but do you want to take a
    21   we're doing what we're supposed to be doing,         21   break?
    22   according to the DEA. When accounts then sell        22        MR. LOESER: Yeah. I'll just finish.
    23   their product, it's their due diligence to know      23   BY MR. LOESER:
    24   where that product is going.                         24      Q Do you know what effective controls to
    25   BY MR. LOESER:                                       25   prevent diversion means?
                                                   Page 79                                                     Page 81
     1      Q And when you say, "due diligence," what do       1        MR. DAVISON: Objection to form.
     2   you mean?                                             2      A No. I don't know who made that statement.
     3        MS. RANJAN: Object to form.                      3   BY MR. LOESER:
     4      A Our due diligence?                               4      Q I'm just asking you if you know what it
     5   BY MR. LOESER:                                        5   means, regardless of who made the statement.
     6      Q Right.                                           6        MR. DAVISON: Objection to form.
     7      A Doing what we're supposed to do in regards       7      A Effective controls, to prevent --
     8   to complying with the selling of any opiate           8   BY MR. LOESER:
     9   products. When product monitoring came in place,      9      Q Diversion?
    10   making sure all those systems and things were put    10      A I have an idea what it means.
    11   in place.                                            11      Q Okay. Tell me what your idea is.
    12      Q And when you say, "when product monitoring      12        MR. DAVISON: Objection to form.
    13   came into place," when was that?                     13      A Is that the company would be doing
    14        MR. DAVISON: Objection to form.                 14   everything that they possibly can to help
    15      A I don't know.                                   15   eliminate diversion of your product.
    16   BY MR. LOESER:                                       16   BY MR. LOESER:
    17      Q Is that something that was not in place         17      Q And what do you mean by "everything" that
    18   when you started working for Mallinckrodt?           18   they can?
    19        MR. DAVISON: Objection to form.                 19        MR. DAVISON: Objection to form.
    20      A When I started working, back in 2000, I         20      A Following all the rules and regulations
    21   don't believe they had a product monitoring system   21   that are set forth by the DEA, or anybody else, in
    22   that I knew of. You'd have to ask the marketing      22   regards to selling your product.
    23   department on that.                                  23   BY MR. LOESER:
    24   BY MR. LOESER:                                       24      Q And are you familiar with any of those
    25      Q And to the -- as best as you recall, when       25   rules and regulations?

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     1     A Not specifically, no.                          1     Q Do you have a general recollection of
     2     Q Can you describe them generally?               2   whether a suspicious order monitoring system was
     3       MR. DAVISON: Objection to form.                3   put in place at Mallinckrodt?
     4     A Not truly, no, not that I recall.              4     A Yes, one was put in place.
     5   BY MR. LOESER:                                     5     Q And do you recall when that was?
     6     Q Do you agree that diversion contributes to     6     A No, I don't.
     7   drug abuse and addiction?                          7     Q Was it towards the end of your career at
     8       MR. DAVISON: Objection to form.                8   Mallinckrodt?
     9     A I'm not an expert in that field.               9        MR. DAVISON: Objection to form.
    10   BY MR. LOESER:                                    10      A I am not certain, the period of time
    11     Q Do you have any sense, one way or the         11   there.
    12   other?                                            12   BY MR. LOESER:
    13     A On diversion?                                 13     Q Do you have any recollection at all?
    14       MR. DAVISON: Objection to form.               14        MR. DAVISON: Objection to form.
    15   BY MR. LOESER:                                    15     A Not -- I'm not able to tell you what dates
    16     Q Right.                                        16   Mallinckrodt put one in place. You'd have to ask
    17     A It can lead to the misuse of products.        17   Karen Harper on that.
    18     Q Including drug abuse and addiction?           18   BY MR. LOESER:
    19       MR. DAVISON: Objection to form.               19     Q Okay. But your sense, from the sales
    20     A Yes.                                          20   perspective, is that there was no SOM system when
    21   BY MR. LOESER:                                    21   you started, but at some point during the time
    22     Q And would you agree with me that drug         22   that you worked there, one was put in place?
    23   abuse and addiction increases the number of       23     A Yes.
    24   overdose deaths?                                  24        MR. DAVISON: Objection to form.
    25       MR. DAVISON: Objection to form.               25   BY MR. LOESER:
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     1      A I'm not an expert on it.                      1      Q Were you involved, at all, in the system
     2   BY MR. LOESER:                                     2   that was eventually put in place?
     3      Q Do you have any sense one way or the          3      A Well, being a salesman, yes. I helped --
     4   other?                                             4   I helped develop a questionnaire for the
     5        MR. DAVISON: Objection to form.               5   wholesalers and distributors.
     6      A It's an opinion. I would -- basically,        6      Q So if we had documents that describe your
     7   you'd have to -- can you repeat the question?      7   involvement in that questionnaire, would that
     8   BY MR. LOESER:                                     8   likely be the time frame of when you believed that
     9      Q Do you agree that drug abuse and addiction    9   the suspicious order monitoring system was put in
    10   increases the number of overdose deaths?          10   place?
    11        MR. DAVISON: Objection to form.              11      A Yes.
    12      A It can.                                      12        MR. DAVISON: Objection to form.
    13   BY MR. LOESER:                                    13   BY MR. LOESER:
    14      Q Do you know what a suspicious order          14      Q Do you agree with me that if an order by
    15   monitoring system is?                             15   one of your customers is identified as suspicious,
    16      A Yes.                                         16   the order should not be shipped by Mallinckrodt?
    17      Q Can you describe that for me, please?        17        MR. DAVISON: Objection to form.
    18      A A system that was put in place to watch      18      A You'd have to ask our customer service and
    19   and guard for suspicious orders being placed by   19   product managers who handle that.
    20   accounts.                                         20   BY MR. LOESER:
    21      Q And was such a system in place when you      21      Q Do you have any understanding of that?
    22   started working at Mallinckrodt?                  22        MR. DAVISON: Objection to form.
    23        MR. DAVISON: Objection to form.              23      A Can you repeat the question?
    24      A Not that I'm aware of.                       24   BY MR. LOESER:
    25   BY MR. LOESER:                                    25      Q Yes. If an order is identified as

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     1   suspicious, the order should not be shipped by          1      Q Is that a term that you used, at all,
     2   Mallinckrodt, right?                                    2   "downstream customers"?
     3        MR. DAVISON: Objection to form.                    3      A No.
     4      A Our customer service people and product            4      Q Did you use the term "indirect customers"?
     5   monitoring people handled that.                         5      A Yes.
     6   BY MR. LOESER:                                          6      Q And what was that?
     7      Q But do you have an understanding of                7      A Indirect customer is somebody that
     8   whether suspicious orders should be shipped?            8   purchases your product through a wholesaler or
     9        MR. DAVISON: Objection to form.                    9   distributor.
    10      A Again, the product managers and customer          10      Q Okay. So if your wholesale distributor
    11   service handle when and if orders would be             11   customer -- your wholesale distributor customer is
    12   shipped.                                               12   referred to as your direct customers, right?
    13   BY MR. LOESER:                                         13      A That's correct.
    14      Q Right, but I'm trying to understand your          14      Q And the pharmacies and dispensing
    15   understanding of this. If an order is identified       15   physicians and pain clinics, the entities that
    16   as suspicious, and it is a suspicious order, is it     16   purchased from your wholesale distributor
    17   your understanding that that order should not be       17   customers, those are referred to as the indirect
    18   shipped?                                               18   customers, correct?
    19        MR. DAVISON: Objection to form.                   19      A I believe so.
    20      A It should be reviewed before it's shipped.        20      Q And you never used the term "downstream
    21   BY MR. LOESER:                                         21   customer" for those indirect customers?
    22      Q And if the review determines that the             22      A No.
    23   order is suspicious, then what happens?                23      Q Are you familiar with the term "customers
    24        MR. DAVISON: Objection to form.                   24   of your customers"?
    25      A It shouldn't be shipped.                          25      A No.
                                                      Page 87                                                  Page 89
     1   BY MR. LOESER:                                          1      Q So when you're referring to the entities
     2     Q Does shipping a suspicious order violate            2   that purchased from your wholesale customers, you
     3   the Controlled Substances Act?                          3   refer to them as your indirect customers?
     4        MR. DAVISON: Objection to form.                    4      A Correct.
     5     A I'm not certain. I don't know what the              5      Q And is it your understanding that you had
     6   act reads.                                              6   a duty to report, to the DEA, suspicious orders by
     7   BY MR. LOESER:                                          7   your indirect customers, from your wholesale
     8     Q That was not a -- something on which you            8   distributor customers?
     9   were given training when you were at Mallinckrodt?      9        MR. DAVISON: Objection to form.
    10        MR. DAVISON: Objection to form.                   10      A You'd have to ask Karen Harper that, but I
    11     A I didn't do anything with the ordering.            11   believe so.
    12   BY MR. LOESER:                                         12        MR. DAVISON: Ready for a break?
    13     Q Was it your understanding that                     13         MR. LOESER: Yes.
    14   Mallinckrodt was required to report, to the DEA,       14        THE VIDEOGRAPHER: We are going off the
    15   suspicious orders?                                     15   record. The time is 10:27 a.m.
    16     A Yes.                                               16        (A recess was taken from 10:27 a.m. to
    17        MR. DAVISON: Objection to form.                   17   10:45 a.m.)
    18   BY MR. LOESER:                                         18        THE VIDEOGRAPHER: We are back on the
    19     Q And did Mallinckrodt also have a duty to           19   record. The time is 10:46 a.m.
    20   identify suspicious orders by the downstream           20   BY MR. LOESER:
    21   customers of your distributor clients?                 21      Q Earlier, I was asking you about national
    22        MR. DAVISON: Objection to form.                   22   account managers, and that's how you referred to
    23     A You'd have to define "downstream                   23   yourself, as a national account manager?
    24   customers."                                            24      A Correct.
    25   BY MR. LOESER:                                         25      Q And there were several other national

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     1   account managers at the same time --                  1        MR. DAVISON: Objection to form.
     2      A Correct.                                         2      A That wasn't my job. You would have to ask
     3      Q -- as you? And did you all get together          3   Karen Harper what the characteristics are.
     4   occasionally?                                         4   BY MR. LOESER:
     5      A It varies. We're going to have sales             5      Q Did you have any sense at all, that you
     6   meetings or if we worked a trade show together.       6   recall, of what the characteristics were of a
     7      Q And how often did that occur?                    7   suspicious order?
     8      A It varied from year to year, but usually,        8        MR. DAVISON: Objection to form.
     9   once a quarter.                                       9      A On a wholesale level, if the order was
    10      Q And would you also communicate by e-mail,       10   over their normal averages, that would most likely
    11   frequently?                                          11   by a department, by a suspicious product
    12      A Certainly.                                      12   monitoring people be tagged as a suspicious order.
    13      Q And in your conversations with the other        13   BY MR. LOESER:
    14   national account managers, did you talk about any    14      Q And that would be considered a red flag?
    15   difficulties or issues you were having with          15        MR. DAVISON: Objection to form.
    16   clients or customers?                                16   BY MR. LOESER:
    17      A Could have.                                     17      Q Is that how that term was used?
    18      Q And what are the other kinds of things          18        MR. DAVISON: Objection to form.
    19   that you would talk about with your national         19      A I don't know if we used that term, but
    20   account manager colleagues?                          20   that's -- it would -- if the volumes were such and
    21      A Just basically business. You know, what         21   the average -- or the order was over a certain
    22   account's doing what, what your account -- how       22   parameter, which I did not set, that was set by
    23   would you handle this, you know, comparison of       23   the product monitoring people, it would be tagged
    24   accounts.                                            24   as a suspicious order.
    25      Q And did you have a good relationship with       25   BY MR. LOESER:
                                                   Page 91                                                        Page 93
     1   your co-national account managers?                    1      Q And can you think of other circumstances
     2      A I believe so.                                    2   that would get an order tagged as suspicious?
     3      Q And did you have a better relationship           3        MR. DAVISON: Objection to form.
     4   with some than others?                                4      A New product that they hadn't ordered
     5      A I'm sure I did.                                  5   before.
     6      Q Do you recall, who among the group were          6   BY MR. LOESER:
     7   you closest to?                                       7      Q Anything else?
     8      A Bonnie New, Dave Irwin, probably.                8        MR. DAVISON: Objection.
     9      Q And do you recall why those two in               9      A That's just -- that's all I can think of
    10   particular?                                          10   at this point.
    11      A No. Personalities probably just matched         11   BY MR. LOESER:
    12   up proper.                                           12      Q And were you involved, at all, in helping
    13      Q And did you not get along with any of your      13   Mallinckrodt identify suspicious orders?
    14   co --                                                14      A No, I didn't see the orders. The orders
    15      A No.                                             15   all came in in computerized orders, so I didn't
    16      Q -- account managers?                            16   see the orders, so that was left up to our product
    17        Okay. Where we left off, I was asking           17   monitoring people.
    18   about suspicious -- suspicious orders, and are you   18      Q And you've mentioned Karen Harper a number
    19   familiar with the characteristics of a suspicious    19   of times. Is she -- does she fall under the
    20   order?                                               20   product monitoring people category?
    21        MR. DAVISON: Objection to form.                 21      A I believe so.
    22      A Well, define "characteristics," please.         22      Q And do you recall what her position was?
    23   BY MR. LOESER:                                       23      A I'm not certain what her title was.
    24      Q Well, can you define the characteristics        24      Q And did the product monitoring people
    25   of a suspicious order?                               25   consult with you about orders that they thought

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     1   might be suspicious?                                  1   opioid crisis in this country?
     2      A I would get an e-mail if they had a              2      A I believe you asked me that before, and I
     3   suspicious order.                                     3   said yes.
     4      Q And then what would you do?                      4      Q And in what year did you realize that
     5      A I'd have to follow up with the account to        5   there was an opioid crisis in this country?
     6   find out why an order may be higher than the norm.    6      A I don't recall what year I realized it.
     7   Clarify.                                              7      Q Was it after the time you started working
     8      Q And prior to 2011, did you -- did you ever       8   for Mallinckrodt?
     9   recommend that an order be cancelled because you      9        MR. DAVISON: Objection to form.
    10   believed it was suspicious?                          10      A After I first started working there? Yes.
    11      A Not that I recall.                              11   BY MR. LOESER:
    12      Q And after 2011, do you recall that?             12      Q Early in your time there?
    13      A Not that I recall.                              13      A I wouldn't say early.
    14      Q Were there any incentives offered to you        14      Q And how did you become aware that there
    15   to report suspicious orders?                         15   was an opioid crisis in this country?
    16      A No.                                             16      A Various news articles and things I would
    17      Q When you were evaluated, was there any          17   read, periodicals, business periodicals.
    18   consideration of whether you had identified          18      Q And did you ever investigate the extent to
    19   suspicious orders?                                   19   which pills manufactured by Mallinckrodt
    20        MR. DAVISON: Objection to form.                 20   contributed to the problem?
    21      A I don't recall.                                 21        MR. DAVISON: Objection to form.
    22   BY MR. LOESER:                                       22      A Could you repeat the question?
    23      Q Would it have been appropriate for you, as      23   BY MR. LOESER:
    24   a national account manager from Mallinckrodt, to     24      Q Did you ever investigate the extent to
    25   ask a distributor client to ship opioids to a        25   which pills manufactured by Mallinckrodt
                                                   Page 95                                                 Page 97
     1   pharmacy as a favor for a family member of a          1   contributed to the opioid crisis?
     2   customer?                                             2      A No.
     3      A No.                                              3        MR. DAVISON: Objection to form.
     4       MR. DAVISON: Objection to form.                   4   BY MR. LOESER:
     5      A No.                                              5      Q Did you evaluate whether particular types
     6   BY MR. LOESER:                                        6   of pills manufactured by Mallinckrodt were prone
     7      Q Why not?                                         7   to abuse or diversion?
     8       MR. DAVISON: Objection to form.                   8        MR. DAVISON: Objection to form.
     9      A Why would I do that? It's -- no.                 9      A Repeat that, please.
    10   BY MR. LOESER:                                       10   BY MR. LOESER:
    11      Q No, because it would be illegal?                11      Q Did you evaluate whether particular types
    12       MR. DAVISON: Objection to form.                  12   of pills manufactured by Mallinckrodt were prone
    13      A I would never do it. It's not -- anything       13   to abuse or diversion?
    14   to do with our products and family members was       14        MR. DAVISON: Objection to form.
    15   prohibited.                                          15      A I did not evaluate, no.
    16   BY MR. LOESER:                                       16   BY MR. LOESER:
    17      Q Prohibited by Mallinckrodt?                     17      Q I think there was a cough while you
    18      A Most likely, yes.                               18   were --
    19       MR. DAVISON: Objection to form.                  19        MR. LOESER: Did you get the answer?
    20   BY MR. LOESER:                                       20        (Reporter clarification.)
    21      Q And prohibited by the DEA as well?              21   BY MR. LOESER:
    22      A I would imagine so.                             22      Q Are you aware that oxycodone 15 milligram
    23       MR. DAVISON: Objection to form.                  23   and 30 milligram were the most widely abused and
    24   BY MR. LOESER:                                       24   diverted Mallinckrodt products?
    25      Q Mr. Becker, do you agree that there's an        25        MR. DAVISON: Objection to form.

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     1      A No.                                            1 Exhibit 6, which is a news report from the
     2   BY MR. LOESER:                                      2 Florida -- South Florida Sun-Sentinel, dated
     3      Q Are you aware that your distributor            3 December 3rd, 2006. On December -- by December
     4   clients purchased millions of these pills from      4 3rd, 2006, you were working for Mallinckrodt,
     5   Mallinckrodt?                                       5 correct?
     6        MR. DAVISON: Objection to form.                6     A Yes.
     7      A I'm not certain how many they purchased.       7     Q And you were selling controlled substances
     8   BY MR. LOESER:                                      8 for Mallinckrodt?
     9      Q But you were aware, when you worked there,     9     A Yes.
    10   of the number of pills that your customers         10     Q This article headline is "ALARM OVER
    11   purchased --                                       11 PRESCRIPTION DRUG TRADE," "DEATHS SKYROCKET AS
    12        MR. DAVISON: Objection to form.               12 DEALERS AND ADDICTS FLOCK TO SOUTH FLORIDA." I'm
    13      A I had no idea on the number of pills. I       13 going to read a few sentences in this article and
    14   didn't use a tablet count on purchases.            14 ask you about your knowledge of these
    15   BY MR. LOESER:                                     15 circumstances.
    16      Q What did you use?                             16       The first sentence is "Out-of-state drug
    17      A Bottles.                                      17 dealers and addicts are traveling long distance to
    18      Q How many --                                   18 visit Florida pain clinics, targeting the state
    19      A Cases. I never saw the orders. All the        19 because of its lax oversight of prescription
    20   orders were done electronically.                   20 drugs" -- "because of its lax oversight of
    21      Q So if the metric you used was bottles, how    21 prescription drugs makes scoring pills easier."
    22   many pills are in a bottle?                        22       Do you recall reading about people coming
    23      A It would vary on the type of bottle that      23 from out of state to purchase pills in Florida?
    24   was used.                                          24       MR. DAVISON: Objection to form.
    25      Q And was there no standard measure when you    25     A Yes, I read articles about it.

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     1   referred to a bottle?                               1   BY MR. LOESER:
     2      A There was hundreds and 500s, then there's      2      Q And the next sentence of the article, next
     3   unit of use, unit dose.                             3   paragraph, states, "The unwanted tourism alarms
     4      Q But when you used -- when you looked at        4   state officials who have watched deaths from
     5   the number of bottles of pills, there was no        5   prescription pain medications skyrocket in recent
     6   particular number of pills that you knew were in    6   years. In 2005, such prescription drugs as
     7   any bottle?                                         7   hydrocodone, methadone and oxycodone contributed
     8      A I didn't review that.                          8   to more overdose deaths than all other narcotics
     9      Q And cases, how many bottles are in a case?     9   combined, according to Florida medical examiners."
    10      A I couldn't recall.                            10        Now, as of 2006, you were selling
    11      Q Is it a uniform measure or does it --         11   hydrocodone, methadone, and oxycodone to your
    12      A It is. I don't recall what was in our         12   distributor customers; is that correct?
    13   case packs.                                        13        MR. DAVISON: Objection to form.
    14      Q You mentioned that you learned of the         14      A Correct.
    15   opioid crisis through news articles. Are those     15   BY MR. LOESER:
    16   articles that you found on your own or articles    16      Q And were you aware that those pills were
    17   that were sent to you by colleagues or both?       17   being sold en masse to pain clinics and doctors in
    18        MR. DAVISON: Objection to form.               18   Florida?
    19      A Both.                                         19        MR. DAVISON: Objection to form.
    20        (Whereupon, Exhibit Mallinckrodt-Becker-      20      A I don't know at the time.
    21   006 was marked for identification by the           21   BY MR. LOESER:
    22   reporter.)                                         22      Q But you read articles that described --
    23        THE REPORTER: Number 6.                       23      A I had read articles.
    24   BY MR. LOESER:                                     24      Q Okay. And do you recall when you became
    25      Q You've been handed what's marked              25   aware of the supply, the problem of hydrocodone,

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                                                       Page 102                                                 Page 104
     1   methadone, oxycodone, in Florida and people coming        1   they bought from you to locations in Florida?
     2   from out of state?                                        2        MR. DAVISON: Objection to form.
     3      A I don't recall the date.                             3      A That would have been product monitoring.
     4      Q Did you become aware of skyrocketing                 4   BY MR. LOESER:
     5   overdose deaths in Florida at some point?                 5      Q That's not something that you looked into?
     6        MR. DAVISON: Objection to form.                      6        MR. DAVISON: Same objection.
     7      A Just in periodical readings, newscasts,              7      A Product monitoring was responsible for
     8   media.                                                    8   that.
     9   BY MR. LOESER:                                            9   BY MR. LOESER:
    10      Q I'm passing to you what's previously been           10      Q Okay. But that's not something that you
    11   marked as Borelli Exhibit 24. This is an article         11   looked into?
    12   from the Miami Herald, with the title "Inside            12      A No.
    13   Broward County pill mills." The date of the              13      Q If you turn to the next page of this
    14   article is April 5th, 2009. You were working at          14   article, there's a paragraph, second from the top,
    15   Mallinckrodt, selling controlled substances on           15   that states, "And the travelers come -- by the
    16   that date, correct?                                      16   thousands, narcotics investigators say, from
    17      A Yes.                                                17   Kentucky, Ohio, West Virginia, Massachusetts and
    18      Q And I'll read the first paragraph of the            18   other states. Prospective pill buyers sometimes
    19   article. "Broward County has become the                  19   camp outside clinics overnight, waiting for the
    20   painkiller capital of the United States, the             20   doors to open, said Hollywood police Capt. Allen
    21   notorious home to a cottage industry of storefront       21   Siegel, director of a South Broward narcotics task
    22   pain clinics selling alarming numbers of narcotics       22   force."
    23   and feeding a brazen black market sprawling              23        Now, is this circumstance of people coming
    24   through the South and New England."                      24   from out of state to get pills at Florida pain
    25        And again, that description, that's                 25   clinics something that you had heard about?
                                                     Page 103                                                   Page 105
     1   something that you had become familiar with               1        MR. DAVISON: Objection to form.
     2   because of the articles and information you had           2      A Yes.
     3   seen?                                                     3   BY MR. LOESER:
     4        MR. DAVISON: Objection to form.                      4      Q And if you turn to the next page, there's
     5      A Yes.                                                 5   a paragraph, "Experts blame these clinics for a
     6   BY MR. LOESER:                                            6   startling rise in prescription-drug overdose
     7      Q Yes. You were aware that Broward County              7   deaths in Florida, including a 107 percent jump in
     8   had become the painkiller capital of the United           8   oxycodone deaths in two years."
     9   States?                                                   9        And you were aware, from the articles that
    10        MR. DAVISON: Objection to form.                     10   you read, about spiking overdose deaths in
    11      A Not specifically Broward County. I knew             11   Florida?
    12   that there was issues in Florida.                        12        MR. DAVISON: Objection to form.
    13   BY MR. LOESER:                                           13      A Yes.
    14      Q And were you aware that, as of this time,           14   BY MR. LOESER:
    15   a number of your wholesale distributor customers         15      Q And were you also familiar with the fact
    16   were selling a significant portion of the pills          16   that many of those deaths were due to oxycodone
    17   they purchased from Mallinckrodt to indirect             17   overdoses?
    18   customers in Florida?                                    18        MR. DAVISON: Objection to form.
    19        MR. DAVISON: Objection to form.                     19      A Yes.
    20      A I didn't know who they were selling all             20   BY MR. LOESER:
    21   their products to.                                       21      Q And, of course, you knew that a number of
    22   BY MR. LOESER:                                           22   your wholesale distributor clients were purchasing
    23      Q Had you examined, at all, whether your              23   large volumes of oxycodone, manufactured by
    24   wholesale distributor clients were selling               24   Mallinckrodt, correct?
    25   significant portions of the controlled substances        25        MR. DAVISON: Objection to form.

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                                                      Page 106                                                     Page 108
     1      A They were purchasing our oxycodone                  1   Florida was such a heavy user of oxycodone
     2   product.                                                 2   products?
     3   BY MR. LOESER:                                           3        MR. DAVISON: Objection to form.
     4      Q Significant volumes of --                           4     A Did it cause me any concern? Just
     5      A I don't know if there -- what would be              5   concerns on who the product was getting to as an
     6   considered significant.                                  6   end user.
     7      Q What would you consider significant?                7   BY MR. LOESER:
     8      A I don't -- I don't know.                            8     Q Concerns that it was being diverted?
     9      Q Thousands of bottles significant to you?            9     A It could be.
    10        MR. DAVISON: Objection to form.                    10     Q That was a concern of yours?
    11      A I can't answer that. That would be                 11        MR. DAVISON: Objection to form.
    12   product monitoring's job. As I said earlier, I          12     A It could be.
    13   never saw orders come in. Orders were done              13   BY MR. LOESER:
    14   electronically.                                         14     Q Was it?
    15   BY MR. LOESER:                                          15        MR. DAVISON: Objection to form.
    16      Q Tens of thousands of bottles seem                  16     A It was, but we had product monitoring
    17   significant to you?                                     17   people in place to monitor those orders.
    18        MR. DAVISON: Objection to form.                    18        (Whereupon, Exhibit Mallinckrodt-Becker-
    19      A I can't answer the question. I have no             19   007 was marked for identification by the
    20   idea what the significant amount is for a               20   reporter.)
    21   wholesaler.                                             21   BY MR. LOESER:
    22   BY MR. LOESER:                                          22     Q Sir, I'm handing you what's been marked
    23      Q Go a few more pages into the article.              23   Exhibit 7, which bears Bates stamp
    24   There's a paragraphs that states, "Police in            24   MNK-T1_0000264194. And while you're looking at
    25   Kentucky, Tennessee, West Virginia, Ohio and other      25   that document, for the record, this is an e-mail
                                                    Page 107                                                         Page 109
     1   states routinely arrest drug suspects who have           1   from Karen Harper, dated November 28th, 2009, sent
     2   oxycodone bought or prescribed in Florida, often         2   to a number of people, including yourself; is that
     3   using bogus medical records to justify the               3   correct?
     4   medication. 'Ninety-eight percent of it is coming        4      A Correct.
     5   out of Florida,' said Capt. David Hall, a                5      Q And the other folks to which this e-mail
     6   narcotics detective in Scioto County, Ohio,              6   was sent, John Adams, Robert Lesnak, Tim Berry,
     7   outside Cincinnati."                                     7   Bonnie New, Dave Irwin, Victor Borelli, are those
     8        And again, you had heard of people coming           8   all other national account managers for
     9   to Florida to purchase pills. Had you also heard         9   Mallinckrodt?
    10   of those pills migrating out of the state of            10      A John Adams was a manager that I had
    11   Florida to other areas?                                 11   reported to. I forgot that I reported to him.
    12      A Yes.                                               12   Robert Lesnak was in charge of methadone sales,
    13        MR. DAVISON: Objection to form.                    13   was a manager in that, and the rest look like they
    14   BY MR. LOESER:                                          14   were sales people.
    15      Q Down below, it states, "More oxycodone is          15      Q And if you look at the subject line of
    16   distributed in Florida than any other state -- 40       16   this e-mail, Ms. Harper is sending you a news
    17   percent more than in second-ranked California in        17   article from RxNews with the heading "Grand Jury
    18   2006, according to DEA data."                           18   wants to crack down on pill Mills, Ft. Lauderdale,
    19        Were you aware of that?                            19   Florida"; do you see that?
    20        MR. DAVISON: Objection to form.                    20      A Mm-hmm (affirmative).
    21      A I knew Florida was a heavy user of                 21      Q And so if you go down into the body of the
    22   oxycodone products. I'm not certain what date           22   article that's attached to Ms. Harper's e-mail,
    23   they were.                                              23   the first line of that is, "Broward County has
    24   BY MR. LOESER:                                          24   become known as the 'pill mill capital' of the
    25      Q And did that cause you any concern, that           25   United States"; is that correct?

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     1      A Where are you looking?                               1   that specific date, if we were.
     2      Q Right below the title of the article, on             2   BY MR. LOESER:
     3   the first page.                                           3      Q You have no recollection one way or the
     4      A Okay. That's what it reads, yes.                     4   other?
     5      Q Okay. And so this is an example of an                5      A No.
     6   article about the problems in Florida that was            6        MR. DAVISON: Objection to form.
     7   sent to you by Ms. Harper, describing the problems        7   BY MR. LOESER:
     8   in Florida and the fact that Florida had become a         8      Q This wasn't a time for you in which that
     9   pill mill capital, right?                                 9   particular product was selling so much that it was
    10        MR. DAVISON: Objection to form.                     10   causing your bonus to go up significantly?
    11      A Correct.                                            11        MR. DAVISON: Objection to form.
    12   BY MR. LOESER:                                           12      A I don't -- I don't -- I don't know if that
    13      Q And if you go to the second page of that            13   caused my bonus to go up or not.
    14   now, which attaches the article, third paragraph         14   BY MR. LOESER:
    15   from the top states, "According to the report, 'In       15      Q That's not something you ever tried to
    16   the past 2 years the number of pain clinics in           16   figure out?
    17   South Florida mushroomed from 4 to 176, dumping 9        17      A No.
    18   million dose units of Oxycodone in our community         18        MR. DAVISON: Objection to form.
    19   every six minutes." And, sir, you are aware              19      A Bonus to me was just part of my regular
    20   that --                                                  20   program.
    21      A That was six months. You said "minutes,"            21        (Whereupon, Exhibit Mallinckrodt-Becker-
    22   I believe.                                               22   008 was marked for identification by the
    23      Q Six months. Yeah.                                   23   reporter.)
    24      A Okay.                                               24   BY MR. LOESER:
    25      Q Fair correction.                                    25      Q You've been handed what's marked
                                                       Page 111                                                 Page 113
     1        And then it continues, "Although the pain            1   Exhibit 8, which is an NPR, National Public Radio,
     2   clinics originated in Broward County, they have           2   article, dated March 2nd, 2011. The heading is
     3   spread north quickly throughout the rest of               3   "The 'Oxy Express': Florida's Drug Abuse
     4   Florida."                                                 4   Epidemic."
     5        So again, this is information contained in           5      A Was this from the print media or was this
     6   an article that was sent to you by Ms. Harper on          6   the electronic media?
     7   November 28, 2009; that's correct?                        7      Q It was probably both. According to the
     8      A Correct.                                             8   exhibit, it was "Heard on Morning Edition" on
     9      Q And at the time, you were selling                    9   March 2nd, 2011.
    10   substantial amounts of oxycodone to your wholesale       10      A Okay.
    11   distributor clients, correct?                            11      Q Are you familiar with the term "The Oxy
    12        MR. DAVISON: Objection to form.                     12   Express"?
    13      A I don't know what substantial would be.             13      A Yes.
    14   BY MR. LOESER:                                           14      Q Can you tell me what that is?
    15      Q Were you selling --                                 15      A Just Florida became known as an area where
    16      A As I stated earlier, I did not see the              16   all the pain clinics opened up, and it's where
    17   orders come in for my accounts. They were all            17   people went to get diverted product.
    18   submitted electronically.                                18      Q And The Oxy Express refers to the highway
    19      Q Were you selling more oxycodone to your             19   running north out of Florida, I75; are you aware
    20   clients in 2009 than in prior years?                     20   of that?
    21      A I don't know.                                       21        MR. DAVISON: Objection to form.
    22      Q You never examined that?                            22      A There's more than one highway running
    23        MR. DAVISON: Objection to form.                     23   north out of Florida that probably transported
    24      A I would look at sales reports and look at           24   drugs.
    25   my top selling products, but I can't tell you, for       25   BY MR. LOESER:

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     1      Q Have you -- are you familiar with I75                  1   Oxycodone IR over the past 8 months and have done
     2   being referred to as The Oxy Express?                       2   a tremendous job of meeting historic demand."
     3      A At times.                                              3        Does this refresh your recollection on the
     4      Q And if you turn to the second page of that             4   demand for oxycodone back in 2009?
     5   exhibit, under the heading "Florida's Oxycodone             5        MR. DAVISON: Objection to form.
     6   Prescriptions," this states, "Doctors in Florida            6      A I don't recall this particular e-mail, and
     7   prescribe 10 times more oxycodone pills than every          7   I do not recall Ethex having an issue with their
     8   other state in the country combined. People come            8   product.
     9   from all over the Southeast to visit the state's            9   BY MR. LOESER:
    10   pain clinics."                                             10      Q And what was Ethex?
    11        You were aware of that, correct?                      11      A Ethex was a competitor company that
    12        MR. DAVISON: Objection to form.                       12   manufactured oxycodone.
    13      A Eventually, I was, in my readings.                    13      Q And Ms. Muhlenkamp goes on to note, "As a
    14   BY MR. LOESER:                                             14   point of reference, our backorder dollars have
    15      Q You were aware of that at the time that               15   reached 90 million today, 40 million of that, or
    16   you were selling oxycodone to your wholesale               16   45%, is oxycodone IR."
    17   distributor customers?                                     17        Do you recall there being substantial
    18      A I could have been.                                    18   backorders of oxycodone IR in 2009?
    19        MR. DAVISON: Objection to form.                       19      A I don't specifically recall it, but
    20      A I'm not certain exactly, referring to all             20   according to this e-mail, we did have a backorder
    21   the various states that have been thrown in front          21   situation.
    22   of me.                                                     22      Q And what does that mean when Mallinckrodt
    23   BY MR. LOESER:                                             23   has backorders?
    24      Q But generally, this is something that you             24      A It means that we don't have enough
    25   were aware of?                                             25   material or the manufacturing process is such that
                                                         Page 115                                                    Page 117
     1     A Yes.                                                    1   we can't manufacture enough product to meet
     2      Q When you were still selling oxycodone to               2   demand.
     3   your wholesale distributor customers?                       3     Q It means that the entire amount of
     4     A Yes, yes.                                               4   oxycodone manufactured by Mallinckrodt had been
     5        (Whereupon, Exhibit Mallinckrodt-Becker-               5   purchased by your clients or customers?
     6   009 was marked for identification by the                    6       MR. DAVISON: Objection to form.
     7   reporter.)                                                  7     A Could you rephrase or restate the
     8   BY MR. LOESER:                                              8   question?
     9      Q You've been handed what's marked                       9   BY MR. LOESER:
    10   Exhibit 9, and while you're familiarizing yourself         10     Q The backorder indicates that everything
    11   with it, this is an e-mail from Kate Muhlenkamp,           11   Mallinckrodt had to sell, all of the oxycodone IR,
    12   dated February 16, 2009, sent to you, among                12   had been sold?
    13   others. Subject is "Customer Demand Management             13       MR. DAVISON: Objection to form.
    14   and Allocations." Bates number MNK-T1_0004916278.          14     A I believe so.
    15         Who is Kate Muhlenkamp?                              15   BY MR. LOESER:
    16      A She was a product manager.                            16     Q And Mallinckrodt's response to that,
    17      Q And if you look down at the e-mail -- have            17   according to this e-mail, was to ramp up supply
    18   you had a chance to read it?                               18   capabilities?
    19      A Not the whole thing, no.                              19     A You'd have to ask the manufacturing people
    20      Q Why don't you go ahead and do that?                   20   on that.
    21      A (Reviewing.)                                          21     Q But is that what Ms. Muhlenkamp is telling
    22      Q So I'll read the first paragraph of the               22   you in this e-mail?
    23   e-mail, and then I'll ask you a question about             23     A It appears so.
    24   that. It says, "All - As you are aware, we have            24       MR. DAVISON: Objection to form.
    25   ramped up our supply capabilities surrounding              25   BY MR. LOESER:

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                                                      Page 118                                                      Page 120
     1      Q Do you recall Mallinckrodt being                    1       MR. DAVISON: Objection to form.
     2   backordered on oxycodone IR in 2009?                     2      A You'd have to ask manufacturing that. I'm
     3      A I don't recall this specifically, no.               3   not certain.
     4      Q If you go to the next paragraph of her              4   BY MR. LOESER:
     5   e-mail, she writes, "After maximizing our                5      Q Okay. Is that what's described in this
     6   manufacturing output, we know that we are not in         6   e-mail?
     7   the position to fulfill the total market demand as       7       MR. DAVISON: Objection to form.
     8   a result of Ethex exiting. Therefore, we are             8      A It appears so.
     9   going to begin managing our customers demand or,         9   BY MR. LOESER:
    10   more appropriately, making them aware of what and       10      Q Do you recall whether not having oxycodone
    11   when we will be able to ship based on our               11   IR available was something that was upsetting to
    12   manufacturing output."                                  12   your customers?
    13        Do you see that?                                   13       MR. DAVISON: Objection to form.
    14      A Mm-hmm (affirmative).                              14      A When the product was allocated or back
    15      Q So explain for me what's happening here.           15   ordered, yes, it could be -- cause issues for a
    16        MR. DAVISON: Objection to form.                    16   customer and the end users that they served.
    17      A Well, based on a competitor leaving the            17   BY MR. LOESER:
    18   marketplace, it put strains on our product supply,      18      Q And back in 2009, when you received this
    19   being that either we couldn't manufacture it fast       19   e-mail, did you try to figure out why your
    20   enough or we did not have enough raw material to        20   customers were ordering so much Oxycodone IR?
    21   manufacture the product.                                21      A No.
    22   BY MR. LOESER:                                          22       MR. DAVISON: Objection to form.
    23      Q And do you recall in this time frame there         23   BY MR. LOESER:
    24   being a historic -- Mallinckrodt not being able to      24      Q That's not something that occurred to you
    25   meet historic demand?                                   25   to do?
                                                    Page 119                                                          Page 121
     1        MR. DAVISON: Objection to form.                     1      A No.
     2      A I don't recall this and the date. I do              2       MR. DAVISON: Objection to form.
     3   recall, throughout my career, that Mallinckrodt          3       (Whereupon, Exhibit Mallinckrodt-Becker-
     4   would have supply issues from time to time.              4   010 was marked for identification by the
     5   BY MR. LOESER:                                           5   reporter.)
     6      Q And do you recall there being a time when           6   BY MR. LOESER:
     7   Mallinckrodt started managing allocations to             7      Q You've been handed what's marked
     8   customers for oxycodone IR?                              8   Exhibit 10. MNK-T1_0000289707, and while you're
     9      A Repeat the question, please.                        9   reading it, this is an e-mail from Kate Muhlenkamp
    10      Q Do you recall, as described in this                10   to Karen Harper, with the Subject, Requesting
    11   e-mail, that there came a point in time, in 2009,       11   Info: Dollars of Sales, Oxycodone 15 and 30 mg to
    12   in which Mallinckrodt started allocating what it        12   Florida per year," and with an attachment, "Oxy
    13   had available of oxycodone IR among its different       13   Florida Sales" 9/14, 2010.
    14   customers?                                              14       Do you have any understanding of why, on
    15      A Do I recall that?                                  15   September 14, 2010, Ms. Muhlenkamp sent to
    16      Q Yeah.                                              16   Ms. Harper a report on Florida sales of oxycodone
    17      A I recall that, over the course of --               17   15 and 30?
    18   course of time, products were subject to being          18       MR. DAVISON: Objection to form.
    19   allocated.                                              19      A No, I don't.
    20      Q And that's because Mallinckrodt couldn't           20   BY MR. LOESER:
    21   manufacture enough to meet the demand?                  21      Q Were you involved, at all, at that time in
    22      A Most likely.                                       22   examining sales to Florida of oxycodone 15 and 30?
    23      Q And do you recall that Mallinckrodt tried          23      A Not that I recall.
    24   to meet the demand by increasing the amount that        24      Q If you turn to the next page of this
    25   it was manufacturing?                                   25   exhibit, there is a -- there's some tables that

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     1   describe --                                               1   end users. You'd have to ask Karen Harper that
     2      A Mm-hmm (affirmative).                                2   did our product monitoring, had that information.
     3      Q -- sales of oxycodone 15 and 30, a total             3   BY MR. LOESER:
     4   in Florida; do you see that?                              4      Q And did you ever ask to get the
     5      A Where?                                               5   information?
     6      Q The first table indicates "Total End                 6      A For specific accounts, possibly.
     7   Purchaser," "Gross Sales"; do you see that?               7      Q But you never did any type of examination
     8      A Yes.                                                 8   across the board for your wholesale distributor
     9      Q And the table below that says, "Total End            9   customers of where they were sending the bulk of
    10   Purchaser," and it says, "Fl"?                           10   the oxycodone they purchased from you?
    11      A Oh. There's a mark in front of the Fl               11      A I may have with one account.
    12   that I can't see that. Okay. Yes.                        12      Q Okay. Do you recall the details of that?
    13      Q So if you look down this, you'll see                13      A Smith Drug.
    14   that -- and then the third table has percentages.        14      Q And why did you do that?
    15   So as of September 14, 2010, starting in 2008, 28        15      A I can't recall why it was done.
    16   percent of all of the oxycodone 15 and 30 was sold       16      Q Did you recall -- do you recall what you
    17   in -- to downstream customers in Florida as of           17   learned?
    18   2008; do you see that?                                   18      A If I recall properly, it was just that
    19      A Mm-hmm (affirmative).                               19   their customer -- their end users were not located
    20        MR. DAVISON: Objection to form.                     20   in Florida.
    21   BY MR. LOESER:                                           21      Q Okay. So you learned that they were not
    22      Q Were you aware of that?                             22   selling most of their drugs?
    23        MR. DAVISON: Objection to form.                     23      A Smith Drug.
    24      A Not at the time.                                    24      Q And did you learn anything else that
    25   BY MR. LOESER:                                           25   caused you to be suspicious about Smith Drug?
                                                       Page 123                                                     Page 125
     1      Q Okay. And if you look at 2009, it shows              1        MR. DAVISON: Objection to form.
     2   that as of 2009, 39 percent of all of the                 2      A No.
     3   oxycodone sales by Mallinckrodt were sold to              3   BY MR. LOESER:
     4   downstream customers in Florida; were you aware of        4      Q And you don't recall any other times
     5   that?                                                     5   investigating any of your other wholesale
     6      A No.                                                  6   distributor customers to see who was purchasing
     7        MR. DAVISON: Objection to form.                      7   from them the products that you sold to them?
     8   BY MR. LOESER:                                            8        MR. DAVISON: Objection to form.
     9      Q And if you look at 2010, it shows that 47            9      A If an account requested for me to look at
    10   percent of all of the oxycodone 15 and 30                10   Steve's Drug on our particular product line, I had
    11   purchased from Mallinckrodt by its wholesale             11   the ability to run a chargeback report and see how
    12   distributors was sold to downstream customers in         12   much product Steve's Drug was buying.
    13   Florida; do you see that?                                13   BY MR. LOESER:
    14      A Yes.                                                14      Q Would you agree with me that it's highly
    15        MR. DAVISON: Objection to form.                     15   suspicious that in 2008, 28 percent of all
    16   BY MR. LOESER:                                           16   oxycodone manufactured by Mallinckrodt was being
    17      Q So the percentages went 28 percent in '08           17   sold and shipped to Florida?
    18   to 47 percent in 2010. And, sir, are you telling         18        MR. DAVISON: Objection to form.
    19   me that among your wholesale distributor                 19      A Would I agree with you?
    20   customers, you were not aware of the portion of          20   BY MR. LOESER:
    21   all of the oxycodone they purchased from you that        21      Q Yes.
    22   was shipped to Florida?                                  22      A If I was a number analysis person, looking
    23        MR. DAVISON: Objection to form.                     23   at these numbers, looking at the baseline on the
    24      A I didn't have that data from my                     24   jumps, I would -- it would pique my interest, yes.
    25   wholesalers or distributors on product from the          25      Q Okay. And then looking at 2009, would you

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     1   agree with me that it is highly suspicious that       1     Q -- Florida IR activity?
     2   out of all of the oxycodone manufactured by           2        MR. DAVISON: Objection to form.
     3   Mallinckrodt, 39 percent of it was being shipped      3     A No, I have no idea. You'd have to ask
     4   to Florida?                                           4   Lisa Lundergan or Karen Harper or Ginger Collier.
     5        MR. DAVISON: Objection to form.                  5   BY MR. LOESER:
     6   BY MR. LOESER:                                        6     Q If you turn to the next page, there's some
     7      Q Would that pique your interest as well?          7   graphs.
     8        MR. DAVISON: Objection to form.                  8     A Yes.
     9      A Not necessarily. Based on the baseline           9     Q And if you look at the one -- the second
    10   number and the jumps, that would pique my            10   one, the bar chart, it shows that in 2010, over 2
    11   interest.                                            11   million bottles of oxycodone 5, 15 and 30
    12   BY MR. LOESER:                                       12   milligram tabs were sold to Florida; do you see
    13      Q And the following year at 47 percent --         13   that?
    14      A That would pique my interest, based on          14      A Mm-hmm (affirmative).
    15   baseline of sales.                                   15     Q Does that seem like an alarming number of
    16        MR. DAVISON: Objection to form.                 16   bottles to be sold to Florida?
    17   BY MR. LOESER:                                       17        MR. DAVISON: Objection to form.
    18      Q And do you think it's possible that that        18     A I don't have any data to compare it by.
    19   amount of oxycodone was being legitimately           19   BY MR. LOESER:
    20   consumed in Florida --                               20     Q In 2010, were you aware that that many
    21        MR. DAVISON: Objection to form.                 21   bottles were being sold --
    22   BY MR. LOESER:                                       22     A No.
    23      Q -- for medically necessary purposes?            23     Q -- by your group to Florida?
    24        MR. DAVISON: Objection to form.                 24     A No.
    25      A You have to ask Karen Harper that, who          25        MR. DAVISON: Objection to form.
                                                   Page 127                                                Page 129
     1 does our product monitoring. I'm not in a               1   BY MR. LOESER:
     2 position to answer that.                                2      Q And were you aware of which of your
     3 BY MR. LOESER:                                          3   clients were sending significant volumes of
     4      Q I'm handing you what's previously been           4   oxycodone to Florida at that time?
     5   marked Borelli Exhibit 22, MNK-T1_0000368646. And     5        MR. DAVISON: Objection to form.
     6   while you're reading that, this is an e-mail from     6      A No. I didn't have that data. You'd have
     7   Lisa Lundergan to Karen Harper, dated April           7   to ask Karen Harper.
     8   18, 2011, and the Subject, "Oxycodone FL Update,"     8   BY MR. LOESER:
     9   with an attachment, "Oxycodone IR Monthly Update."    9      Q If you turn to the next page of that
    10      A (Reviewing.)                                    10   exhibit, there's a table at the top. It says,
    11      Q Who is Lisa Lundergan?                          11   "Distributor Data," All Strengths - Oxycodone
    12      A She was product manager at the time.            12   HCl"; do you see that list?
    13      Q And Ginger Collier, to whom this is cc'd?       13      A Yes.
    14      A She was in charge of the marketing              14      Q And do you see that there's a list of
    15   department.                                          15   Mallinckrodt customers on there?
    16      Q And in this e-mail, Ms. Lundergan writes,       16      A I do.
    17   "Karen, As requested, I have attached an update on   17      Q Let's go down that list, and I want you to
    18   Oxycodone Florida activity. Please let me know if    18   tell me which of those customers were your
    19   there is anything else you would like added to       19   customers. Let's start at the top.
    20   this. I will update this as often as you need it,    20   AmerisourceBergen, is that your customer?
    21   just let me know."                                   21      A I don't recall at that time.
    22        And do you remember what was going on in        22      Q Did they become your customer at some
    23   April of 2011 that would cause Ms. Lundergan to      23   point?
    24   provide a report on --                               24      A At one point, they were, but I don't
    25      A No.                                             25   recall if it was at this date.
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     1      Q Okay. Do you see that in 2010                    1        MR. DAVISON: Objection to form.
     2   AmerisourceBergen sent 85,881 bottles of              2   BY MR. LOESER:
     3   oxycodone?                                            3     Q -- if you had asked for it?
     4      A Mm-hmm (affirmative).                            4        MR. DAVISON: Objection to form.
     5        MR. DAVISON: Objection to form.                  5     A Repeat the question.
     6   BY MR. LOESER:                                        6   BY MR. LOESER:
     7      Q And that would be the number of bottles          7     Q This data had been assembled by
     8   that they sent to Florida, correct?                   8   Mallinckrodt, correct?
     9        MR. DAVISON: Objection to form.                  9        MR. DAVISON: Objection to form.
    10      A Mm-hmm (affirmative).                           10     A Correct.
    11   BY MR. LOESER:                                       11   BY MR. LOESER:
    12      Q Okay. The next one, Anda?                       12     Q And if you had asked for it, you could
    13      A Mm-hmm (affirmative).                           13   have been provided that data, too, correct?
    14      Q Was that your customer?                         14     A I could have been, yes.
    15      A It could have been at that time, yes.           15        MR. DAVISON: Objection.
    16      Q Do you see that they sent 22,000 bottles?       16   BY MR. LOESER:
    17      A Mm-hmm (affirmative).                           17     Q So let's keep going down the list. Tell
    18      Q Okay. So you did not know as of this            18   me when we get to another one of your clients.
    19   time, because you had not looked to see, the         19     A Cedardale, at one time, was my client.
    20   number of bottles of oxycodone that your wholesale   20     Q Okay. And you see that they sent 19,000
    21   distributor customer sent to Florida?                21   bottles of oxycodone to Florida --
    22        MR. DAVISON: Objection to form.                 22        MR. DAVISON: Objection.
    23      A I did not have data, specifically, as to        23   BY MR. LOESER:
    24   Florida. Karen Harper would have had that            24     Q -- in 2010?
    25   information.                                         25        MR. DAVISON: Same objection.
                                                  Page 131                                               Page 133
     1   BY MR. LOESER:                                        1      A Okay.
     2      Q Okay. So if you had called Lisa Lundergan        2   BY MR. LOESER:
     3   and said, "Can you please send me information on      3      Q Keep going down.
     4   the number of bottles that my clients sent to         4      A Epic was my customer.
     5   Florida," would she have been able to provide that    5      Q Okay. Who is below Epic?
     6   to you?                                               6      A Harvard was my -- I don't know if it was
     7        MR. DAVISON: Objection to form.                  7   at that time.
     8      A She most likely would have had to contact        8      Q Okay. You see that they sent 79,039
     9   Karen Harper.                                         9   bottles --
    10   BY MR. LOESER:                                       10      A Yes.
    11      Q But the information was there?                  11        MR. DAVISON: Objection.
    12        MR. DAVISON: Objection to form.                 12   BY MR. LOESER:
    13      A It could have been. I don't know if there       13      Q -- of oxycodone to Florida in 2010?
    14   was their account, specifically.                     14        MR. DAVISON: Objection.
    15   BY MR. LOESER:                                       15      A HD Smith was my account.
    16      Q Okay. Well, you know from this list that        16   BY MR. LOESER:
    17   there's tracking of the number of bottles of         17      Q Do you see how many bottles of oxycodone
    18   wholesale distributor customers, number of bottles   18   they sent to Florida in 2010?
    19   of oxycodone they shipped to Florida, right?         19      A Mm-hmm (affirmative).
    20      A Mm-hmm (affirmative).                           20        MR. DAVISON: Objection.
    21        MR. DAVISON: Objection to form.                 21   BY MR. LOESER:
    22   BY MR. LOESER:                                       22      Q Just how many was that?
    23      Q So presumably, since this list was created      23        MR. DAVISON: Objection.
    24   and sent to Karen Harper, it also could have been    24      A In 2010?
    25   sent to you --                                       25   BY MR. LOESER:

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     1      Q Yes.                                             1   your customer, wasn't it?
     2      A 396,697.                                         2      A Cardinal Preferred Source was a customer
     3      Q Keep going down.                                 3   of mine. I'm not certain on this time frame.
     4      A KeySource was my account. I don't know if        4      Q Do you see that in -- from 2010 to 2011,
     5   it was my account at that time. Same with             5   Cardinal increased its shipments, to Florida, of
     6   Master's.                                             6   oxycodone 57 percent?
     7      Q Okay. How many bottles did KeySource send        7       MR. DAVISON: Objection to form.
     8   into Florida in 2010?                                 8      A Mm-hmm (affirmative).
     9        MR. DAVISON: Objection.                          9   BY MR. LOESER:
    10      A 373,141.                                        10      Q Do you have any recollection of why that
    11   BY MR. LOESER:                                       11   occurred?
    12      Q Okay. What's below that? Master                 12      A No, I don't.
    13   Pharmaceutical, was that your client?                13      Q Does it seem strange to you that at a time
    14      A It could have been at that time. I don't        14   when most of the other distributors were
    15   recall. That was an account that was transferred     15   decreasing their shipments into Florida, Cardinal
    16   to me.                                               16   was increasing its shipments?
    17      Q Okay. Do you see the number of bottles of       17       MR. DAVISON: Objection to form.
    18   oxycodone --                                         18      A No. That could be various reasons. They
    19      A Yes, I do.                                      19   could have -- could have been a shift on our
    20      Q -- that Masters Pharmaceutical sent to          20   product being on a source program or not being on
    21   Florida in 2010? How many bottles was that?          21   a source program.
    22        MR. DAVISON: Objection to form.                 22   BY MR. LOESER:
    23      A 238,171.                                        23      Q And what does that mean?
    24   BY MR. LOESER:                                       24      A Meaning, if you have -- works like a
    25      Q Okay. Keep going down.                          25   medical formulary, if you're familiar with that.
                                                  Page 135                                                        Page 137
     1      A OptiSource.                                      1 A wholesaler has a list of products, and since
     2      Q All right. How many bottles did                  2 there's more than one competitor, one manufacturer
     3   OptiSource send to Florida?                           3 of a product, Mallinckrodt may have a primary
     4      A 152,923.                                         4 position. We may have been awarded a primary
     5        MR. DAVISON: Objection.                          5 position on that product, which would increase
     6      Q So in 2010, OptiSource sent 152,923              6 your sales, rather than a secondary position.
     7   bottles of oxycodone into the state of Florida?       7 Being preferred source -- preferred source, that's
     8        MR. DAVISON: Objection to form.                  8 what that means, that when a pharmacy goes to
     9      A Correct.                                         9 order their product, they will be sent the primary
    10   BY MR. LOESER:                                       10 A source product.
    11      Q Any other clients of yours on this list?        11     Q Okay. And do you recall whether Cardinal
    12      A No. Premier Group may have been my              12 was picking up volume as other regional wholesale
    13   account at that time.                                13 distributors were slowing down their sales to
    14      Q Do you know, for each of the clients of         14 Florida in 2011?
    15   yours that you identified, what portion of their     15       MR. DAVISON: Objection to form.
    16   total purchases of oxycodone from you were sent to   16      A I don't recall.
    17   Florida?                                             17       (Whereupon, Exhibit Mallinckrodt-Becker-
    18      A No, I don't.                                    18   011 was marked for identification by the
    19      Q Is that information that you could have         19   reporter.)
    20   obtained, had you asked for it?                      20       THE REPORTER: Number 11.
    21        MR. DAVISON: Objection to form.                 21   BY MR. LOESER:
    22      A Possibly, yes.                                  22      Q You have in front of you what's been
    23   BY MR. LOESER:                                       23   marked Exhibit 11, Bates number MNK-T1_0004888161.
    24      Q Just before we leave that exhibit, if you       24   While you're looking at that, this is an e-mail
    25   go up to the Cardinal Preferred Source A, that was   25   from Bonnie New, dated 6/16/2011, sent to you,

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     1   among others. The subject, "Oxycotin Article from     1      A I don't recall if I responded to her, but
     2   St. Louis Post Dispatch," with the attachment         2   we were, as a group, looking for why there was
     3   "6-16-11Oxycotin PD Article.rtf"; do you see that?    3   such an increase in oxy sales.
     4      A Yes.                                             4      Q Okay.
     5      Q And Bonnie New was one of the other              5      A This was one of the main reasons why there
     6   national account managers?                            6   was.
     7      A Correct.                                         7      Q And you were aware of that, at least as of
     8      Q And her e-mail states, "Hello, Interesting       8   6/16/2011?
     9   read. I think it supports our suspicions in           9       MR. DAVISON: Objection to form.
    10   regard to the increased usage of the Oxy 30mg"; do   10      A Evidently.
    11   you see that?                                        11   BY MR. LOESER:
    12      A Yes.                                            12      Q And did you -- this refers to "our
    13      Q Let's turn and look at that article.            13   suspicions," so I gather that's a suspicion that
    14      A Mm-hmm (affirmative).                           14   she shared with you?
    15      Q Do you remember receiving this e-mail?          15       MR. DAVISON: Objection to form.
    16      A I don't specifically remember getting it.       16      A Correct.
    17      Q But you don't have any reason to think          17   BY MR. LOESER:
    18   that it wasn't sent to you?                          18      Q And you had the same suspicion?
    19      A It was sent.                                    19      A After reading the article, yes.
    20      Q So if you look at that article on the next      20       MR. DAVISON: Objection.
    21   page, the title is "New oxycontin form is said to    21   BY MR. LOESER:
    22   curb abuse"; do you see that?                        22      Q So as of June 16, 2011, you knew that the
    23      A Mm-hmm (affirmative).                           23   increased demand was due to the fact that
    24      Q And this is from the "New York Times"?          24   OxyContin had been reformulated, and you knew that
    25      A Mm-hmm (affirmative).                           25   your clients were purchasing significant volumes

                                                  Page 139                                                       Page 141
     1      Q And if you move down a few paragraphs, the       1   of oxy 30, right?
     2   article states, "Purdue Pharma, the maker of          2        MR. DAVISON: Objection to form.
     3   oxyContin, may have succeeded in reducing elicit      3      A I knew that oxy 30 was being purchased.
     4   demand for its reformulated drug. But in several      4   BY MR. LOESER:
     5   dozen interviews over the last few months, drug       5      Q So did you raise any concerns with anyone
     6   abuse experts, law enforcement officials and          6   at Mallinckrodt about how maybe it would have been
     7   addicts said the reformulation had only driven up     7   a good idea to decrease the sale of oxy 30 at that
     8   interest for other narcotics. Demand appears          8   time?
     9   especially high for pure oxycodone that can come      9        MR. DAVISON: Objection.
    10   in 30-milligram pills." And then down at the end     10      A I may have. I don't recall.
    11   of the article, it states, "'It's just a matter of   11   BY MR. LOESER:
    12   switching,' said John Burke, commander of the drug   12      Q Why do you think you may have?
    13   task force in Warren County, Ohio, and president     13      A I just may have. I don't recall -- with
    14   of the National Association of Drug Diversion        14   the nature of the article and the monitoring and
    15   Investigators."                                      15   things that were going on, I'm sure it was a
    16         Do you see that?                               16   subject that was brought up many times.
    17      A Mm-hmm (affirmative).                           17      Q That would be a real concern, wouldn't it,
    18      Q So do you remember having suspicions about      18   if oxycodone manufactured by Mallinckrodt was --
    19   the increased usage of oxy 30 in June of 2011?       19   there was spiking demand because of the interest
    20        MR. DAVISON: Objection to form.                 20   of people who were addicted?
    21      A I don't recall the specific date, but I         21        MR. DAVISON: Objection to form.
    22   recall this article.                                 22      A It would be a concern.
    23   BY MR. LOESER:                                       23   BY MR. LOESER:
    24      Q And did you respond to Ms. New about the        24      Q So if you had raised that with anyone, how
    25   suspicions?                                          25   would you have done that?

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     1        MR. DAVISON: Objection to form.                  1   there is "Performance regained senior management
     2      A Communicated with -- over the telephone.         2   confidence." Do you know what that was about?
     3   I don't know if I -- I don't recall any e-mails       3      A I have no idea what that actually means.
     4   that I may have sent.                                 4   You'd have to ask the person that wrote it.
     5   BY MR. LOESER:                                        5      Q And the bar at the bottom says, "On behalf
     6      Q And why over the telephone and not e-mail?       6   of Covidien & Pharmaceutical Sector Senior
     7        MR. DAVISON: Objection.                          7   Management, Thank You!" So if look at those
     8      A I don't know. I don't know.                      8   bullet points, it sounds like 2011 was a
     9   BY MR. LOESER:                                        9   successful year for Mallinckrodt?
    10      Q Do you have any specific recollection of        10        MR. DAVISON: Objection to form.
    11   raising this suspicion with anyone at                11      A It could have been. I don't recall.
    12   Mallinckrodt?                                        12   BY MR. LOESER:
    13      A No.                                             13      Q If you turn to the page that has the
    14        (Whereupon, Exhibit Mallinckrodt-Becker-        14   heading "Specialty Generic Product Families" --
    15   012 was marked for identification by the             15      A Yes, sir.
    16   reporter.)                                           16      Q -- do you see that?
    17        THE REPORTER: Number 12.                        17      A Yes.
    18   BY MR. LOESER:                                       18      Q There's a list of controlled substances
    19      Q You have in front of you what's been            19   here; do you see that?
    20   marked Exhibit 12. The document cover sheet          20      A Yes.
    21   indicates the document was produced in Native        21      Q And for each one, there's an indication of
    22   Format, and it attaches a PowerPoint presentation.   22   the specialty generic product family; do you see
    23   The presentation does not have Bates numbers         23   that?
    24   because of the Native Format. The front cover        24      A Mm-hmm (affirmative).
    25   e-mail Bates number is MNK-T1_0002450579.            25      Q And it indicates the "Generic Equivalent
                                                 Page 143                                                 Page 145
     1         And if you look at this presentation, the       1   of," and it lists what each of these is the
     2   title is "Specialty Generics National Sales           2   generic equivalent of; do you see that?
     3   Meeting," "November 9, 2011."                         3      A Yes.
     4         And did you have a national sales meeting       4      Q And then the next column says, "Covidien
     5   every year?                                           5   Ranking August 11," so that's ranking among your
     6       A Usually, yes.                                   6   competitors where the -- where your sales stand;
     7       Q And this says "COVIDIEN" at the top.            7   is that right?
     8       A Mm-hmm (affirmative).                           8        MR. DAVISON: Objection to form.
     9       Q Is that the same as Mallinckrodt?               9      A I would imagine that's the market share
    10         MR. DAVISON: Objection to form.                10   data.
    11       A Covidien was the parent company of             11   BY MR. LOESER:
    12   Mallinckrodt.                                        12      Q And in fact, the next column says,
    13   BY MR. LOESER:                                       13   "Covidien Market Share August 11"; do you see
    14       Q Okay. Do you recall the 2011 National          14   that?
    15   Sales Meeting?                                       15      A Mm-hmm (affirmative).
    16       A Not the specifics of it.                       16      Q And then it goes on. It has "Covidien Net
    17       Q Let's turn the page --                         17   Sales" and other indications; do you see that?
    18       A Mm-hmm (affirmative).                          18      A Yes.
    19       Q -- and the heading on that page says, What     19      Q So if you look at Oxycodone IR --
    20   You Accomplished In FY11." Is that full year 11      20      A Mm-hmm (affirmative).
    21   or what is that for?                                 21      Q -- which is the generic equivalent of
    22       A Fiscal year.                                   22   Roxicodone, right?
    23         MR. DAVISON: Objection.                        23      A Mm-hmm (affirmative).
    24   BY MR. LOESER:                                       24      Q This is shows that Covidien's ranking is
    25       Q Fiscal year 11. And the last item on           25   number 1 out of 4; right? Do you see that?

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     1         MR. DAVISON: Objection to form.                 1   sold in the United States, during the fiscal
     2   BY MR. LOESER:                                        2   year 2011, was sold by Mallinckrodt?
     3      Q Do you see that?                                 3        MR. DAVISON: Objection to form.
     4      A I believe so, yes.                               4      A Correct, according to this and what the
     5      Q Okay. And if you look at "Covidien Market        5   product managers put together.
     6   Share August 11," Covidien/Mallinckrodt had 51        6   BY MR. LOESER:
     7   percent of the market share of Oxycodone IR.          7      Q Okay. So if you go to the next page,
     8      A Mm-hmm (affirmative).                            8   second bullet item says, "Sales forces - everyone
     9      Q Does that sound right to you?                    9   was in the money," most between 100 to 115
    10         MR. DAVISON: Objection to form.                10   percent. What does that mean?
    11      A You would have to ask the person that made      11        MR. DAVISON: Objection to form.
    12   this.                                                12      A I would imagine that must have something
    13   BY MR. LOESER:                                       13   to do with quota.
    14      Q Do you recall having conversations about        14   BY MR. LOESER:
    15   Mallinckrodt's market share for the different        15      Q So everyone -- the sales force, that
    16   generic products that it sold?                       16   includes you, right?
    17      A It would be discussed at various sales          17      A Correct.
    18   meetings, put together by product managers. You'd    18      Q So the sales force was, everyone's in the
    19   have to ask them that information.                   19   money, everyone was selling well?
    20      Q But what this suggests is that as of            20        MR. DAVISON: Objection to form.
    21   August 11th, at any rate, 51 percent of all of the   21      A Obviously. Correct.
    22   oxycodone IR sold in the United States was sold by   22   BY MR. LOESER:
    23   Mallinckrodt?                                        23      Q Okay. Let's go back up and look at the
    24      A Correct.                                        24   chart we were looking at a minute ago, and if you
    25         MR. DAVISON: Objection to form.                25   look at "Covidien Net Sales" --
                                                  Page 147                                                 Page 149
     1   BY MR. LOESER:                                        1      A Yep.
     2      Q And if you move down this list, for              2      Q Okay. So fiscal year 2011, the top
     3   oxycodone APAP, how did you say that?                 3   selling product among all of Mallinckrodt's
     4      A APAP.                                            4   products, in terms of net sales, was hydrocodone
     5      Q APAP, which is the generic equivalent            5   APAP at 104.7 million; do you see that?
     6   Percocet, this shows that the Covidien market         6         MR. DAVISON: Objection to form.
     7   share as of August 11 was 37 percent?                 7      A Mm-hmm (affirmative).
     8       MR. DAVISON: Objection to form.                   8   BY MR. LOESER:
     9      A Mm-hmm (affirmative).                            9      Q And that's an increase of volume, if you
    10   BY MR. LOESER:                                       10   go further down, from 2010 to 2011?
    11      Q So 37 percent of all of the oxycodone APAP      11      A Mm-hmm (affirmative).
    12   sold, as of August 11th, was sold by Mallinckrodt?   12      Q And the second item, the second seller for
    13       MR. DAVISON: Objection to form.                  13   Mallinckrodt, fiscal year 2011, was oxycodone IR
    14      A According to this, yes.                         14   at 75.1 million; do you see that?
    15   BY MR. LOESER:                                       15      A Mm-hmm (affirmative).
    16      Q And if you go down much farther to              16         MR. DAVISON: Objection to form.
    17   "Hydromorphone," which is the generic equivalent     17   BY MR. LOESER:
    18   of Dilaudid, Covidien ranking, 1 out of 4?           18      Q And below that, oxycodone APAP at 56.6
    19      A Mm-hmm (affirmative).                           19   million.
    20      Q And Covidien, which again, Mallinckrodt's       20      A Mm-hmm (affirmative).
    21   market share there is 67 percent?                    21         MR. DAVISON: Objection.
    22      A Mm-hmm (affirmative).                           22   BY MR. LOESER:
    23       MR. DAVISON: Objection to form.                  23      Q So those were the top selling -- this
    24   BY MR. LOESER:                                       24   lists the top-selling Mallinckrodt products in
    25      Q So 67 percent all of the hydromorphone          25   fiscal year 2011?

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     1      A I believe so.                                    1       Q So when you look at this November -- this
     2        MR. DAVISON: Objection to form.                  2   is towards the end of 2011, November 9, 2011,
     3   BY MR. LOESER:                                        3   sales meeting that talks about upbeat performance
     4      Q So when there's articles that discuss            4   and sales being in the money, there's no reference
     5   explosive sales of oxycodone, for example, in this    5   anywhere to anyone being reprimanded for selling
     6   time period, you know from this that 51 percent of    6   controlled substances to wholesale distributors
     7   all those sales are by Mallinckrodt?                  7   whose licenses were suspended by the DEA; is that
     8        MR. DAVISON: Objection to form.                  8   right?
     9      A I didn't look at it that way, but based on       9        MR. DAVISON: Objection to form.
    10   market share, it could be construed that way.        10       A I don't have a copy of what you're looking
    11   BY MR. LOESER:                                       11   at.
    12      Q That would be an accurate statement,            12   BY MR. LOESER:
    13   right?                                               13       Q This is the exhibit we were just going
    14        MR. DAVISON: Objection to form.                 14   through. Do you see any reference, anywhere in
    15      A I'm not certain it's an accurate                15   that exhibit, to anyone being reprimanded for
    16   statement. I didn't put this together.               16   selling controlled substances to wholesale
    17   BY MR. LOESER:                                       17   distributors whose licenses were suspended by the
    18      Q Okay. But assuming that the information         18   DEA that year?
    19   in this table is accurate, it would be accurate to   19        MR. DAVISON: Objection to form.
    20   say that --                                          20       A I don't see that I have the same document
    21      A If you poured it through a funnel, that         21   you have. Is this the page that you're looking at
    22   would be an accurate statement.                      22   (indicating)?
    23      Q So if you're looking for the source of all      23   BY MR. LOESER:
    24   of the oxycodone in the United States, Oxycodone     24       Q I believe it's the same document.
    25   IR, as of August 2011, you know that 51 percent of   25       A Okay.
                                                  Page 151                                                  Page 153
     1   it was sold by Mallinckrodt?                          1     Q Just flip through the whole document --
     2       MR. DAVISON: Objection to form.                   2     A Okay. It's this back page. Okay.
     3      A According to this, yes.                          3     Q Have you seen any reference in there?
     4   BY MR. LOESER:                                        4     A Could you repeat the question?
     5      Q Okay.                                            5     Q Is there any reference anywhere in this
     6       MR. DAVISON: We've been going another             6   PowerPoint presentation about Mallinckrodt's
     7   hour. Is now a good time for a break?                 7   successful full year 2011 about anyone being
     8       MR. LOESER: Let me ask a few more                 8   reprimanded for selling controlled substances to
     9   questions about this exhibit, and then yes.           9   wholesale distributors whose licenses were
    10       MR. DAVISON: I'm sorry. I thought you            10   suspended by the DEA?
    11   were finished with it.                               11        MR. DAVISON: Objection to form.
    12   BY MR. LOESER:                                       12     A No, not that I see.
    13      Q Now, you're aware that in 2011 several of       13   BY MR. LOESER:
    14   Mallinckrodt's major wholesale distributor clients   14     Q And do you recall whether your senior
    15   had their licenses to sell controlled substances     15   management -- and there's a thing here, it says,
    16   suspended by the DEA?                                16   "On behalf of Covidien & Pharmaceutical Sector
    17       MR. DAVISON: Objection to form.                  17   Senior Management, Thank You," on page 2.
    18      A I recall that, but I don't recall specific      18     A Mm-hmm (affirmative).
    19   dates.                                               19     Q Do you recall anyone from senior
    20   BY MR. LOESER:                                       20   management raising, as an issue, the problem of
    21      Q Okay. But do you recall that it was             21   Mallinckrodt selling controlled substances to
    22   in 2011?                                             22   wholesale distributors whose licenses were
    23      A I don't recall the date, as I just stated.      23   suspended by the DEA --
    24       MR. DAVISON: Objection to form.                  24        MR. DAVISON: Objection.
    25   BY MR. LOESER:                                       25   BY MR. LOESER:

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     1      Q -- during this sales meeting?                    1        MR. DAVISON: Objection to form.
     2        MR. DAVISON: Objection.                          2      A It's a transaction record.
     3      A Not that I recall.                               3   BY MR. LOESER:
     4        MR. LOESER: Now is a fine time to take a         4      Q And I want to make sure I understand in
     5   break.                                                5   terms of the timing. Mallinckrodt sets a price
     6        MR. DAVISON: Okay.                               6   with its wholesale distributor, that's the first
     7        THE VIDEOGRAPHER: We are going off the           7   transaction, and then the wholesale distributor
     8   record. The time is 11:47 a.m.                        8   sets a price with the downstream customer. Is
     9        (A recess was taken from 11:47 a.m. until        9   that a transaction that happens after that?
    10   12:02 p.m.)                                          10        MR. DAVISON: Objection to form.
    11        THE VIDEOGRAPHER: We are back on the            11      A Could you repeat that?
    12   record. The time is 12:02 p.m.                       12   BY MR. LOESER:
    13   BY MR. LOESER:                                       13      Q Yeah. I just want to try to understand
    14      Q Mr. Becker, are you familiar with what a        14   when a chargeback is required. So -- well, let me
    15   chargeback is?                                       15   just ask you that way. When does a wholesale
    16      A Yes.                                            16   distributor get a chargeback payment from
    17      Q Can you please explain to me what a             17   Mallinckrodt?
    18   chargeback is?                                       18      A When they submit the chargeback data.
    19      A Chargeback is a form of recording sales         19      Q Okay. And a chargeback is required when
    20   transactions where a product is sold into the        20   the downstream customer purchases the drug from
    21   wholesaler at one cost, sold to the end user at      21   the wholesale distributor --
    22   another cost, and it's a difference between the      22      A Correct.
    23   two that -- it's paid back, and to the wholesaler,   23      Q -- at a price that's lower than what the
    24   is the best I can explain.                           24   wholesale distributor paid Mallinckrodt for the
    25      Q And so when the end user -- and by that, I      25   product?
                                                  Page 155                                                  Page 157
     1   think you mean indirect customer?                     1      A Correct.
     2      A Correct.                                         2        MR. DAVISON: Objection to form.
     3      Q Same thing. Who negotiates the price with        3   BY MR. LOESER:
     4   the end user where a chargeback is required?          4      Q And the downstream customers that -- for
     5      A If it's a independent drugstore, is that         5   these chargeback transactions can be pharmacies;
     6   what you're referring to?                             6   is that correct?
     7      Q Right.                                           7      A Correct.
     8      A Independent drugstore, that would be up to       8      Q And can they be pain clinics?
     9   the distributor or the wholesaler that would set      9      A Possibly, if they have a pharmacy license,
    10   the prices.                                          10   DEA license to sell product, a pain clinic can --
    11      Q And are there circumstances where               11   can be a pharmacy.
    12   Mallinckrodt is negotiating directly with the        12      Q And then the data about the transaction,
    13   indirect customer?                                   13   the sale from the distributor to the downstream
    14      A No.                                             14   customer, that data is reported to Mallinckrodt by
    15      Q And do chargebacks provide an incentive to      15   the wholesale distributor; is that correct?
    16   Mallinckrodt's distributor clients to sell           16      A Correct.
    17   Mallinckrodt drugs?                                  17      Q And that data is, then, collected into
    18      A No.                                             18   what's referred to as the chargeback system?
    19        MR. DAVISON: Objection to form.                 19      A I believe so.
    20   BY MR. LOESER:                                       20      Q And was Mallinckrodt able to exercise
    21      Q But they do prevent Mallinckrodt's              21   control over who its downstream customers were
    22   wholesale distributor customers from losing money    22   through the chargeback system?
    23   when it sells to a downstream customer at a price    23        MR. DAVISON: Objection to form.
    24   that's lower than the price that the distributor     24   BY MR. LOESER:
    25   purchased from Mallinckrodt?                         25      Q Do you understand what I mean by that?

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     1     A No. You may have to rephrase that                 1   identifying suspicious orders?
     2   question.                                             2      A I'm not certain --
     3     Q So if Mallinckrodt refused to pay a               3        MR. DAVISON: Objection to form.
     4   wholesale distributor a chargeback for a sale to a    4      A -- specifically, what her responsibilities
     5   downstream customer, would that have the effect of    5   are.
     6   causing that wholesale distributor to stop doing      6   BY MR. LOESER:
     7   business with that downstream customer?               7      Q Okay. Why is she the one sending this
     8       MR. DAVISON: Objection to form.                   8   e-mail?
     9     A It could.                                         9        MR. DAVISON: Objection to form.
    10   BY MR. LOESER:                                       10      A Because she's the product manager for this
    11     Q Did you see that happening on occasion?          11   particular product.
    12     A I did.                                           12   BY MR. LOESER:
    13     Q And are you familiar with the reports that       13      Q Okay. And Cedardale, that was one of your
    14   could get generated from the chargeback system?      14   wholesale distributor customers?
    15     A Somewhat.                                        15      A At the time, yes.
    16     Q And did you, on occasion, request                16      Q Okay. So she asks you to investigate, and
    17   chargeback reports?                                  17   if you go to the next page, there's an e-mail from
    18     A Occasionally.                                    18   you, dated July 12, 2010. And you write, "This is
    19     Q And is another term for those an indirect        19   a fairly new account which started ordering CII
    20   match report?                                        20   products in October of 2009." CII is schedule 2
    21     A I'm not familiar with that.                      21   controlled substances?
    22       (Whereupon, Exhibit Mallinckrodt-Becker-         22      A Mm-hmm (affirmative).
    23   013 was marked for identification by the             23      Q That would include, for example,
    24   reporter.)                                           24   oxycodone?
    25       THE REPORTER: Number 13.                         25      A Yes.
                                                  Page 159                                                  Page 161
     1 BY MR. LOESER:                                          1     Q And this continuous, "Their account base
     2      Q You've been handed what's marked               2 is continuing to grow as"--there's a typo, I
     3   Exhibit 13, which is Bates MNK-T1_0000289849. And 3 think--"as the are expanding their business."
     4   while you're reading that, this is an e-mail from   4    A Mm-hmm (affirmative).
     5   Jim Rausch to Karen Harper, dated July 13, 2010,    5    Q "I will speak to Kate directly on running
     6   and it includes a string of e-mails, including one  6 a charge back report to identify the end users";
     7   from yourself to Karen Harper; do you see that?     7 do you see that?
     8      A Mm-hmm (affirmative).                          8    A Mm-hmm (affirmative).
     9      Q And if you flip to the last page -- the        9    Q And then, if you go up above, the next
    10   second to the last page, there's an e-mail from    10 e-mail is from Karen Harper to Jim Rausch, cc'd to
    11   Kate Muhlenkamp to you, dated July 9, 2010. Do     11 you, states, "Jim, I agree that we should review
    12   you see that, with the Subject, "Cedardale         12 the chargeback data." "Steve, Have you requested
    13   Distribution - order"?                             13 the info from Kate?"
    14      A Yes.                                          14      Do you see that?
    15      Q And this e-mail states, "Steve, Per Jim's     15    A Mm-hmm (affirmative).
    16   question below, could you please investigate the   16    Q And then the string continues, there's an
    17   increase in usage at Cedardale and let us know     17 e-mail July 12, 2010, from you to Karen Harper,
    18   what you find out?"                                18 and you say, "Yes." And then you go to the top,
    19      A Mm-hmm (affirmative).                         19 and that's Karen Harper to Jim Rausch, and that
    20      Q Is this an example of an order being          20 e-mail on July 13, 2010, starts, "Steve requested
    21   flagged by the compliance department for you to    21 the chargeback report from Kate."
    22   follow up on?                                      22      Do you see that?
    23      A Yes, it was flagged by Kate Muhlenkamp.       23    A Mm-hmm (affirmative).
    24   That -- it's her product line.                     24    Q So this is an example of you investigating
    25      Q Okay. And what's her responsibility for       25 a potentially suspicious downstream order by

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     1   asking for a chargeback report to be prepared; is        1     A Yes.
     2   that correct?                                            2     Q Do you recall offering this to Mike
     3        MR. DAVISON: Objection to form.                     3   Cappock?
     4      A Not investigating a downstream order. I'm           4     A Not specifically, no.
     5   investigate -- I was asked to investigate why this       5     Q And then do you see your response on the
     6   account had -- order was as high as it is.               6   chain, from you to Mike Cappock, May 31st, 2011?
     7   BY MR. LOESER:                                           7   "Will do and I hope to have an update by
     8      Q So yes, the question came in, why is                8   Thursday"?
     9   Cedardale increasing the amount that they're             9     A Yes.
    10   ordering, and you investigated that by asking for       10     Q Okay. And then, if you flip to the first
    11   a chargeback report?                                    11   page, there's an e-mail from you to Sandi Ivancho.
    12      A Correct.                                           12   Who is Sandi Ivancho?
    13      Q And the chargeback report would show you           13     A She was sales analysis person at
    14   not just the Cedardale order from Mallinckrodt,         14   Mallinckrodt.
    15   but the downstream customer to which Cedardale was      15     Q Okay. And then you see your e-mail. You
    16   selling those bottles of pills, right?                  16   write, "Dear Sandi, Please run charge back report
    17        MR. DAVISON: Objection to form.                    17   on the account below, to check Mallinckrodt" -- it
    18      A Rephrase the -- could you restate the              18   looks like "C-II purchases for a customer with
    19   question, please?                                       19   Quest Pharmaceutical."
    20   BY MR. LOESER:                                          20     A Mm-hmm (affirmative).
    21      Q When you asked for the chargeback report,          21     Q So here -- and Quest Pharmaceuticals is
    22   what you would get is a record of the transaction       22   one of your wholesale distributor clients?
    23   where Cedardale was making a sale to a downstream       23     A Yeah. They're part of a distributor
    24   customer and ordering pills from Mallinckrodt to        24   buying group named Premiere.
    25   fulfill that sale, right?                               25     Q Okay. And so you apparently had offered
                                                      Page 163                                                      Page 165
     1      A Correct.                                            1   Mr. Cappock, at Quest Pharmaceuticals, to check up
     2        MR. DAVISON: Objection to form.                     2   on what looks like a downstream sale, by him, to
     3        (Whereupon, Exhibit Mallinckrodt-Becker-            3   one of his customers; is that right?
     4   014 was marked for identification by the                 4      A Yes.
     5   reporter.)                                               5      Q And in order to do that, you asked for a
     6        THE REPORTER: Number 14.                            6   chargeback report, right?
     7   BY MR. LOESER:                                           7      A Correct.
     8      Q You've been handed what's marked                    8      Q And then, in the top of the chain,
     9   Exhibit 14, MNK-T1_0004254158. This is an e-mail         9   Ms. Ivancho sent you the chargeback report, right?
    10   from Sandi Ivancho to you, dated June 1st, 2011,        10      A Correct.
    11   and it attaches a string of e-mails; is that            11      Q So again, this chargeback report here
    12   accurate?                                               12   contained information showing not just the
    13      A Mm-hmm (affirmative).                              13   wholesale distributor transaction, the fact that
    14      Q And if you go to the last page of the              14   Quest Pharmaceuticals was buying schedule II
    15   exhibit, there's an e-mail from Mike Cappock of         15   controlled substances from Mallinckrodt, but also
    16   Quest Pharmaceuticals --                                16   the transaction downstream where Quest
    17      A Mm-hmm (affirmative).                              17   Pharmaceuticals was selling the product to one of
    18      Q -- to you, dated May 31st, 2001; do you            18   its customers, the indirect customer?
    19   see that?                                               19      A That's what the data --
    20      A Yes.                                               20        MR. DAVISON: Objection to form.
    21      Q And in his e-mail, he writes, "Steve, We           21      A The data showed -- requested was the
    22   would like to take you up on your offer to check        22   chargeback report for the pharmacy in question.
    23   Mallinckrodt CT1 purchases for one of our               23   BY MR. LOESER:
    24   customers. The customer is Griffin                      24      Q So this isn't a report that was just --
    25   Pharmacy/Montclair"; do you see that?                   25   you know, we've looked at other reports that other

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     1   people generated. This is one where you, in                1   presented to you for all of the transactions
     2   fact -- you knew how to ask to have a chargeback           2   involving Harvard Drug, for example?
     3   report run in order to examine downstream customer         3        MR. DAVISON: Objection to form.
     4   sales?                                                     4      A I guess I could -- could have, but I...
     5        MR. DAVISON: Objection to form.                       5   BY MR. LOESER:
     6      A Correct.                                              6      Q Okay. I want to walk through this -- this
     7   BY MR. LOESER:                                             7   report, and just to be clear, this is a document
     8      Q And on occasion, you did ask?                         8   that we created from the Native File produced by
     9      A Yes.                                                  9   Mallinckrodt. And in what we created, we captured
    10      Q I'm handing you what's been marked Borelli           10   all of the fields that were included in the
    11   Exhibit 11.                                               11   Mallinckrodt chargeback data, and I want to walk
    12      A Okay.                                                12   through these fields with you and have you tell me
    13      Q And this exhibit, at the top, has a Bates            13   what they are, if you know.
    14   stamp, which is MNK-T1_0000264292, and for the            14      A Okay.
    15   record, this is a report that we ran from a Native        15      Q So if you look at the first page of the
    16   File produced by Mallinckrodt, which appears to be        16   exhibit, there's a field that says, "Sold Via
    17   chargeback data for Mallinckrodt wholesale                17   Child" number, and there's a number.
    18   distributor customer Harvard Drug. Now, you               18      A Mm-hmm (affirmative).
    19   understand that from the chargeback system, you           19      Q Is it your understanding that that number
    20   could ask for particular reports to be run?               20   is associated with the entity in the next column,
    21      A By DEA number.                                       21   "Sold Via Child Customer Name"?
    22      Q Right. And you could sort on any number              22        MR. DAVISON: Objection to form.
    23   of different fields that's included within the            23   BY MR. LOESER:
    24   system, including the identity of the wholesale           24      Q Had you seen that terminology where --
    25   distributor?                                              25      A Child --
                                                      Page 167                                                        Page 169
     1        MR. DAVISON: Objection to form.                       1      Q -- a wholesale distributor is referred to
     2      A Right.                                                2   as the child?
     3   BY MR. LOESER:                                             3         MR. DAVISON: Objection.
     4      Q So you could ask the folks responsible for            4      A Harvard Drug, on this report, would be
     5   generating these reports, and who was that? Who            5   considered a parent. The account purchasing the
     6   at Mallinckrodt actually ran the chargeback                6   product would be considered a child. That would
     7   reports?                                                   7   be the indirect customer.
     8      A Sandi may have, but I put my requests,                8   BY MR. LOESER:
     9   usually, through a product manager or through              9      Q Okay. Well, it looks here, where it says,
    10   Karen Harper.                                             10   "Sold Via Child Customer Name," the name listed is
    11      Q So Kate Muhlenkamp, product manager?                 11   "Harvard Drug," and then -- do you see that?
    12      A Could have been, or I put the request in             12      A Mm-hmm (affirmative).
    13   through -- directly to Sandi.                             13      Q And then, if you look farther down the
    14      Q And so you could ask, as we saw in the               14   list, it says, "Ship To Customer Name," and it has
    15   last e-mail, please sort on this particular               15   names there. So the customer name appears to be
    16   downstream, this wholesale distributor on this            16   the downstream customer. The first name, Harvard
    17   transaction to a particular customer, you could           17   Drug, appears to be the wholesale distributor; is
    18   sort that way and identify that information?              18   that right?
    19        MR. DAVISON: Objection to form.                      19         MR. DAVISON: Objection to form.
    20      A By DEA number.                                       20      A That's right.
    21   BY MR. LOESER:                                            21   BY MR. LOESER:
    22      Q Right. DEA number of the downstream                  22      Q Okay. So then you have "Sold Via Child
    23   customer?                                                 23   Address," and you see there's an address. That's
    24      A Correct.                                             24   the address for the wholesale distributor --
    25      Q And you could also ask to have data                  25      A Correct.

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                                                      Page 170                                                       Page 172
     1      Q -- do you see that? And then address                 1        MR. DAVISON: Objection to form.
     2   continues, Lavonia, Michigan. That's where                2      A I haven't seen this report before, so I
     3   Harvard Drug was located, right?                          3   would have to agree.
     4      A I believe so, yes.                                   4   BY MR. LOESER:
     5      Q Then there's a postal code, and then                 5      Q And then there's an "Invoice Date"?
     6   there's a customer number. Now, that's the number         6      A Mm-hmm (affirmative).
     7   associated with the downstream customer; is that          7      Q "Gross Sales"?
     8   right?                                                    8      A Mm-hmm (affirmative).
     9        MR. DAVISON: Objection to form.                      9      Q "Charge backs" and "Net Sales"; do you see
    10   BY MR. LOESER:                                           10   that?
    11      Q In this case, Barry Schultz?                        11      A Mm-hmm (affirmative).
    12        MR. DAVISON: Same objection.                        12      Q So all of that information about, first,
    13      A "Ship To Customer," that, most likely, is           13   the wholesale distributor, name, address, state,
    14   the Harvard Drug customer number for that account.       14   then about the downstream customer, DEA number,
    15   BY MR. LOESER:                                           15   name, address, state, drug type, order number,
    16      Q For that account, okay, so for                      16   invoice date, gross sales, chargeback, all of that
    17   Mr. Schultz's -- Dr. Schultz's account. And then         17   is collected in the chargeback system --
    18   you have a "Ship To Customer Address." That's the        18        MR. DAVISON: Objection to form.
    19   address of the downstream customer.                      19   BY MR. LOESER:
    20        And if you continue to the next page, that          20      Q -- for each transaction?
    21   continues, and it shows an address, a suite, and a       21      A It appears to be.
    22   city in Deerfield Beach, Florida. And again,             22      Q Okay. And that kind of information is
    23   that's all the address for what, on here, is             23   consistent with the information you saw in the
    24   referred to as the customer, but is the downstream       24   chargeback reports that you yourself requested,
    25   customer of Harvard Drug; is that correct?               25   right?
                                                       Page 171                                                        Page 173
     1        MR. DAVISON: Objection to form.                      1        MR. DAVISON: Objection to form.
     2       A It appears that way.                                2      A I believe so.
     3   BY MR. LOESER:                                            3   BY MR. LOESER:
     4       Q Okay. And then it continuous down, you              4      Q And those reports also indicated the
     5   see "Ship To Customer State," it says Florida.            5   quantity of the drug that was purchased. It
     6   "Ship To Customer Postal Code," and then the --           6   wasn't just the type, but it also indicated the
     7   there's a DEA number, and that DEA number is              7   quantity the downstream customer was purchasing?
     8   associated with the downstream customer; is that          8        MR. DAVISON: Objection to form.
     9   right?                                                    9      A That's correct.
    10       A That's correct.                                    10   BY MR. LOESER:
    11        MR. DAVISON: Objection to form.                     11      Q Okay. And so for this document, we sorted
    12   BY MR. LOESER:                                           12   on Dr. Schultz, but this is not -- as we saw from
    13       Q Okay. Then there's a "Product Number," a           13   your own request for a chargeback report, you
    14   "SKU," and does every Mallinckrodt product have a        14   could sort on any downstream customer and come up
    15   unique SKU number?                                       15   with data on the sale, by the wholesale
    16       A Yes.                                               16   distributor, to that downstream customer; is that
    17       Q Okay. So that's the number for oxycodone           17   right?
    18   HCL 15 milligram?                                        18        MR. DAVISON: Objection to form.
    19       A Evidently, yes.                                    19      A Correct.
    20       Q And then you have a "Product Description,"         20   BY MR. LOESER:
    21   and that's the description of the drug, right?           21      Q And that's for dispensing physicians,
    22       A Mm-hmm (affirmative).                              22   right, when they're a downstream customer?
    23       Q And then there's an order number. I take           23        MR. DAVISON: Objection to form.
    24   it that's the specific downstream order number           24      A If they were sold to -- by a wholesaler to
    25   from Harvard to Dr. Schultz?                             25   a dispensing doctor.

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     1   BY MR. LOESER:                                           1       A I would correct it, if I was notified on
     2      Q Okay. And that would be true for pain               2   it.
     3   clinics as well?                                         3   BY MR. LOESER:
     4        MR. DAVISON: Objection to form.                     4       Q And would you agree with me that based
     5      A If they're ordering the product through             5   upon the information in the chargeback system,
     6   the distributor and they have a DEA license and a        6   Mallinckrodt had detailed information about the
     7   pharmacy license, I would presume so.                    7   downstream customer sales?
     8   BY MR. LOESER:                                           8        MR. DAVISON: Objection to form.
     9      Q And that's the same for pharmacies as               9       A Our product monitoring people had that
    10   well, right?                                            10   information.
    11      A Correct.                                           11   BY MR. LOESER:
    12        MR. DAVISON: Objection to form.                    12       Q Okay. And that was just as true for
    13   BY MR. LOESER:                                          13   pharmacies, as it was for dispensing physicians,
    14      Q So there's nothing terribly unique about           14   as it was for pain clinics?
    15   Dr. Schultz's example? He's just one example of         15        MR. DAVISON: Objection to form.
    16   the types of downstream customers that -- for           16       A I'm not that familiar on dispensing
    17   which Mallinckrodt collected data about downstream      17   physicians, because we did not -- we didn't sell
    18   sales?                                                  18   to physicians on a direct basis. So any purchases
    19        MR. DAVISON: Objection to form.                    19   that the physicians have that may show up on a
    20      A We did everything by chargeback, so this           20   chargeback report, their sales were made through
    21   is not an unusual request or report.                    21   the wholesale network and, hopefully, there would
    22   BY MR. LOESER:                                          22   be a chargeback attached to that.
    23      Q And there were no sales that would not be          23   BY MR. LOESER:
    24   recorded in the chargeback system by wholesale          24       Q Right. Just as we saw with Dr. Schultz?
    25   distributors; is that right?                            25       A Correct, yes.
                                                     Page 175                                                 Page 177
     1        MR. DAVISON: Objection to form.                     1      Q He's a dispensing physician, and the
     2     A There could be.                                      2   transactions of his purchases from Harvard --
     3   BY MR. LOESER:                                           3      A Yes.
     4     Q When would there be sales not included               4      Q -- Group are contained in the chargeback
     5   within the data collected in the chargeback              5   system?
     6   system?                                                  6      A Yes.
     7     A If the charge -- if the wholesaler elects            7      Q And the same is true for pharmacies?
     8   not to put it into the chargeback system.                8      A Yes.
     9     Q And when would they do that?                         9      Q And so Mallinckrodt has detailed
    10     A Very seldom, usually by mistake or -- I             10   information about downstream customer sales to
    11   don't know.                                             11   pharmacies --
    12     Q So it was very rare that any sale would             12        MR. DAVISON: Objection --
    13   not be included in the chargeback system?               13   BY MR. LOESER:
    14        MR. DAVISON: Objection to form.                    14      Q -- via the chargeback system?
    15     A I think that's a fair statement.                    15        MR. DAVISON: Objection to form.
    16   BY MR. LOESER:                                          16   BY MR. LOESER:
    17     Q And when it did happen, it was generally a          17      Q And it would not be accurate to say that
    18   mistake?                                                18   Mallinckrodt lacked information about sales to
    19        MR. DAVISON: Objection to form.                    19   downstream customers?
    20     A Generally a mistake or an oversight.                20        MR. DAVISON: Objection.
    21   BY MR. LOESER:                                          21   BY MR. LOESER:
    22     Q And then would that, once found, be                 22      Q Correct?
    23   corrected and information about that sale would         23        MR. DAVISON: Objection to form.
    24   be --                                                   24   BY MR. LOESER:
    25        MR. DAVISON: Objection to form.                    25      Q By its wholesale distributors?

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     1        MR. DAVISON: Objection to form.                     1        MR. DAVISON: Objection to form.
     2     A Repeat the question, because I think --              2      A I believe so.
     3   BY MR. LOESER:                                           3   BY MR. LOESER:
     4     Q It would not be accurate to say that                 4      Q And through the chargeback system, you
     5   Mallinckrodt lacked detailed information --              5   could also tell if a downstream customer was
     6      A They did not lack detailed information.             6   purchasing from multiple different Mallinckrodt
     7     Q -- about sales to downstream customers,              7   wholesale distributor customers?
     8   including pharmacies?                                    8      A Yes.
     9        MR. DAVISON: Objection.                             9      Q And, of course, you could tell whether a
    10     A To the best of my knowledge, I'm not in             10   downstream customer -- you could tell the volume
    11   charge of that. You'd have to ask Karen Harper          11   of purchases by any particular downstream
    12   that question.                                          12   customer, from your wholesale distributor?
    13   BY MR. LOESER:                                          13        MR. DAVISON: Objection to form.
    14     Q But that's your understanding? That would           14      A Yes.
    15   not be an accurate statement?                           15   BY MR. LOESER:
    16        MR. DAVISON: Objection.                            16      Q Do you know when Mallinckrodt started
    17      A Mm-hmm (affirmative).                              17   collecting chargeback data?
    18   BY MR. LOESER:                                          18      A No, I don't.
    19     Q That's a yes?                                       19      Q Do you recall when Mallinckrodt first
    20     A Yes.                                                20   started using chargeback data to evaluate
    21     Q So based upon this chargeback system, do            21   downstream customer sales?
    22   you agree that Mallinckrodt could determine             22      A I don't know, specifically, any time
    23   whether a distributor client ordered a limited          23   lines.
    24   variety of controlled substances while ordering         24      Q Do you know when you first started doing
    25   few of any other types of drugs?                        25   that?
                                                      Page 179                                               Page 181
     1        Does that make sense?                               1      A A chargeback -- using chargeback data?
     2        MR. DAVISON: Objection to form.                     2      Q Right.
     3   BY MR. LOESER:                                           3      A Or knowing that it was collected.
     4      Q From the chargeback system, could                   4      Q Yeah.
     5   Mallinckrodt tell what portion of a wholesale            5      A I didn't totally use the information
     6   distributor's purchases were schedule II narcotics       6   myself, but the companies -- it was part of the
     7   versus noncontrolled substances?                         7   overall system of how people would purchase and
     8        MR. DAVISON: Objection to form.                     8   sell products. It was based on a chargeback
     9      A This is you, talking about an end user              9   report. It was basically an industry standard.
    10   here, not a wholesaler?                                 10      Q So the whole time that you worked for
    11   BY MR. LOESER:                                          11   Mallinckrodt, this data was collected by
    12      Q Yeah, generally speaking. So if you                12   Mallinckrodt?
    13   wanted a chargeback report, and you wanted to see       13        MR. DAVISON: Objection to form.
    14   what portion of your customers' purchases were for      14      A You would have to ask the chargeback
    15   oxycodone, for example, that's something you could      15   people that. I don't know when they started, you
    16   determine through the chargeback system?                16   know -- started on the collection. I don't know.
    17      A You'd have to ask Karen Harper that.               17   I know it's a standard of the industry.
    18        MR. DAVISON: Objection to form.                    18   BY MR. LOESER:
    19   BY MR. LOESER:                                          19      Q Do you generally recall when you first
    20      Q But that's your understanding?                     20   heard the expression "chargeback data"?
    21      A Yes.                                               21      A Back when I was at Schein Pharmaceutical.
    22      Q So you could tell the ratio of controlled          22      Q So it's something you knew about through
    23   substances purchased versus noncontrolled               23   the whole time period --
    24   substances by any one of your wholesale                 24      A Yes.
    25   distributor clients?                                    25      Q -- you worked for Mallinckrodt? Okay.

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     1        Have you ever been interviewed by the DEA        1      Q Now, if Dr. Schultz used a different DEA
     2   in connection with Mallinckrodt --                    2   registration number when he purchased from
     3      A No.                                              3   different wholesale distributors, would that be a
     4      Q You've got to let me finish the question.        4   red flag in your mind for a suspicious order?
     5      A Oh. I thought you were done.                     5        MR. DAVISON: Objection to form.
     6      Q I guess I am.                                    6      A You'd have to ask our suspicious
     7      A I'm sorry.                                       7   monitoring people. I'm not aware of people using
     8      Q So let's go back to this -- this report          8   more than one DEA number.
     9   that we were looking at a minute ago, Borelli         9   BY MR. LOESER:
    10   Exhibit 11, and if you look at this sort, we         10      Q And based upon what you know and
    11   sorted on Harvard Drug and Dr. Barry Schultz. Do     11   understand, would that seem to be suspicious for a
    12   you know who Dr. Barry Schultz is?                   12   medical doctor to use different DEA registration
    13      A No.                                             13   numbers when ordering from different wholesale
    14      Q Did you see 60 Minutes a few months ago in      14   distributors?
    15   which he was interviewed from his jail cell?         15        MR. DAVISON: Objection to form.
    16        MR. DAVISON: Objection to form.                 16      A I wouldn't know. I wouldn't know that.
    17      A I saw 60 Minutes. I don't recall his            17   BY MR. LOESER:
    18   name.                                                18      Q Okay. And whether you know it's a red
    19   BY MR. LOESER:                                       19   flag or not, you do agree that DEA registration
    20      Q Okay. Dr. Schultz is currently serving a        20   numbers are recorded in the chargeback system for
    21   157-year sentence for illegal prescribing and        21   downstream customers?
    22   manslaughter. Do you recall seeing that on a 60      22      A Correct.
    23   Minutes episode?                                     23      Q So Mallinckrodt could look and see if
    24        MR. DAVISON: Objection to form.                 24   Dr. Schultz, in fact, used different DEA
    25      A I recall the program. I don't recall the        25   registration numbers when purchasing from
                                                  Page 183                                                       Page 185
     1   specifics.                                            1   different wholesale distributors?
     2   BY MR. LOESER:                                        2        MR. DAVISON: Objection to form.
     3      Q So if you look at this chargeback report         3      A That would be up to the monitoring people.
     4   that we generated, what it shows is that on a         4        MR. DAVISON: Objection to form.
     5   number of instances, Dr. Schultz purchased, if you    5   BY MR. LOESER:
     6   look at the next page, oxy 15 and oxy 30 from         6      Q But they could look and see that, right?
     7   Harvard Drug; do you see that?                        7      A That would be their job.
     8      A Mm-hmm (affirmative).                            8      Q That would be their job to identify red
     9      Q And like you said before, you could also         9   flags like that, right?
    10   tell from the system any other distributor from      10      A Under analysis, I would imagine so, yes.
    11   which Dr. Schultz purchased?                         11      Q Now, if you look at the third column on
    12      A Correct.                                        12   the first page, you see, for this Harvard Drug
    13         MR. DAVISON: Objection to form.                13   report for Dr. Schultz, that each one of these
    14   BY MR. LOESER:                                       14   transactions indicated Dr. Schultz purchased the
    15      Q Right. And are you aware of whether he          15   oxycodone 15 and 30 from Harvard Drug doing
    16   purchased from other distributors as well?           16   business as First Veterinary Supply; do you see
    17      A Not according to this report. It appears        17   that?
    18   that maybe the request on this particular report     18      A Mm-hmm (affirmative).
    19   was only for Harvard Drug.                           19        MR. DAVISON: Objection to form.
    20      Q That's correct. So there are other --           20   BY MR. LOESER:
    21   there are other reports for other distributors,      21      Q Now, you'd agree that it would be
    22   and, in fact, he did purchase from other             22   suspicious for a medical doctor to purchase
    23   distributors as well.                                23   oxycodone 15 and 30 from a company doing business
    24         MR. DAVISON: Objection to form.                24   as First Veterinary Supply?
    25   BY MR. LOESER:                                       25        MR. DAVISON: Objection to form.

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     1      A Could you repeat that, please?                      1   substances from a veterinary supply company?
     2        MR. LOESER: Can we read that back,                  2        MR. DAVISON: Objection to form.
     3   please.                                                  3      A Mm-hmm (affirmative).
     4        (The record was read by the reporter as             4   BY MR. LOESER:
     5   follows:                                                 5      Q Right?
     6        Question: "Now, you'd agree that it would           6      A Yes.
     7   be suspicious for a medical doctor to purchase           7      Q You would think that that would be a rare
     8   oxycodone 15 and 30 from a company doing business        8   occurrence?
     9   as First Veterinary Supply?")                            9        MR. DAVISON: Objection to form.
    10        MR. DAVISON: Objection.                            10      A I would think so.
    11      A I'm not -- not certain on that. I'm not            11        (Whereupon, Exhibit Mallinckrodt-Becker-
    12   familiar with First Veterinary Supply, so I don't       12   015 was marked for identification by the
    13   know if I can answer that question.                     13   reporter.)
    14   BY MR. LOESER:                                          14        THE REPORTER: Number 15.
    15      Q Can you think of any reason why a medical          15   BY MR. LOESER:
    16   doctor would legitimately buy controlled                16      Q While you're looking that over, this is
    17   substances from a veterinary supply company?            17   another report that we prepared from the Native
    18        MR. DAVISON: Objection to form.                    18   File produced by Mallinckrodt, which appears to be
    19      A No, I can't.                                       19   chargeback data for sales to Harvard Drug. The
    20   BY MR. LOESER:                                          20   Native File Bates number is MNK-T1_0000264292.
    21      Q Would you agree with me that the fact that         21        Now, as we discussed, Mr. Becker, it's
    22   this transaction was via First Veterinary Supply        22   possible to sort the information included in the
    23   is a red flag for diversion?                            23   chargeback system, based upon wholesale
    24        MR. DAVISON: Objection to form.                    24   distributor customers, right?
    25      A I'm not an expert at it. You'd have to             25      A I would assume that's correct.
                                                    Page 187                                                      Page 189
     1   ask Karen Harper that.                                   1      Q So the chargeback system would allow a
     2   BY MR. LOESER:                                           2   sort on all transactions involving oxycodone 15
     3      Q I know you're not expert, sir, but Harvard          3   and 30, right? You could sort on that?
     4   Drug was your wholesale distributor customer,            4        MR. DAVISON: Objection to form.
     5   right?                                                   5      A I believe so.
     6      A Part of the time.                                   6   BY MR. LOESER:
     7      Q Okay. And you sold controlled substances            7      Q And you could sort on Harvard Drug Group,
     8   for Mallinckrodt for a number of years, correct?         8   right?
     9      A Correct.                                            9        MR. DAVISON: Objection to form.
    10      Q And would you knowingly allow a medical            10      A On the Harvard Drug Group?
    11   doctor to purchase controlled substances from a         11   BY MR. LOESER:
    12   veterinary supply company?                              12      Q Yes.
    13      A I would not.                                       13      A If we had the request and the data to make
    14       MR. DAVISON: Objection to form.                     14   the -- run the report.
    15   BY MR. LOESER:                                          15      Q So that's what we did, and these are the
    16      Q And why would you not do that?                     16   results of the sort, and if you look through, what
    17      A Because I don't -- I believe it's not              17   this shows is that the Harvard Drug Group had a
    18   right.                                                  18   total of 12,487 transactions doing business as
    19      Q Because it appears to be diversion,                19   First Veterinary Supply.
    20   correct?                                                20      A Mm-hmm (affirmative).
    21       MR. DAVISON: Objection to form.                     21      Q So it wasn't an unusual occurrence at all;
    22      A Correct.                                           22   does that surprise you?
    23   BY MR. LOESER:                                          23        MR. DAVISON: Objection to form.
    24      Q Now, this must be unusual, right, for a            24      A You'd have to ask Harvard Drug that. They
    25   medical doctor to purchase Mallinckrodt controlled      25   had their product monitoring people in place as

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     1   well, and they were the ones that should have         1   doing business as First Veterinary Supply, sold,
     2   looked at that data.                                  2   on 12,487 occasions, oxy 15 and 30, and shipped
     3   BY MR. LOESER:                                        3   92.4 percent of it to downstream customers in
     4      Q Correct. But does that surprise you, that        4   Florida.
     5   there are 12,487 individual transactions in which     5      A According to this, yes.
     6   Harvard Drug sold oxy 15 and 30 as First              6       MR. DAVISON: Objection to form.
     7   Veterinary Supply?                                    7   BY MR. LOESER:
     8        MR. DAVISON: Objection to form.                  8      Q And would you agree with me that that's
     9      A Again, you'd have to ask Harvard Drug. I         9   alarming?
    10   don't look at their numbers and what they sell.      10       MR. DAVISON: Objection to form.
    11   BY MR. LOESER:                                       11      A For First Veterinary, that would be
    12      Q We're looking at this now. Is this              12   alarming -- the name of doing business as a
    13   surprising to you?                                   13   veterinary account, that's alarming.
    14        MR. DAVISON: Objection to form.                 14   BY MR. LOESER:
    15      A For a veterinary clinic, yes.                   15      Q And during the time that Harvard Drug
    16   BY MR. LOESER:                                       16   Group was your client, was your customer, you were
    17      Q It's very surprising that there are 12,487      17   unaware that all of the transactions for oxy 15
    18   transactions in which First Veterinary Supply sold   18   and 30 were via First Veterinary Supply?
    19   oxy 15 and 30, manufactured by Mallinckrodt,         19      A I wasn't aware of it.
    20   correct?                                             20       MR. DAVISON: Objection to form.
    21        MR. DAVISON: Objection to form.                 21   BY MR. LOESER:
    22      A Correct.                                        22      Q And yet, this is information that's in the
    23   BY MR. LOESER:                                       23   chargeback system, right?
    24      Q And if you look further, if you sort on         24       MR. DAVISON: Objection to form.
    25   where all of this oxy 15 and 30 went, at the         25      A Yes.
                                                 Page 191                                                      Page 193
     1   bottom line, it shows that 92.4 percent of the        1   BY MR. LOESER:
     2   12,487 transactions in which First Veterinary         2      Q And we saw that from the report before
     3   Supply sold oxy 15 and 30 to Mallinckrodt             3   that we ran from the chargeback system, which
     4   downstream customers were shipped to Florida.         4   showed First Veterinary Supply as on the Child
     5        MR. DAVISON: Objection.                          5   Address line, right?
     6   BY MR. LOESER:                                        6      A Yes.
     7      Q What does that suggest to you?                   7        MR. DAVISON: Objection to form.
     8        MR. DAVISON: Objection to form.                  8   BY MR. LOESER:
     9      A It suggests it was sold in Florida.              9      Q So if you had asked to see Harvard Drug
    10   BY MR. LOESER:                                       10   Group's sales during the time that they were your
    11      Q Right. And if you look at the date when         11   customer, and you had asked for the chargeback
    12   these transactions occurred in the second column,    12   information, what you would have gotten back was
    13   they occurred between September 30th, 2008, and      13   something that indicated that all of the
    14   April 1st, 2010; is that right?                      14   transactions, every occasion in which your
    15      A That's correct.                                 15   customer bought from you, oxy 15 and 30, on all of
    16      Q And that's the same time period that we         16   those occasions, they sold those drugs via First
    17   discussed where you indicated that you knew that     17   Veterinary Supply?
    18   Florida had become the pill mill capital of the      18        MR. DAVISON: Objection to form.
    19   United States?                                       19      A Repeat the question.
    20        MR. DAVISON: Objection to form.                 20   BY MR. LOESER:
    21      A Correct.                                        21      Q So if you had asked to see Harvard Drug
    22   BY MR. LOESER:                                       22   Group's sales during the time that they were your
    23      Q So during the time that Florida was the         23   customer, what you would have gotten back was
    24   pill mill capital of the United States, your         24   something that indicated that all of the
    25   wholesale distributor customer, Harvard Drug,        25   transactions, every occasion in which your

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     1   customer bought from you oxy 15 and 30, on all of     1   downstream customers in Florida?
     2   those occasions, they sold those drugs via First      2      A Mm-hmm (affirmative).
     3   Veterinary Supply?                                    3      Q Now, if you wanted to see if any of those
     4        MR. DAVISON: Objection to form.                  4   customers were veterinarians, that's something
     5      A I'm not certain of that, based on this           5   that you could see in the chargeback system,
     6   report.                                               6   right?
     7   BY MR. LOESER:                                        7        MR. DAVISON: Objection to form.
     8      Q Okay. But you could have become certain          8      A If it was requested, I believe so.
     9   of that by asking for chargeback data and looking     9   BY MR. LOESER:
    10   to see whether First Veterinary Supply --            10      Q And so if you wanted to see how many of
    11      A I could have.                                   11   those shipments were to pain clinics, dispensing
    12        MR. DAVISON: Objection to form.                 12   physicians, and pharmacies, you could see that,
    13      A I'm not certain if Harvard Drug was my          13   too, in the chargeback system?
    14   account when these sales were going on. I'd have     14        MR. DAVISON: Objection to form.
    15   to look at a document to see.                        15      A If they are differentiated by DEA number,
    16   BY MR. LOESER:                                       16   which I'm not certain if they were. You'd have to
    17      Q Okay.                                           17   ask the DEA that.
    18      A I inherited the account from Vic Borelli.       18   BY MR. LOESER:
    19      Q And do you know, generally, when you            19      Q So when you go from the second quarter
    20   inherited that account?                              20   2009 to the third quarter 2009, you'll see that
    21      A I can't recall.                                 21   the total purchase orders by Harvard Drug via
    22      Q Was it during 2008, '9 or '10?                  22   First Veterinary Supply went to 1,119.
    23      A I can't recall.                                 23      A Mm-hmm (affirmative).
    24      Q And there would be information in               24      Q Can you explain that substantial increase
    25   Mallinckrodt's files that would show exactly when    25   in the number of sales to Harvard Drug?
                                                  Page 195                                                 Page 197
     1   you inherited that account, right?                    1        MR. DAVISON: Objection to form.
     2      A Yes, so you'd have to ask Mallinckrodt.          2      A No, I can't.
     3   I'm sorry, but I can't recall.                        3   BY MR. LOESER:
     4      Q So if we looked at that data and we saw          4      Q Is an increase like that something that
     5   that Harvard Drug Group was, in fact, your            5   would be flagged as a suspicious increase?
     6   customer during that time, then any transaction in    6        MR. DAVISON: Objection to form.
     7   which Harvard Drug purchased oxy 15 and 30 from       7      A You'd have to ask Karen Harper that.
     8   you, every one of those sales was via First           8   BY MR. LOESER:
     9   Veterinary Supply. That's the information that        9      Q Well, what do you think?
    10   would be contained in the chargeback report?         10        MR. DAVISON: Objection.
    11        MR. DAVISON: Objection to form.                 11      A I don't know if I had this data accessible
    12      A I guess, yes.                                   12   to me.
    13   BY MR. LOESER:                                       13   BY MR. LOESER:
    14      Q If you go back to this summary sheet we         14      Q Well, you have it now.
    15   have here, the sales by -- in which Harvard Drug     15      A Mm-hmm (affirmative).
    16   sold oxy 15 and 30 through First Veterinary Supply   16      Q Can you think of a good reason why --
    17   are broken down by quarter; do you see that?         17      A As I said earlier --
    18      A Mm-hmm (affirmative).                           18        MR. DAVISON: Objection.
    19      Q So in 2009, the second quarter, if you go       19      A -- the reason that I would look at this
    20   in one, two, three, four columns, you'll see that    20   order differently is because it's a veterinary
    21   there were 426 purchase orders. So in the second     21   clinic.
    22   quarter 2009, on 426 occasions, Harvard Drug sold    22   BY MR. LOESER:
    23   oxy 15 and 30 via First Veterinary Supply.           23      Q Right. That would make it particularly
    24        And then, if you see that column as well,       24   suspicious to you?
    25   81.7 percent of those transactions were shipped to   25      A Correct.
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     1      Q And then, if you look at the next quarter,       1   BY MR. LOESER:
     2   2009 fourth quarter, the number of times Harvard      2      Q And in this article, in addition to what
     3   Drug sold via First Veterinary Supply, and again,     3   we went through and read before, there are a
     4   this is selling oxycodone 15 and 30, manufactured     4   number of dispensing physicians and a -- what's
     5   by Mallinckrodt, it goes up to 2,988, so it more      5   described as a pill mill. And I'll just turn to
     6   than triples. Would that appear particularly          6   the pages --
     7   suspicious to you as well?                            7      A Okay.
     8        MR. DAVISON: Objection to form.                  8      Q One of the doctors is Dr. Amy Seinfeld,
     9      A On the number-wise, yes.                         9   and she was an osteopathic physician in North
    10   BY MR. LOESER:                                       10   Miami Beach, according to a police report prepared
    11      Q And then, if you look next quarter, first       11   in connection with one of her patients who
    12   quarter 2010, it goes up to 3,591 total purchase     12   overdosed on oxycodone pills.
    13   orders, so again, it's skyrocketing, right?          13        And as we saw, the article talks at some
    14        MR. DAVISON: Objection to form.                 14   length about the exploding number of pill mills in
    15      A Mm-hmm (affirmative).                           15   Florida, the fact that people were traveling
    16   BY MR. LOESER:                                       16   en masse from out of state, purchasing pills and
    17      Q And the time frame that these sales to          17   driving them up I75, distributing to Appalachia
    18   Harvard Drug are skyrocketing is the exact same      18   and Ohio.
    19   time frame discussed in the articles we saw          19        Another doctor that is identified in here
    20   earlier in which Florida had become the pill mill    20   is Dr. Enrique Gonzalez-Pujol. In addition to
    21   capital of the world, right?                         21   some other information, it indicates that he was
    22        MR. DAVISON: Objection to form.                 22   placed on probation after he pleaded guilty to the
    23      A Correct.                                        23   criminal charge of filing false medical records
    24        MR. DAVISON: Break for lunch? It's              24   for clinics involved in a several million-dollar
    25   12:45.                                               25   insurance fraud ring and a variety of other issues
                                                  Page 199                                                  Page 201
     1        MR. LOESER: Okay.                                1   involving him and his prescribing practices.
     2        THE VIDEOGRAPHER: We are going off the           2        And then later in the article, there's a
     3   record. Time is 12:44 p.m.                            3   discussion of a pain clinic that you may have
     4        (A luncheon recess was taken from                4   heard of called South Florida Pain. Have you ever
     5   12:44 p.m. until 1:28 p.m.)                           5   heard of that pain clinic?
     6        THE VIDEOGRAPHER: We are back on the             6        MR. DAVISON: Objection.
     7   record. Time is 1:28 p.m.                             7         MS. RANJAN: Objection to form.
     8   BY MR. LOESER:                                        8   BY MR. LOESER:
     9      Q Good afternoon, Mr. Becker.                      9      Q And what it says about South Florida Pain
    10      A Hello.                                          10   is, "Among police in Appalachia, one Fort
    11      Q If I could refer you back to the article        11   Lauderdale clinic has earned a notorious
    12   that was marked Borelli Exhibit 24, it's the         12   reputation for selling pills that end up on the
    13   article with the title "Inside Broward County's      13   black market: South Florida Pain."
    14   pill mills." Looks like that (indicating).           14        And so the doctors that I mentioned and
    15        MR. DAVISON: Two black boxes                    15   the pain clinic, they were identified in this
    16   (indicating).                                        16   April 5th, 2009, article in connection with the
    17      A (Reviewing.)                                    17   discussion of illegal prescribing and diversion.
    18   BY MR. LOESER:                                       18        MR. DAVISON: Objection to form.
    19      Q And, sir, this is the article that we went      19        MS. RANJAN: Form.
    20   through that talks about how Broward County has      20   BY MR. LOESER:
    21   become the painkiller capital of the United          21      Q And you've seen that article and looked
    22   States, and the date on this article is April 5th,   22   through it. So I have another exhibit I'd like to
    23   2009; is that correct?                               23   show you.
    24      A Correct.                                        24        (Whereupon, Exhibit Mallinckrodt-Becker-
    25        MR. DAVISON: Objection to form.                 25   016 was marked for identification by the

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     1   reporter.)                                                  1   starting at the first page, the first is a list of
     2        THE REPORTER: 16.                                      2   43 times that your wholesale distributor client,
     3   BY MR. LOESER:                                              3   the Harvard Drug Group via First Veterinary
     4      Q Before I hand you that exhibit, are you                4   Supply, sold oxycodone to Dr. Gonzalez-Pujol; do
     5   aware of whether -- well, first of all, did you,            5   you see that?
     6   after this article came out, make any effort to             6        MR. DAVISON: Objection to form.
     7   figure out if any of your wholesale distributor             7      A Mm-hmm (affirmative).
     8   clients were selling oxycodone or other schedule            8   BY MR. LOESER:
     9   II substances to Dr. Seinfeld or Dr. Pujol or to            9      Q And you see that the date of transactions
    10   American Pain?                                             10   on here indicate -- you can look down the list,
    11        MR. DAVISON: Objection to form.                       11   you can see that every single one of those
    12      A I wasn't aware of the article.                        12   transactions was on or after the date of this
    13   BY MR. LOESER:                                             13   article.
    14      Q And are you aware of any investigation                14        MR. DAVISON: Objection to form.
    15   that was done around the time of this article that         15      A Okay.
    16   examined whether any of Mallinckrodt's wholesale           16   BY MR. LOESER:
    17   distributor clients were selling to any of these           17      Q Do you see that?
    18   individuals or --                                          18      A I see that. It's highlighted.
    19        MR. DAVISON: Objection to form.                       19      Q So if -- and so at the time, you certainly
    20      A You'd have to ask Karen Harper that, in               20   could have asked for a chargeback report to be run
    21   our product monitoring. She would have been                21   in which you identified sales to
    22   responsible for that.                                      22   Dr. Gonzalez-Pujol; correct?
    23   BY MR. LOESER:                                             23        MR. DAVISON: Objection to form.
    24      Q That's not something that anyone ever                 24      A Repeat the question, please.
    25   talked to you about?                                       25   BY MR. LOESER:
                                                         Page 203                                                        Page 205
     1        MR. DAVISON: Objection to form.                        1      Q At the time, as of April 5th, 2009, you
     2      A Not on this particular article, no.                    2   could have asked your product manager, or whoever
     3   BY MR. LOESER:                                              3   else, to run a chargeback report in which you
     4      Q You don't recall anyone taking this                    4   sought to identify sales to Dr. Gonzalez-Pujol,
     5   article, which was in the Miami Herald, and asking          5   right?
     6   you if you could please check to see, via the               6        MR. DAVISON: Objection to form.
     7   chargeback reports, whether any of your wholesale           7      A Correct.
     8   distributor clients had, as downstream customers,           8   BY MR. LOESER:
     9   any of the entities identified in this article?             9      Q And you certainly did not tell your
    10        MR. DAVISON: Objection to form.                       10   wholesale distributor client, Harvard, not to sell
    11      A No. This is the first time I've seen this             11   to Dr. Gonzalez after the date of this article; is
    12   article.                                                   12   that correct?
    13   BY MR. LOESER:                                             13      A Not that I'm aware of.
    14      Q So why don't we look at Exhibit 16.                   14        MR. DAVISON: Objection to form.
    15      A Okay.                                                 15   BY MR. LOESER:
    16      Q And this, for the record, is from a Native            16      Q And is it fair to assume, since there were
    17   File produced by Mallinckrodt. The Bates number            17   43 sales to him after the date of that article,
    18   is MNK-T1_0000264292. And again, that's the Bates          18   that nobody else at Mallinckrodt told Harvard not
    19   number that is on the cover sheet from the Native          19   to sell to Dr. Gonzalez-Pujol?
    20   File. And like we did with some of the other               20        MR. DAVISON: Objection to form.
    21   reports that I've given to you, we went ahead and          21      A I would assume so.
    22   looked in Mallinckrodt's chargeback data for sales         22   BY MR. LOESER:
    23   to any of those three entities and individuals             23      Q Now, you would agree with me, would you
    24   that are discussed in that article.                        24   not, that it is -- it was not appropriate for
    25        And so if you take a look at that exhibit,            25   Mallinckrodt to continue allowing Dr. Pujol to

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     1   purchase Mallinckrodt oxycodone after the date of           1   Mallinckrodt oxy after the date of this article?
     2   this article?                                               2        MR. DAVISON: Objection to form.
     3        MR. DAVISON: Objection to form.                        3      A As I had stated, I wasn't aware of the
     4      A I'm not aware of the article being read.               4   article. The product monitoring people that --
     5   I'm not aware of anyone -- personnel from                   5   you would have to ask them that question.
     6   Mallinckrodt reading that article, so I can't               6   BY MR. LOESER:
     7   answer for them. You'd have to ask those other              7      Q But can you think of any reason why it
     8   specific people.                                            8   would be appropriate to continue allowing the sale
     9   BY MR. LOESER:                                              9   of oxycodone --
    10      Q Can you think of any reason why it would              10      A Personally, if I --
    11   be appropriate to continue allowing sales of               11        MR. DAVISON: Objection.
    12   oxycodone to a physician who's been publicly               12   BY MR. LOESER:
    13   identified as participating in diversion and               13      Q Let me finish -- to a downstream customer
    14   illegal drug trafficking?                                  14   who has been specifically identified in an article
    15        MR. DAVISON: Objection to form.                       15   about diversion?
    16      A Can I?                                                16        MR. DAVISON: Objection to form.
    17   BY MR. LOESER:                                             17      A If I was aware of the article and did my
    18      Q Yes. Can you?                                         18   investigation, then I wouldn't see a reason that
    19      A I don't see a reason why, no.                         19   I'd continue the sales, no. But I have no reason.
    20      Q So that's a "no"?                                     20   I wasn't aware of this.
    21      A Correct.                                              21   BY MR. LOESER:
    22        MR. DAVISON: Objection.                               22      Q You mentioned before that you did read
    23   BY MR. LOESER:                                             23   articles, and articles were sent to you. Was it
    24      Q So if you turn to the -- if you look at               24   your practice to look to see if any of your
    25   the next group of transactions, you'll see in the          25   wholesale distributor customers were identified in
                                                         Page 207                                                 Page 209
     1   highlighted column, in the chargeback report that           1   the articles?
     2   I've given you, there's Dr. Seinfeld, and there's           2      A I would notice if they were.
     3   a list of transactions, again dated between -- it           3      Q Okay. And would you, then, investigate to
     4   looks like here they start on May 4th, 2009, and            4   see, learn anything more about their downstream
     5   they run through April 21st, 2010, and it appears           5   customers?
     6   that there are 81 separate transactions.                    6        MR. DAVISON: Objection to form.
     7        And again, each one of these is via your               7      A I don't recall doing any investigations.
     8   wholesale distributor customer, the Harvard Drug            8   BY MR. LOESER:
     9   Group, selling to dispensing physician, Amy                 9      Q And so if you go to the third category of
    10   Seinfeld via First Veterinary Supply; do you see           10   transactions, identified on this report from
    11   that?                                                      11   Mallinckrodt's chargeback system, again, you see
    12      A Yes.                                                  12   that, here, there are eight transactions
    13        MR. DAVISON: Objection to form.                       13   between -- there's eight transactions in which
    14   BY MR. LOESER:                                             14   Harvard Drug Group via First Veterinary Supply is
    15      Q And so these are 81 transactions that                 15   selling oxy to downstream customer South Florida
    16   occurred after the date of this article in which           16   Pain; do you see that?
    17   she -- in which she is specifically identified in          17        MR. DAVISON: Objection to form.
    18   which she purchased oxycodone from -- manufactured         18      A Mm-hmm (affirmative). Yes, I do.
    19   by Mallinckrodt?                                           19      Q And prior to seeing this article that I
    20        MR. DAVISON: Objection to form.                       20   presented to you, had you ever heard of South
    21      A Correct.                                              21   Florida Pain?
    22   BY MR. LOESER:                                             22      A No.
    23      Q And can you think of any reason why it                23      Q Can you think of any reason why it would
    24   would be appropriate to continue allowing                  24   be appropriate for Mallinckrodt to allow its
    25   downstream customer, Amy Seinfeld, to purchase             25   downstream customer, Harvard Drug Group, to sell

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     1   Mallinckrodt product to South Florida Pain in               1      Q And do you recall being asked by
     2   light of its reputation for engaging in diversion           2   Ms. Muhlenkamp to reach out to HD Smith to find
     3   and illegal practices?                                      3   out what business they had walked away from?
     4        MR. DAVISON: Objection to form.                        4      A I don't recall this specifically, no.
     5      A I wasn't aware of the article or them                  5      Q Do you have any recollection, at all,
     6   being mentioned in an article.                              6   about the matters that are discussed in this
     7   BY MR. LOESER:                                              7   e-mail?
     8      Q Was it your understanding that your                    8       MR. DAVISON: Objection to form.
     9   product managers and others who were involved in            9      A I believe this had to do with HD Smith
    10   compliance read articles about controlled                  10   looking at their business model in Florida and
    11   substances that were being shipped around the              11   deciding to walk away from business that they were
    12   country?                                                   12   not comfortable with.
    13        MR. DAVISON: Objection.                               13   BY MR. LOESER:
    14      A I can assume they may have read them, but             14      Q And what's your understanding of why they
    15   you'd have to ask them directly.                           15   weren't comfortable with the business they were
    16        (Whereupon, Exhibit Mallinckrodt-Becker-              16   walking away from in Florida?
    17   017 was marked for identification by the                   17       MR. DAVISON: Objection to form.
    18   reporter.)                                                 18      A You'd have to ask HD Smith that.
    19         THE REPORTER: Number 17.                             19   BY MR. LOESER:
    20   BY MR. LOESER:                                             20      Q Well, you asked HD Smith, so do you have
    21      Q You've been handed what's marked                      21   any recollection of what they said?
    22   Exhibit 17, which has Bates number                         22       MR. DAVISON: Objection to form.
    23   MNK-T1_0000559192. This is an e-mail from Victor           23      A I asked them what accounts they moved away
    24   Borelli to Ginger Collier, dated August 5th, 2010;         24   from.
    25   is that correct?                                           25   BY MR. LOESER:
                                                       Page 211                                                       Page 213
     1      A Correct.                                               1      Q Did you ask them why?
     2      Q And the Subject, it says, "Keysource                   2      A I don't recall asking why, but I'm
     3   Oxycodone Sales"; do you see that?                          3   assuming that it had to do with possible
     4      A Yes.                                                   4   pharmacies that were diverting.
     5      Q And if you look down into the body of the              5      Q And then the e-mail goes on to say --
     6   e-mail, the e-mail's from Kate Muhlenkamp, and she          6   state, "Steve asked HD Smith how they identified
     7   writes, "Vic - Per our conversation please find             7   these accounts and HD Smith noted the following."
     8   attached the graph showing the transition of                8   Do you see that list of bullet points?
     9   Oxycodone Sales from HD Smith to Keysource of the           9      A Yes.
    10   last several months. I removed the bottle                  10      Q Can you read the first one?
    11   numbers, etc., so you should be able to share the          11      A CII ratio to normal non scheduled
    12   graph with Keysource, as just denotes scale.               12   products.
    13   Additionally, we had Steve reach out to HD Smith           13      Q Can you explain to me the significance of
    14   to find out what business they had walked away             14   that?
    15   from. Attached is a list of customers that they            15      A I believe that -- I can't speak for
    16   have either shut down or severely restricted. We           16   wholesalers, but I believe that they had ratios,
    17   are not suggesting that Keysource adhere to HD             17   numbers that they looked at on -- a ratio of
    18   Smith's methods, but thought it might be helpful           18   scheduled products versus nonscheduled products in
    19   for them to have a list of accounts that a similar         19   their orders from, for example, Steve's Pharmacy,
    20   business has deemed suspicious."                           20   and that was one of the criteria that they would
    21        Did I read that correctly?                            21   look at and investigate in their process of
    22      A I believe so.                                         22   suspicious order monitoring.
    23      Q And HD Smith was one of your wholesale                23      Q And so if the ratio was skewed in favor of
    24   distributor clients; is that right?                        24   controlled substances, that would be an indication
    25      A Yes.                                                  25   of something that was potentially suspicious?

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     1        MR. DAVISON: Objection to form.               1   be aware -- they would be aware of physician
     2      A Potentially.                                  2   sales, and they would question physician sales.
     3   BY MR. LOESER:                                     3   BY MR. LOESER:
     4      Q Can you read the second bullet?               4      Q They were suspicious of dispensing
     5      A "If the pharmacy was closed door servicing    5   physician's --
     6   just physicians."                                  6      A I can't -- I can't speak for HD Smith.
     7      Q And what does that mean?                      7      Q Okay. Well, did you speak to them, so did
     8      A That means that it's a closed door            8   you get any further information that you recall?
     9   pharmacy, servicing the physician marketplace.     9      A I can't recall.
    10      Q And why was that something that was          10      Q And is this suggesting that they stopped
    11   utilized by HD Smith to identify suspicious       11   providing controlled substances to dispensing
    12   customers?                                        12   physicians?
    13      A You'd have to --                             13        MR. DAVISON: Objection to form.
    14        MR. DAVISON: Objection to form.              14      A You'd have to ask HD Smith. I don't know.
    15      A -- ask HD Smith that particular question.    15   BY MR. LOESER:
    16   BY MR. LOESER:                                    16      Q Can you read the next bullet point?
    17      Q Do you have any understanding of why?        17      A "Pharmacy secondary supplier relations."
    18        MR. DAVISON: Objection to form.              18      Q What does that mean to you?
    19      A I believe it would be a flag for them, on    19      A Steve's Pharmacy was using HD Smith as
    20   suspicious orders, due to the nature of the       20   primary, who are the secondary suppliers that I
    21   problem in Florida with dispensing physicians.    21   could possibly purchase my product from.
    22   BY MR. LOESER:                                    22      Q Okay. And so this was the list when you
    23      Q Okay. Can you read the next bullet point?    23   called HD Smith. These were the characteristics
    24      A "Large pharmacies with excess orders."       24   that they identified for accounts that they walked
    25      Q And can you explain why that would be a      25   away from; is that right?
                                               Page 215                                                 Page 217
     1   reason to identify customers as suspicious?        1        MR. DAVISON: Objection to form.
     2        MR. DAVISON: Objection to form.               2      A Correct, best of my knowledge.
     3      A Well, possibility of the size of the          3   BY MR. LOESER:
     4   pharmacy in correlation with the size of their     4      Q If you turn the page --
     5   orders.                                            5      A Mm-hmm (affirmative).
     6   BY MR. LOESER:                                     6      Q Well, the first page, it indicates there's
     7      Q And what does that mean?                      7   an attachment, and then the next page is the
     8        MR. DAVISON: Objection to form.               8   attachment, and it's a list of accounts that
     9      A Just what I stated.                           9   HD Smith either shut down or severely restricted;
    10   BY MR. LOESER:                                    10   is that right?
    11      Q Okay. How does that correlation indicate     11        MR. DAVISON: Objection to form.
    12   the possibility of something being suspicious?    12      A The best of my knowledge, yes.
    13        MR. DAVISON: Objection.                      13   BY MR. LOESER:
    14      A Large pharmacies place large orders.         14      Q Okay. That's what the e-mail says. It
    15   BY MR. LOESER:                                    15   says, "Attached is a list of customers that they
    16      Q Okay. And this says, "excess orders." Do     16   have either shut down or severely restricted."
    17   you have an understanding of what that means?     17      A Right.
    18      A It could be an excess of what their          18      Q Right? So this list was given to
    19   averages are.                                     19   Mallinckrodt. You got this list from HD Smith,
    20      Q Okay. And what about -- can you read the     20   right?
    21   next bullet?                                      21      A Correct.
    22      A "No physician sales."                        22        MR. DAVISON: Objection to form.
    23      Q And what's the significance of that?         23   BY MR. LOESER:
    24        MR. DAVISON: Objection to form.              24      Q And did you help them in any way prepare
    25      A Well, I would imagine that HD Smith would    25   the list?

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     1      A No.                                              1      Q But in terms of what you did with the
     2      Q And what did you do with the list when you       2   list --
     3   got it?                                               3      A I did what was asked. I got the list of
     4      A I evidently passed it on to Kate                 4   accounts from HD Smith and forwarded them to the
     5   Muhlenkamp.                                           5   people that requested it.
     6      Q And since this is a list of downstream           6      Q So this was a list of accounts that your
     7   customers of your wholesale distributor client, HD    7   wholesale distributor client deemed suspicious?
     8   Smith, transactions involving any of these            8         MR. DAVISON: Objection. Objection to
     9   downstream customers would be reflected in the        9   form.
    10   chargeback system, right?                            10      A Correct.
    11      A Correct.                                        11   BY MR. LOESER:
    12         MR. DAVISON: Just so I'm clear on this,        12      Q So once you had this list, did you go into
    13   sorry Counsel, it looks like the Bates numbers       13   the chargeback system and see if any of your other
    14   aren't consecutive on this, so I just wanted to      14   wholesale distributor clients were continuing to
    15   make sure we had an understanding. I also just       15   sell to any of these suspicious downstream
    16   would note, it looks like maybe the copy of the      16   customers?
    17   Bates number got cut off.                            17         MR. DAVISON: Objection.
    18         Can we just make sure this exhibit is          18      A I did not. That would have been up to
    19   marked "highly confidential" until we can figure     19   Kate Muhlenkamp and anyone that she shared the
    20   out exactly what the confidentiality marker should   20   information with.
    21   be for this document?                                21   BY MR. LOESER:
    22         MR. LOESER: Sure. It looks to me like          22      Q But that is certainly something that you
    23   there were two attachments to this e-mail. The       23   could have done, right?
    24   first one indicates "KeySource Oxy Sales.pdf," and   24         MR. DAVISON: Objection.
    25   I believe that the gap in Bates numbers are          25      A Could have.
                                                 Page 219                                                  Page 221
     1   because that document is not attached, but we can     1 BY MR. LOESER:
     2   make sure of that. And there's a second               2      Q And you didn't do that?
     3   attachment, which is Smith Oxy Accounts.xls, and I    3      A No. They were already cut off by HD
     4   think that is what is attached, but noted.            4   Smith, and I did not -- I didn't need the
     5        MR. DAVISON: Okay. So I just object to           5   information at that point, any further
     6   that.                                                 6   information.
     7   BY MR. LOESER:                                        7        (Whereupon, Exhibit Mallinckrodt-Becker-
     8      Q So you got this list from HD Smith, you          8   018 was marked for identification by the
     9   apparently turned this list over, and then            9   reporter.)
    10   Mr. Borelli was supposed to use this list when       10        THE REPORTER: Number 18.
    11   talking to his wholesale distributor client,         11   BY MR. LOESER:
    12   KeySource, that was taking over HD Smith's           12      Q You've been handed what's marked
    13   customers; is that right?                            13   Exhibit 18, which is another chargeback report
    14        MR. DAVISON: Objection to form.                 14   that we've run from the data produced by
    15      A You'd have to ask Vic Borelli that.             15   Mallinckrodt. The Native File Bates number is
    16   BY MR. LOESER:                                       16   MNK-T1_0000264296. Now, Masters Pharmaceuticals
    17      Q Is that your recollection? Is that what         17   was one of your wholesale distributor customers;
    18   the e-mail says?                                     18   is that right?
    19        MR. DAVISON: Objection.                         19      A At a certain time, yes.
    20      A It's what the e-mail says, but you'd have       20      Q Okay. At some point in time, that account
    21   to ask Vic Borelli that specific question.           21   was turned over to you by Victor Borelli; is that
    22   BY MR. LOESER:                                       22   right?
    23      Q I'd have to ask Vic Borelli what he did         23      A Correct.
    24   with the list, right?                                24      Q And do you have a recollection of when
    25      A Correct.                                        25   that occurred?

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     1      A No, I don't.                                          1      Q Okay. And so if we have documents that
     2      Q So if you look at the spreadsheet that                2   indicate that in -- from August of 2010 forward,
     3   I've handed you, this is a sort on Masters                 3   through June of '11, that Masters was your client,
     4   Pharmaceuticals, additionally sorting on                   4   then you would agree with me that you could have
     5   downstream customer, a Lam's Pharmacy; do you see          5   taken the information you learned from HD Smith
     6   that?                                                      6   and shared it with --
     7        MR. DAVISON: Objection to form.                       7        MR. DAVISON: Objection.
     8      A Mm-hmm (affirmative).                                 8      A If the information was shared with me.
     9   BY MR. LOESER:                                             9   BY MR. LOESER:
    10      Q And if you look over at the Invoice Date             10      Q But you know the information was shared
    11   column, you'll see that there are a series of             11   with you by HD Smith because you got it?
    12   transactions that occurred after the date of the          12      A With HD Smith, yes.
    13   e-mail we looked at a moment ago, the transactions        13        MR. DAVISON: Objection.
    14   that occurred after August 5th, 2010.                     14   BY MR. LOESER:
    15        Do you see that?                                     15      Q Right. And HD Smith gave you the
    16        MR. DAVISON: Objection to form.                      16   information about Lam Pharmacy on August 5th,
    17   BY MR. LOESER:                                            17   2010, and you could have shared that with your
    18      Q Here, let me highlight it for you.                   18   other wholesale distributors customers, who also
    19      A (Handing.)                                           19   sold to Lam's Pharmacy, but you did not do so?
    20      Q (Highlighting.) (Handing.)                           20        MR. DAVISON: Objection.
    21      A (Reviewing.)                                         21      A That, you'd have deal with Karen Harper on
    22      Q Do you see that?                                     22   that, who was our -- in charge of our product
    23      A Yes.                                                 23   monitoring.
    24      Q So after the date you learned from HD                24   BY MR. LOESER:
    25   Smith that it had cut off Lam Pharmacy because it         25      Q But you didn't do that?
                                                      Page 223                                                   Page 225
     1   was suspicious, your other wholesale distributor           1        MR. DAVISON: Objection.
     2   client, Masters Pharmaceutical, continued to sell          2      A No, I didn't.
     3   oxycodone 30-milligram tabs to Lam's Pharmacy; is          3   BY MR. LOESER:
     4   that what this shows?                                      4      Q Can you explain to me why HD Smith was
     5        MR. DAVISON: Objection to form.                       5   able to identify that Lam Pharmacy was suspicious,
     6      A It appears that way.                                  6   but apparently Masters Pharmaceuticals could not?
     7   BY MR. LOESER:                                             7         MR. DAVISON: Objection to form.
     8      Q So if you had taken that list that HD                 8      A No, I can't. You'd have to ask Masters
     9   Smith gave you in which they identified suspicious         9   and HD Smith those two questions.
    10   downstream customers and you had shared that with         10   BY MR. LOESER:
    11   all of your other wholesale distributor customers,        11      Q And based upon knowing your customer, is
    12   you could have stopped them from selling to this          12   there something about Masters that you recall that
    13   pharmacy that HD Smith had identified as                  13   would suggest that they were less careful about
    14   suspicious; is that right?                                14   identifying suspicious --
    15        MR. DAVISON: Objection to form.                      15        MR. DAVISON: Objection.
    16      A In theory, but that was up to our product            16      A They're not a wholesaler. That would be
    17   monitoring person to look at this data and                17   the first identifying factor.
    18   communicate it out, and I don't believe Masters           18   BY MR. LOESER:
    19   was my account at this period of time.                    19      Q And what difference does that make?
    20   BY MR. LOESER:                                            20      A Distributor does not have salespeople
    21      Q Okay. And the timing of when they were               21   going directly into Steve's Pharmacy. It's
    22   your account, we can sort that out from records           22   basically telemarketing based, calling the
    23   that --                                                   23   account.
    24      A From Mallinckrodt records, I'm sure you              24      Q And that would make it harder for someone
    25   can.                                                      25   like Masters to identify suspicious downstream

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     1   customers?                                            1   continued to sell Mallinckrodt oxycodone to Lam's
     2       MR. DAVISON: Objection to form.                   2   Pharmacy, up until the point that the DEA shut
     3     A Yes.                                              3   down Lam's Pharmacy?
     4   BY MR. LOESER:                                        4        MR. DAVISON: Objection to form.
     5     Q And is it your understanding that Masters         5      A You'd have to ask Masters on that. It
     6   had any less responsibility to identify downstream    6   appears that way.
     7   customers than wholesale distributors?                7        (Whereupon, Exhibit Mallinckrodt-Becker-
     8       MR. DAVISON: Objection to form.                   8   020 was marked for identification by the
     9     A They had the same responsibility as               9   reporter.)
    10   everybody else did in regards to following the DEA   10        THE REPORTER: Number 20.
    11   protocol, product monitoring.                        11   BY MR. LOESER:
    12       Do you have the magnifying glass, too?           12      Q Mr. Becker, you've been handed what's
    13   BY MR. LOESER:                                       13   marked Exhibit 20, MNK-T1_0000448041, and this
    14     Q Well, I try to help with highlighting.           14   appears to be a list of your clients in -- as of
    15       (Whereupon, Exhibit Mallinckrodt-Becker-         15   2010; is that correct?
    16   019 was marked for identification by the             16      A It appears so, yes.
    17   reporter.)                                           17      Q And if you look at column A, it states,
    18       THE REPORTER: Number 19.                         18   "Steve Becker, NAM - Minnesota." That's you?
    19   BY MR. LOESER:                                       19      A Yes.
    20     Q You've been handed what's marked                 20      Q And that's national account manager?
    21   Exhibit 19, which is a press release from the        21      A Yes.
    22   United States Department of Justice for the          22      Q And then there's a list of your clients?
    23   District of Nevada, and this states, "A Las Vegas    23      A Yes.
    24   pharmacy has entered into a settlement agreement     24      Q And so we've had a number of -- number of
    25   with the U.S. Department of Justice to resolve       25   instances today in which you indicated you weren't
                                                  Page 227                                                 Page 229
     1   civil allegations that it violated federal drug       1   sure when an entity was your client or was not.
     2   laws."                                                2      A Mm-hmm (affirmative).
     3         Do you see that?                                3      Q According to this list, can you just
     4      A Yes.                                             4   read -- well, I'll read the clients, as of 2010,
     5      Q And do you see that this -- the pharmacy         5   that were your clients, and it was "Optisource
     6   that's discussed in this press release is Lam's       6   LLC"; is that correct?
     7   Pharmacy?                                             7      A That's correct.
     8      A Yes.                                             8      Q And "Anda"; is that correct?
     9      Q And in the second paragraph of the press         9      A Correct.
    10   release, this states, "The agreement states that     10      Q And "Associate Pharmacies, Inc.", correct?
    11   the DEA conducted an investigation concerning the    11      A Correct.
    12   receipt and distribution of and record-keeping for   12      Q And "Cedardale"; is that correct?
    13   certain controlled substances that were received     13      A Correct.
    14   and distributed by Lam's Pharmacy during the         14      Q "United Drugs"?
    15   period May 1, 2006, through February 1, 2012, and    15      A Correct.
    16   that based on that investigation, the DEA alleges    16      Q "Epic"?
    17   that the pharmacy violated civil provisions of the   17      A Yes.
    18   Controlled Substances Act."                          18      Q "Harvard"?
    19         Do you see that?                               19      A Yes.
    20      A Yes, I do.                                      20      Q And is that Harvard Drug Group?
    21      Q So HD Smith figured out that Lam's              21      A Yes.
    22   Pharmacy was suspicious in August of 2010, and as    22      Q "Henry Schein"?
    23   we saw from this last chargeback report, Masters     23      A Yes.
    24   continued to sell to Lam after that date. Is it      24      Q "HD Smith"?
    25   your understanding that Masters essentially          25      A Yes.

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     1      Q "PBA True Care Pharmacy"?                       1   reading this right, for fiscal year 2009, you
     2      A Yes.                                            2   exceeded the quotas; is that right?
     3      Q "Kinray Wholesale"?                             3       MR. DAVISON: Objection to form.
     4      A Yes.                                            4      A Correct.
     5      Q "Pharmacy Select Group"?                        5   BY MR. LOESER:
     6      A Yes:                                            6      Q And then, if you go down the list a bit,
     7      Q "Cesar Castillo, Inc."?                         7   you'll see for column 8, and that's United Drugs,
     8      A Yes.                                            8   you exceeded the quota and you were at 123.4
     9      Q "Masters"?                                      9   percent; do you see that?
    10      A Yes.                                           10      A Mm-hmm (affirmative).
    11      Q "Premiere"?                                    11      Q And if you go down a little bit further,
    12      A Yes.                                           12   number 10, that's Harvard Drug; do you see that?
    13      Q Okay. So those were your clients as of         13      A Yes.
    14   2010?                                               14      Q And what was the amount that you exceeded
    15      A It appears so, yes.                            15   your quota for Harvard Drug in 2009?
    16      Q And if you look at column O, which is on       16       MR. DAVISON: Objection to form.
    17   the next page, there's a -- the heading of the      17      A That I exceeded?
    18   column says, "November Net Margin" and "Quota       18   BY MR. LOESER:
    19   Attainment."                                        19      Q Well, it says, "Quota Attainment" and a
    20        Can you explain to me what quota               20   percent. What's the number for Harvard Drug,
    21   attainment is?                                      21   which is line 10?
    22        MR. DAVISON: Objection to form.                22       MR. DAVISON: Objection to form.
    23      A Well, quota is the assigned number that we     23      A Well, it's 359 percent.
    24   have placed on the account for our sales goal.      24   BY MR. LOESER:
    25   BY MR. LOESER:                                      25      Q Okay. So you more than tripled the quota,
                                                 Page 231                                                  Page 233
     1     Q And how did the quota come about?                1   and you're looking at the first column H, which is
     2     A You'd have to ask Jane Williams and the          2   for November?
     3   management team, how they -- what formulas they      3      A Correct.
     4   used in making -- making their quotas.               4      Q And if you go down to O, "Net Margin,"
     5     Q And was it the practice that if you beat         5   "Quota Attainment," what does that mean?
     6   the sales goal for a client that the quota would     6        MR. DAVISON: Objection to form.
     7   be increased for that client?                        7      A We had quotas, responsibility on net sales
     8        MR. DAVISON: Objection to form.                 8   and net margin, margin of the product.
     9     A Not specifically. Maybe the following            9   BY MR. LOESER:
    10   year. The numbers are reviewed every year.          10      Q Okay. And so for the margin, you exceeded
    11   BY MR. LOESER:                                      11   that goal by -- well, the percentage was 559.9
    12     Q And was the goal generally to grow sales        12   percent; is that correct?
    13   with each of your customers?                        13        MR. DAVISON: Objection to form.
    14        MR. DAVISON: Objection to form.                14      A Correct.
    15     A Not necessarily, no.                            15   BY MR. LOESER:
    16   BY MR. LOESER:                                      16      Q And if you go down a couple more entries,
    17     Q Okay. So if you look down this list of          17   you have line 12, which is HD Smith.
    18   quota attainment, a number of these indicate that   18      A Mm-hmm (affirmative).
    19   you exceeded a quota; is that right?                19      Q And for them, you exceeded the sales
    20     A Correct.                                        20   quota. You're at 133 percent; is that right?
    21     Q So for the first one, which is number 4,        21   133.3?
    22   which is OptiSource, you were at 119.3 percent of   22        MR. DAVISON: Objection to form.
    23   your quota?                                         23      A Okay.
    24     A Correct.                                        24   BY MR. LOESER:
    25     Q So this means that in the -- if I'm             25      Q And on net quota margin, you were at 132.9

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     1   percent?                                              1   BY MR. LOESER:
     2      A Mm-hmm (affirmative).                            2      Q How about --
     3      Q And was a report like this, describing           3      A -- as part of our monthly report.
     4   your quota and quota attainment, something that       4      Q And do you have an understanding of why
     5   was prepared every year?                              5   you were able to exceed your quotas by substantial
     6        MR. DAVISON: Objection to form.                  6   amounts during this time frame?
     7      A The quotas were set by the -- like Jane          7        MR. DAVISON: Objection.
     8   Williams --                                           8      A Be various reasons. Could have been new
     9   BY MR. LOESER:                                        9   product introductions, new product additions that
    10      Q Right.                                          10   the product -- that the account put in, changing
    11      A -- who I reported to. This is a report          11   us from a secondary position to a primary position
    12   that I would -- the salespeople would run and most   12   on their formulary. Backordered products from our
    13   likely was sent in with the monthly report.          13   competitors, and there's a whole host of reasons.
    14      Q And is it your -- did you see this report       14   BY MR. LOESER:
    15   when it was created?                                 15      Q And for the time period that we're looking
    16      A I may have created this particular report.      16   at here, 2009 and 2010, do you recall whether
    17      Q Okay. And so you were responsible for           17   sales of oxycodone enabled you to exceed these
    18   creating the reports for your clients?               18   quotas by such margins?
    19        MR. DAVISON: Objection to form.                 19        MR. DAVISON: Objection to form.
    20      A This was for my use.                            20      A Oxycodone was a portion of our product
    21   BY MR. LOESER:                                       21   portfolio, so I'm sure it did help, yes.
    22      Q Right.                                          22   BY MR. LOESER:
    23      A Internal use only, to be shared with Jane       23      Q Okay. Do you recall how much it helped?
    24   Williams, product managers.                          24      A No.
    25      Q And did you create a report like this           25        MR. DAVISON: Objection.
                                                  Page 235                                                  Page 237
     1   every year?                                           1       (Whereupon, Exhibit Mallinckrodt-Becker-
     2      A I did this on a monthly report, usually.         2   021 was marked for identification by the
     3      Q So how many times a year did you create          3   reporter.)
     4   this report?                                          4        THE REPORTER: Number 21.
     5      A Most likely 12.                                  5   BY MR. LOESER:
     6      Q And so you would just update it over the         6     Q Mr. Becker, you've been handed what's
     7   course of the year?                                   7   marked Exhibit 21, which is a series of reports,
     8      A Yeah, it changed. It was a moving number,        8   with a cover e-mail prepared by you, sent to
     9   based on our fiscal year, which ended October 1st.    9   Jennifer Bullerdick, Lisa Lundergan, Penny Myers,
    10      Q And then the following year, would you do       10   and Natalie Kayich.
    11   the same?                                            11       Who are the rec- -- and this is dated May
    12      A Yes.                                            12   10, 2011.
    13      Q So there should be one of these reports         13     A Product managers.
    14   for every year that you were employed by             14     Q And did you report to all of those product
    15   Mallinckrodt?                                        15   managers or --
    16        MR. DAVISON: Objection to form.                 16     A I didn't report to any of them.
    17      A Could be, depending on when that was            17     Q Okay. So what's their relationship to
    18   incorporated into our monthly report.                18   you?
    19   BY MR. LOESER:                                       19     A They're the product managers. They manage
    20      Q And do you recall when that was?                20   our product portfolio.
    21      A No, I don't.                                    21     Q Okay. If you look at the body of your
    22      Q Can you think of any reason why there is        22   e-mail, there are a number of attachments, and you
    23   not a report like this for 2006 or 2007?             23   write, "Attached for your review are my account
    24        MR. DAVISON: Objection to form.                 24   backgrounders that I complete at the beginning of
    25      A It may not have been required --                25   each fiscal year."

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     1      A Yes.                                                1   the record, this is a series of what Mr. Becker
     2      Q "I thought I would share these with you to          2   has referred to as backgrounder reports for his
     3   help you know our goals as I have set them for the       3   clients. The order in which the exhibit is
     4   accounts. The information may be helpful for you         4   assembled is not the order in which these reports
     5   to see how they operate and what type of business        5   were produced.
     6   we do with them as a snap-shot."                         6        They were originally alphabetical, and
     7        Do you recall preparing these reports and           7   I've sorted them to be according to the rank
     8   sending this e-mail?                                     8   provided by Mr. Becker, which will explain the
     9      A Yes.                                                9   Bates numbers, but if you turn to the first page,
    10      Q And is this something that you did every           10   it indicates, this is your report for Cardinal; is
    11   year?                                                   11   that right?
    12      A I personally, I don't know when I started          12       A Correct.
    13   doing product backgrounder, but I normally did          13       Q And you indicate that for 2010, its
    14   them in the beginning of the year on my assigned        14   Account Rank was 1; do you see that?
    15   accounts so I would have a good idea of what my         15       A Yes.
    16   goals and objectives were, opportunities, negative      16       Q So that means this was your biggest
    17   things.                                                 17   customer in 2010?
    18        And I shared them with product managers,           18       A Correct.
    19   as product managers did, at times, come along with      19        MR. DAVISON: Objection.
    20   sales reps on sales calls.                              20   BY MR. LOESER:
    21        So they have an understanding of the               21       Q In terms of sales?
    22   account, and they'd have an understanding of the        22       A Correct.
    23   account back at the office, if questions came up        23       Q And below that, it says, "Kinray 2010" and
    24   on the account.                                         24   "Account Rank 5." What's the relationship between
    25      Q And were product managers responsible for          25   Kinray and Cardinal?
                                                      Page 239                                                Page 241
     1   specific products?                                       1      A Cardinal purchased Kinray as a -- and
     2      A Yes.                                                2   Kinray continued to operate as Kinray Wholesale.
     3      Q And so the list of names you have here,             3      Q And Kinray was a wholesale distributor?
     4   were they each responsible for different products        4      A Yes, located in New York.
     5   identified in these reports?                             5      Q Okay. And you see the information that
     6      A For the most part, yes.                             6   you've collected for each one of your clients,
     7      Q So who was responsible for oxycodone?               7   starting with Cardinal, starts with current full
     8      A I'm not certain at that period of time --           8   year sales; do you see that?
     9   got married, so -- I'm not certain who was               9      A Mm-hmm (affirmative).
    10   responsible for what, at that time.                     10      Q And so that shows the sales --
    11      Q And again, that would be something                 11      A That's fiscal year sales.
    12   reflected in documents maintained by Mallinckrodt?      12      Q Fiscal year that Cardinal -- while your
    13        MR. DAVISON: Objection to form.                    13   customer purchased from you?
    14      A Yes, yes.                                          14        MR. DAVISON: Objection to form.
    15   BY MR. LOESER:                                          15      A Correct.
    16      Q And was anyone responsible for more than           16   BY MR. LOESER:
    17   one product?                                            17      Q And that includes Kinray as well, right?
    18      A Yes.                                               18      A Yes.
    19      Q And so someone, the same person, could be          19      Q Do you see for the next group of -- next
    20   responsible for oxycodone and oxy APAP?                 20   people, full year 2011, "Top 5 Product Sales"; do
    21      A Correct, correct.                                  21   you see that?
    22      Q Were they grouped around similar products?         22        MR. DAVISON: Objection.
    23      A They usually were. I just -- I just don't          23      A Yes.
    24   recollect.                                              24   BY MR. LOESER:
    25      Q Okay. Well, let's look through, and for            25      Q Can you read for me what the number one

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     1   top product was on that list?                            1   account.
     2      A Oxycodone 30 milligram.                             2   BY MR. LOESER:
     3      Q And below that?                                     3      Q Right. You couldn't ship enough product
     4      A Fentanyl lozenge.                                   4   to meet the demand?
     5      Q All right. And so this shows that -- and            5        MR. DAVISON: Objection.
     6   do you know what these -- these numbers are              6      A Possibly, yes.
     7   dollars of sales? Is that what we're looking at?         7   BY MR. LOESER:
     8        MR. DAVISON: Objection to form.                     8      Q Turning to the next page, the first bullet
     9      A Correct.                                            9   says, "Secure contract agreement on 852 & 867 data
    10   BY MR. LOESER:                                          10   exchange for Kinray." Can you tell me what that
    11      Q If you look further down the list of top           11   means?
    12   sales, there's a number of other controlled             12      A I can't recall what the 852 and 867 data
    13   substances; is that right?                              13   exchanges are, off the top of my head.
    14      A Yes.                                               14      Q Okay. And under "Challenges," the first
    15      Q And then on the next column below that,            15   item is "Maintaining the sales pace of 2010."
    16   next table, full year 2011, "Top 5 Negative             16      A Correct.
    17   Product Sales" --                                       17      Q Was that a goal of yours to try and
    18      A Mm-hmm (affirmative).                              18   maintain that sales pace?
    19      Q -- and this is a list of products where            19      A Yes.
    20   sales had declined; is that right?                      20      Q And that was Mallinckrodt's goal as well?
    21      A That's correct.                                    21        MR. DAVISON: Objection to form.
    22      Q And yet the total dollar amount of those           22      A You'd have to ask management people if it
    23   sales, if you just ranked based on dollars, you         23   was their goal. It was my goal to maintain my
    24   would see that oxycodone, as indicated up above,        24   sales pace or, hopefully, increase them.
    25   is the top seller, and if you move down the list,       25   BY MR. LOESER:
                                                      Page 243                                                    Page 245
     1   oxy/APAP is in second place at 751,172; do you see       1      Q If you turn to the next report --
     2   that?                                                    2      A Yes, sir.
     3        MR. DAVISON: Objection to form.                     3      Q -- that's your backgrounder for
     4      A Yes.                                                4   OptiSource?
     5   BY MR. LOESER:                                           5      A Yes.
     6      Q And then, if you move down below that, you          6      Q That indicates that's "Account Rank 2"; is
     7   see, although sales declined, oxycodone HCL 15 was       7   that right?
     8   at 437,000?                                              8      A Correct.
     9        MR. DAVISON: Objection.                             9      Q And if you look at the table you prepared
    10      A Correct.                                           10   for fiscal year 2010, "Top 5 Product Sales," can
    11   BY MR. LOESER:                                          11   you read for me, please, the number one product?
    12      Q Right. Looking further down on your                12      A Oxycodone 30 milligram.
    13   Executive Summary of Account, you indicate, "Sales      13      Q Okay. So in first place is oxycodone 30
    14   are running behind quota as we struggle to meet         14   milligram. What's second?
    15   historical shipment demands." Can you explain           15      A "OXY/APAP 10/325."
    16   what that means to me?                                  16      Q And what's third?
    17      A I recall we may have been struggling with          17      A 15 milligram.
    18   backorders, moving product out to the account.          18      Q Of oxycodone?
    19      Q So the demand for the controlled                   19      A Correct.
    20   substances you were selling to Cardinal was             20      Q Okay. If you look down to "Primary
    21   outstripping the supply that Mallinckrodt --            21   Objectives" --
    22        MR. DAVISON: Objection.                            22      A Yes.
    23      A Not necessarily, no. Maybe we had issues           23      Q -- it states, "Maintaining our presence as
    24   with manufacturing product, causing backorders,         24   primary on the 2011 bid is our biggest issue we
    25   thus inhibiting the sales of the particular             25   face due to our inability to supply products for

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     1   the remainder of the year." Can you explain to me     1 hydrocodone?
     2   what that's about?                                    2     A Looking at opportunities on open spots
     3      A We're obviously -- I believe we were             3 within the product line of hydrocodone.
     4   having backorder situations at the time that were     4      Q Okay. In 2011?
     5   impacting our sales and our ability to fill the       5      A Correct.
     6   orders for the OptiSource members.                    6      Q And then, if you turn the page to
     7      Q And do you recall whether those backorder        7   "Challenges," again, one of your challenges is
     8   issues were, in particular, with regard to            8   "Maintaining the current sales," so your goal was
     9   oxycodone?                                            9   to maintain the current sales from 2010, for
    10      A No, I don't.                                    10   OptiSource, for controlled substances in 2011?
    11      Q If you look further down, first bullet          11      A Yes.
    12   point, "Overcome the DEA product quota issues to     12      Q If you turn to the next report, which is
    13   maintain sales in 2011." Can you tell me what        13   for HD Smith --
    14   that refers to?                                      14      A Mm-hmm (affirmative).
    15      A It's obvious, that would appear to me that      15      Q -- that's Account Rank number 3; do you
    16   we had DEA quota issues to manufacture a product.    16   see that?
    17      Q What does that mean?                            17      A Yes.
    18      A Do you understand how the DEA assigns           18      Q And can you please read to me the first
    19   quota for manufacturing products?                    19   Top 5 Product -- the number one product for HD
    20      Q Go ahead and explain it to me.                  20   Smith?
    21      A You didn't answer me, though. Do you            21      A "OXYCODONE 30, OXYCODONE 15, OXY/APAP
    22   understand it?                                       22   10/325, METHADONE," and "OXYCODONE 5MG."
    23      Q I would like you to explain it.                 23      Q Okay. So for yet another client, the
    24        MR. DAVISON: Objection.                         24   top-selling product that you're reporting on here
    25      A Okay. The DEA sets a quota on raw               25   was oxycodone, in its varieties, sold by

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     1   material for manufacturing purposes. That starts      1   Mallinckrodt?
     2   with the raw material with -- where quota is. So      2        MR. DAVISON: Objection to form.
     3   the manufacturer of the raw ingredient, oxycodone,    3      A Correct.
     4   manu -- the one that manufactures the oxycodone       4   BY MR. LOESER:
     5   for the pharmaceutical end gets a quota, and you      5      Q And if you look down to your Executive
     6   can only -- it only goes so far. Then on top of       6   Summary, you state "2010 sales had steady growth
     7   it, the pulse of the manufacturer gets a quota on     7   and are fueled by Oxycodone products"?
     8   the product. So we're only allowed quota to           8      A Correct.
     9   manufacture so much product. That's basically         9      Q So earlier, when I was asking you about
    10   what that all means there.                           10   whether you remember any particular product,
    11   BY MR. LOESER:                                       11   explaining your sales numbers in this time frame,
    12       Q So you used up all your quota?                 12   does this refresh your recollection that it was
    13         MR. DAVISON: Objection.                        13   the oxycodone products?
    14       A According to my -- this, in this report,       14        MR. DAVISON: Objection to form.
    15   we were having issues that particular year, yes.     15      A Yes.
    16   BY MR. LOESER:                                       16   BY MR. LOESER:
    17       Q Okay. And so these reports that we're          17      Q And if you turn to the next page, under
    18   going through were created on May 10, 2011;          18   "Challenges," you once again indicate "Maintaining
    19   correct?                                             19   the current sales," so again, I take it that one
    20         MR. DAVISON: Object to the form.               20   of your objectives for 2011 was to maintain the
    21       A That's the date that's on here.                21   volume of sales for these oxycodone and other
    22   BY MR. LOESER:                                       22   products that you had in 2010?
    23       Q So if you go down your bullet points, one      23        MR. DAVISON: Objection to form.
    24   of the items is "Hydrocodone opportunities." Does    24      A Correct.
    25   that mean that you were hoping to sell more          25   BY MR. LOESER:

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     1      Q Okay. If you turn to the next report,            1       A That's correct, but I think you see that
     2   this is for Masters --                                2   it is probably stated in most of these documents.
     3      A Yes.                                             3   BY MR. LOESER:
     4      Q -- which is Account Rank number 4 for you?       4       Q So let's go to the next summary,
     5      A Yes.                                             5   backgrounders that you prepared for Kinray?
     6      Q And if you look down at Top 5 Product            6       A Yes.
     7   Sales, can you please read the first two items on     7       Q Account Rank number 5; do you see that?
     8   that list?                                            8       A Yes.
     9      A Oxy 30 and 15 milligram.                         9       Q Can you please read the first product,
    10      Q Okay. So that's oxycodone HCL 30                10   number 1 sales for you, for this wholesale
    11   milligram is number 1; is that right?                11   distributor client?
    12      A 30 milligram, yes.                              12       A Oxycodone 30 milligram.
    13      Q And number 2 is oxycodone HCL 15                13       Q Okay. What's number 2?
    14   milligram?                                           14       A Hydromorphone.
    15      A Correct.                                        15       Q Look down under your Executive Summary.
    16      Q Okay. If you look down below, under the         16   You state, "Sales finished ahead of last year's
    17   Executive Summary, you write, "Sales were down       17   pace and were being fueled by CII products."
    18   significantly due to full stocking of Mallinckrodt   18       A Yes.
    19   products at the wholesale level." Can you tell me    19       Q And that's controlled substances schedule
    20   what that means?                                     20   II products?
    21      A I don't recall what that means.                 21       A Yes.
    22      Q Okay. And then it says, "Last years sales       22       Q And that includes oxycodone?
    23   were inflated due to our back orders and our         23       A Yes.
    24   persistence to ship products to Masters over         24       Q And if you turn to the next page, you once
    25   regional wholesale accounts." Can you explain        25   again indicate "Maintaining the current sales" is
                                                  Page 251                                                 Page 253
     1   that?                                                 1   one of your objectives?
     2      A I had inherited this account, so you'd           2      A Correct.
     3   have to ask Vic Borelli that particular question,     3      Q For your fifth ranked client, top
     4   but it may -- it appears Masters was on an            4   products, oxycodone and hydromorphone for 2011,
     5   allocation list and may have received more product    5   one of your objectives is maintaining the sales
     6   than my other accounts.                               6   rate of 2010?
     7      Q And you say you "inherited this account."        7      A Correct.
     8   Does this summary that you prepared suggest that      8        MR. DAVISON: Objection to form.
     9   you were responsible for this account for fiscal      9   BY MR. LOESER:
    10   year 2010?                                           10      Q Can you turn to the next customer of
    11      A I'd had it --                                   11   yours, Account Rank number 6?
    12        MR. DAVISON: Objection.                         12      A Mm-hmm (affirmative).
    13      A I don't recall when I took the account          13      Q This is "Pharmacy Select"; do you see
    14   over.                                                14   that?
    15   BY MR. LOESER:                                       15      A Yes.
    16      Q If you turn to the next page, which             16      Q And again, you have a table that you list
    17   follows on the Challenges, list of bullets again,    17   the top selling product for that client. Can you
    18   one of your challenges is identified as              18   please read to me what that top-selling product
    19   "Maintaining the current sales"; is that right?      19   is?
    20      A (Reviewing.) Yes.                               20      A Oxycodone 30 milligram.
    21      Q And so again, your objective for this           21      Q And then down below on your Executive
    22   account for Masters, for which the top two           22   Summary, you write "Sales grew steadily for 2010
    23   products are oxycodone, your goal for 2011 was to    23   due to CII sales increases"; is that correct?
    24   maintain the current sales from 2010?                24      A Correct.
    25        MR. DAVISON: Objection to form.                 25      Q And that, again, would refer to oxycodone?

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     1       MR. DAVISON: Objection to form.                        1      Q Okay. If you go down under Executive
     2      A And our other schedule products.                      2   Summary of Account, you write, "Sales in 2010 are
     3   BY MR. LOESER:                                             3   up 79% over 2009 and are being fueled by CII
     4      Q Okay. Let's turn to the next report for               4   products mainly from the Oxycodone product
     5   Anda, Account Rank number 7 for you.                       5   families," correct?
     6      A Mm-hmm (affirmative).                                 6      A Correct.
     7      Q Under top selling products for fiscal year            7      Q So once again, you have a customer for
     8   2010, can you please read to me the two                    8   which significant growth is occurring,
     9   top-selling products?                                      9   specifically involving oxycodone product families;
    10      A Oxy 30 and Oxy 5 milligram.                          10   is that right?
    11      Q Okay. So the oxycodone HCL 30 milligram              11        MR. DAVISON: Objection to form.
    12   was the top-selling product, right?                       12      A That's right, but I believe that you would
    13      A The oxy 30 milligram was the top-selling             13   see in almost every one of these product
    14   product.                                                  14   backgrounders that oxycodone is their top selling
    15      Q In second place, oxycodone HCL 5                     15   product.
    16   milligram?                                                16   BY MR. LOESER:
    17      A Correct.                                             17      Q Okay. When did that start being the case?
    18      Q Under your Executive Summary, you state,             18      A I'm not certain.
    19   "2010 sales were up 128% with units up 145% over          19      Q Do you have any idea at all?
    20   2009 and showed slight growth due to the addition         20      A (Moves head from side to side.)
    21   of Oxycodone 5mg and 30mg in a secondary position         21      Q Was it the case when you started working
    22   with their source program."                               22   for Mallinckrodt?
    23       Can you explain what that means?                      23      A No.
    24       MR. DAVISON: Objection to form.                       24      Q Okay. Did it start in 2005?
    25      A Well, as I had stated earlier, in regards            25        MR. DAVISON: Objection.
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     1   to if you compare it to a formulary, we weren't in         1      A As I've stated, I'm retired, been out of
     2   the primary position. If Steve's Drug ordered              2   the business for four years. I have a hard time
     3   oxycodone, they would be shipped the primary               3   recollecting specific dates and specific data that
     4   product, unless they so specified on their DEA             4   you're requesting.
     5   form, ordering schedule II products.                       5   BY MR. LOESER:
     6   BY MR. LOESER:                                             6      Q Okay. If we turn to the next page,
     7      Q If you turn to the Challenges for your                7   bullets under "Challenges," once again, you
     8   client Anda, your 7th ranked client, top sales,            8   identify "Maintaining the current sales"?
     9   oxy 30. You indicate "Maintaining the sales pace           9      A Yes, sir.
    10   of 2010," so that was your objective for this             10      Q So for this client as well, the number 1
    11   account as well?                                          11   and 2 products are oxy 30 and 15. Your goal is to
    12        MR. DAVISON: Objection to form.                      12   maintain the sales level of 2010 and 2011?
    13      A Objective for all my accounts.                       13      A Mm-hmm (affirmative).
    14   BY MR. LOESER:                                            14        MR. DAVISON: Objection to form.
    15      Q Turn to your next customer, Harvard Drug?            15   BY MR. LOESER:
    16      A Yep.                                                 16      Q So we're going to skip one, which I'm sure
    17      Q Account Rank number 8. Can you please                17   you're relieved to hear, and go to Cedardale,
    18   read to me, one at a time, the top selling                18   since we've mentioned Cedardale today, Account
    19   products that you sold to Harvard Drug during             19   Rank number 11. Again, you list the top selling
    20   fiscal year 2010?                                         20   products for fiscal year 2010. Can you please
    21        MR. DAVISON: Objection to form.                      21   read those products, in order?
    22      A Oxy 30 milligram.                                    22      A Oxy 30 and oxy 15, and then APAP/CODEINE,
    23   BY MR. LOESER:                                            23   and the number five product is OXY/APAP 10/325.
    24      Q Okay. And what was second place?                     24      Q So again, the number one sales product for
    25      A Oxy 15.                                              25   you, selling controlled substances to Cedardale

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     1   for fiscal year 2010, was oxycodone 30, right?           1      A Because evidently, at that time, they
     2        MR. DAVISON: Objection to form.                     2   could be suspicious due to the product monitoring
     3      A Correct.                                            3   and the situation that was going on in Florida.
     4   BY MR. LOESER:                                           4   BY MR. LOESER:
     5      Q And the number two product that you sold            5      Q And did you examine all of your other
     6   for fiscal year 2010, to Cedardale, was oxycodone        6   accounts for the same suspicious fact?
     7   15 milligram, right?                                     7        MR. DAVISON: Objection to form.
     8      A Right.                                              8      A I didn't have reason to make that
     9        MR. DAVISON: Objection.                             9   statement with all the other accounts.
    10   BY MR. LOESER:                                          10   BY MR. LOESER:
    11      Q And if you look down under "Challenges,"           11      Q You didn't have reason with Harvard Drug
    12   the first item is "Mallinckrodt's marketing team        12   or Masters or HD Smith to examine whether they had
    13   perception of the account." What does that mean?        13   a disproportionate amount of sales in Florida?
    14        MR. DAVISON: Objection to form.                    14        MR. DAVISON: Objection to form.
    15      A This was a new distributor account, and            15      A Not at that time, no.
    16   our perception of the account was still                 16   BY MR. LOESER:
    17   questionable.                                           17      Q Turn to the Premiere Group report, Account
    18   BY MR. LOESER:                                          18   Rank 12. Again, you list the top sales for your
    19      Q Questionable, like you were suspicious of          19   wholesale distributor client here, Premier Group,
    20   the account or what?                                    20   and what -- can you please read the number one --
    21        MR. DAVISON: Objection.                            21      A Oxycodone 30.
    22      A Basically, I would assume so, yes.                 22      Q Seems like kind of a pattern, doesn't it?
    23   BY MR. LOESER:                                          23        MR. DAVISON: Objection to form.
    24      Q Okay. If you look at the next item, it             24      A It's our top-selling product.
    25   says, "CII sales imbalance." What does that mean?       25        MR. DAVISON: We've been going about an

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     1      A It means I noticed that there's a sales             1   hour. If now is a good time, I wasn't sure if you
     2   imbalance on the products that they were carrying,       2   were finished with this.
     3   where the CII sales were leaning too far to the          3        MR. LOESER: Yes.
     4   positive side.                                           4        THE VIDEOGRAPHER: Going off the record.
     5      Q And did you examine whether any of your             5   Time is 2:32 p.m.
     6   other clients had that same imbalance?                   6        (A recess was taken from 2:32 p m. until
     7      A Well, when -- when I would run my various           7   2:48 p m.)
     8   reports, I would see my top five products.               8         (Beginning without Mr. Gastel's presence.)
     9      Q Okay. But we've seen on a lot of reports            9        THE VIDEOGRAPHER: We are back on the
    10   that oxycodone was the top one and two products on      10   record. The time is 2:48 p m.
    11   every report?                                           11        (Whereupon, Exhibit Mallinckrodt-Becker-
    12      A Correct.                                           12   022 was marked for identification by the
    13      Q So did you examine the sales imbalance for         13   reporter.)
    14   all those other clients?                                14         THE REPORTER: Number 22.
    15        MR. DAVISON: Objection to form.                    15   BY MR. LOESER:
    16      A No, depending on the size of the account           16      Q Mr. Becker, you've been handed what's
    17   and their product mix.                                  17   marked Exhibit 22 MNK-T1_0000266735. This is an
    18   BY MR. LOESER:                                          18   e-mail string that at the top is from Penny Myers
    19      Q The third bullet on "Challenges" says,             19   to Jim Rausch, dated May 5th, 2010. Subject line,
    20   "State of Florida CII sales." What does that            20   "RE: HD Smith"; is that correct?
    21   refer to?                                               21      A Correct.
    22      A Meaning watch out for any of their sales           22      Q And if you turn to the back to where the
    23   in the State of Florida.                                23   e-mail string starts, do you see the e-mail from
    24      Q And why?                                           24   Penny Myers to you dated May 5th, 2010; Subject,
    25        MR. DAVISON: Objection to form.                    25   "HD Smith"?

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     1      A Yes.                                                 1   Myers was doing, she needed to talk to you in
     2      Q Who is Penny Myers?                                  2   order to figure out whether this order was
     3      A I don't know if she was product manager at           3   suspicious or not; is that fair?
     4   the time or analysis person.                              4        MR. DAVISON: Objection to form.
     5      Q Okay. And she sends you an e-mail and she            5      A That's a fair assumption.
     6   writes, "Steve, HD Smith placed an order for more         6   BY MR. LOESER:
     7   than 3 times their normal 10mg methadone. It's            7      Q Okay. And "increased compliance," that
     8   only 700+ bottles, but we have to give a reason           8   term is used. Is the description of increased
     9   for the increase"; do you see that?                       9   compliance by Ms. Myers one that you had heard
    10      A Yes.                                                10   before?
    11      Q And do you see your response to her above           11      A (Reviewing.) What I had written back to
    12   that e-mail?                                             12   Penny, is that what you're referring to?
    13      A Mm-hmm (affirmative).                               13      Q No. At the very top Penny Myers gives an
    14      Q Dated May 5th, 2010, from you to Penny              14   explanation of what -- of what --
    15   Myers. And you write, "Penny, the increase in            15      A Restating what I had stated to her?
    16   orders is due to increased compliance and new            16      Q No. She just indicates what increased
    17   pharmacies being added to their source program";         17   compliance means. And I'm wondering if you had
    18   do you see that?                                         18   heard that description of "compliance" before?
    19      A Correct.                                            19      A Well, she's referring to -- are you
    20      Q That was your response as to why they               20   stating the -- to Jim Rausch the second part,
    21   increased, right?                                        21   "Penny, sorry for my ignorance but what is
    22        (Enters the proceedings at this time:               22   increased compliance?" Is that where you're
    23   Mr. Gastel.)                                             23   asking?
    24      A Right.                                              24      Q Right. I'm sorry. You used the
    25   BY MR. LOESER:                                           25   expression "increased compliance."
                                                       Page 263                                                Page 265
     1      Q And if you go to the first page, there's             1      A Yeah, that's what --
     2   an e-mail from Jim Rausch to Penny Myers. And he          2      Q So what does that mean?
     3   writes, "Penny, sorry for the ignorance but what          3      A Increased compliance means on a source
     4   is increased compliance?"                                 4   program, you have primary A products, B would be
     5      A Mm-hmm (affirmative).                                5   secondary products. You could have shifted from
     6      Q And then above that Penny Myers' response            6   the B slot and moved to the A slot, which means
     7   to Jim Rausch on May 5th, 2010, at 1:38, and she          7   more of your account -- more of the people will
     8   writes, "No problem. When we offer a price, we            8   automatically be shipped your primary A product
     9   ask for the estimated quantity that they will             9   than you would be on the B product.
    10   purchase. If they don't purchase close to the            10        So in regards to this, if we moved into
    11   amount they estimated, we encourage them to do           11   that primary position or there was a change in the
    12   that, or their price may not remain the same, or         12   source program, we would basically be seeing
    13   their VIP provision may change."                         13   increased compliance towards their source program.
    14        Did I read that correctly?                          14      Q Okay. I think I understand what you just
    15      A Yes, did you.                                       15   said; but based upon the description that
    16      Q Okay. So going back to the beginning,               16   Ms. Myers gave here, increased compliance was
    17   there was an order flagged by Penny Myers. And so        17   something that Mallinckrodt did to make sure that
    18   what she does is she asks you to go out and figure       18   a wholesale distributor customer was purchasing up
    19   out why the order amount is increased; is that           19   to the amount that they said they were going to
    20   right?                                                   20   purchase?
    21      A Yes.                                                21        MR. DAVISON: Objection to form.
    22      Q And this order -- HD Smith was one of your          22      A No, that's --
    23   wholesale distributor customers?                         23   BY MR. LOESER:
    24      A Correct.                                            24      Q Let's look at her explanation again.
    25      Q Okay. And so whatever it was that Penny             25   "When we offer a price, we ask for the estimated

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     1   quantity that they will purchase. If they don't           1   BY MR. LOESER:
     2   purchase close to the amount they estimated, we           2      Q Mr. Becker, you've been handed what's been
     3   encourage them to do that, or their price may not         3   marked Exhibit 23.
     4   remain the same."                                         4      A Mm-hmm (affirmative).
     5      A Correct.                                             5      Q This again is an e-mail string. This time
     6      Q Okay. So that's consistent with what I               6   the cover page Bates number MNK-T1_0002940658.
     7   just said, correct?                                       7   The string starts with a message from Karen Harper
     8        MR. DAVISON: Objection to form.                      8   dated July 13th, 2010, to you. The subject is,
     9      A It is -- I think in looking at this when             9   "RE: Oxycodone HCL"; is that correct?
    10   you -- you're aware of how the contracts and             10      A Correct.
    11   source programs work; are you not?                       11      Q If we go to the beginning of the string,
    12   BY MR. LOESER:                                           12   you receive an e-mail from Christine Maiolo, who
    13      Q Let's just move on and try and get this             13   is at Anda; is that correct?
    14   answer.                                                  14      A Correct.
    15      A Well, I'm trying to answer the question.            15      Q And Anda is one of your wholesale
    16      Q Why don't you go ahead and explain what             16   distributor clients?
    17   you think I need to understand.                          17      A Correct.
    18      A I just -- a wholesaler working for their            18      Q And Christine Maiolo says to you, "Steve,
    19   source program to get the A slot, they give you a        19   I just got your message. You're still in a
    20   quantity of products that they hope to sell on           20   secondary position, but usage has picked up since
    21   that -- on their source program for the year. So         21   we brought you in 3 months ago. New forecast-
    22   compliance within that program means keeping their       22   15mg- 3,000 a month, 30mg- 11,000 a month." And
    23   orders should fall into that number to meet the          23   these -- the "15" and the "30" refers to oxycodone
    24   average that they stated.                                24   HCL?
    25      Q Right.                                              25        MR. DAVISON: Objection to form.

                                                     Page 267                                                       Page 269
     1      A That's what -- that I think is what she's            1      A Correct.
     2   referring to here.                                        2   BY MR. LOESER:
     3      Q Okay. And so when --                                 3      Q And the "3,000" refers to the number of
     4      A Hopefully I explained it properly for you.           4   bottles?
     5      Q Yes, that's consistent with what she wrote           5        MR. DAVISON: Objection to form.
     6   here. And so when the sales department is using           6      A Correct.
     7   the word "increased compliance," as you've done in        7   BY MR. LOESER:
     8   your e-mail, what you're talking about is making          8      Q As does the "11,000"?
     9   sure that customers are ordering basically up to          9      A I believe so, yes.
    10   the amounts that they indicated they would order?        10      Q And when she says that you're still in the
    11        MR. DAVISON: Objection.                             11   secondary position, that means that they are also
    12      A Up to their commitment.                             12   buying from another manufacturer who is the
    13   BY MR. LOESER:                                           13   primary position?
    14      Q And if they don't do that --                        14        MR. DAVISON: Objection.
    15         (Reporter clarification.)                          15      A Correct.
    16      A Up to their commitment.                             16   BY MR. LOESER:
    17   BY MR. LOESER:                                           17      Q And you then above the e-mail from
    18      Q And if they don't do that, then they may            18   Ms. Maiolo, e-mail Jim Rausch and Karen Harper,
    19   not get as favorable pricing going forward?              19   July 13, 2010, at 8:38 a.m. The subject line is,
    20        MR. DAVISON: Objection.                             20   "Oxycodone HCL," importance is "High"; do you see
    21      A That could happen.                                  21   that?
    22        (Whereupon, Exhibit Mallinckrodt-Becker-            22      A Mm-hmm (affirmative).
    23   023 was marked for identification by the                 23      Q And you write, "Dear Team, Mallinckrodt is
    24   reporter.)                                               24   in the secondary position on the Anda Source
    25         THE REPORTER: Number 23.                           25   program, with Qualitest being primary. Anda's

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     1   initial purchases were 3 months ago.                      1   Ms. Harper writes to Jim Rausch with a cc to you
     2         "Since bringing in the Oxycodone products           2   and Kate Muhlenkamp on July 13, 2010, at 9:18 a.m.
     3   sales have increased significantly with Anda.             3   And she writes, "Jim, increased market share, as
     4   Mallinckrodt is the markets preferred product and         4   described below for the ANDA business, is a
     5   Anda continues to build their business with               5   satisfactory explanation from the Suspicious Order
     6   non-warehousing chain tied to their CSOC program";        6   Monitoring perspective. Thanks, Steve, for
     7   do you see that?                                          7   working through this with us."
     8      A Yes.                                                 8      A Mm-hmm (affirmative).
     9      Q And then you indicate the number of                  9      Q So is it your understanding that you were
    10   bottles of oxycodone that Anda wants to purchase?        10   involved in the suspicious order monitoring
    11      A Yes.                                                11   program here by collecting more information about
    12      Q Can you explain to me what you mean by              12   the order from your client?
    13   "Mallinckrodt is the markets preferred product"?         13        MR. DAVISON: Objection.
    14      A We were the preferred product by                    14      A You'd have to ask Karen that. I got the
    15   pharmacies purchasing our product based on our           15   requested information to answer their questions on
    16   color, our shape of our product.                         16   the specific question of orders, our products that
    17      Q What do you mean by "color"?                        17   were in place, for them to release the order.
    18      A Color of the tablet.                                18   BY MR. LOESER:
    19      Q The blue tablet?                                    19      Q Can you explain to me how your explanation
    20        MR. DAVISON: Objection.                             20   resolved any concerns about this being a
    21      A Could be.                                           21   suspicious order?
    22   BY MR. LOESER:                                           22        MR. DAVISON: Objection.
    23      Q Is that your recollection, that they were           23      A It clarified the numbers and why they were
    24   blue?                                                    24   seeing the increase in the numbers on the
    25      A I don't recall what color they were.                25   oxycodone orders.

                                                       Page 271                                                    Page 273
     1      Q And people liked taking blue tablets?                1   BY MR. LOESER:
     2        MR. DAVISON: Objection.                              2      Q So other than this e-mail exchange between
     3      A Not necessarily like blue tablets. A                 3   you and Christine Maiolo in which she indicates
     4   generic company when they come out with a generic         4   the amount that she's ordering, in your position
     5   product, one of their objectives in manufacturing         5   vis-a-vis their other manufacturers, were there
     6   when they come -- bring that product to the market        6   any other information that you collected that
     7   front is to resemble as close as possible to the          7   would help resolve whether this was a suspicious
     8   innovator product, in color and shape, is one of          8   order?
     9   the primary goals of a manufacturer when bringing         9        MR. DAVISON: Objection.
    10   a product forward.                                       10      A Not to my recollection.
    11        I don't know if that's the case with our            11   BY MR. LOESER:
    12   oxycodone, but we were the preferred product of          12      Q Did you examine the ratio of controlled
    13   oxycodone, I believe, in the marketplace.                13   substances to noncontrolled substances that Anda
    14   BY MR. LOESER:                                           14   was purchasing from Mallinckrodt?
    15      Q And the innovator of oxycodone was who?             15        MR. DAVISON: Objection.
    16        MR. DAVISON: Objection.                             16      A Not to my recollection.
    17      A I'm not certain. Maybe Roxane or Purdue.            17   BY MR. LOESER:
    18      Q But nonetheless, this is e-mail exchange            18      Q Did you examine the ratio of products that
    19   between you and one of your clients about one of         19   Anda was selling and shipping to customers in
    20   their orders. You then take that and communicate         20   Florida versus other states?
    21   to your product managers that one of your                21      A Not to my recollection.
    22   wholesale distributor clients is increasing the          22        MR. DAVISON: Objection.
    23   amount that they are buying?                             23   BY MR. LOESER:
    24      A Correct.                                            24      Q Did you examine the proportion of
    25      Q And if you turn to the next page,                   25   downstream customers of Anda that were pain

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     1   clinics or dispensing physicians?                        1   the Kearny, N.J. location for 900 bottles of code
     2        MR. DAVISON: Objection.                             2   577101. They average from order history is about
     3      A No, best of my recollection.                        3   290 bottles per order. Do you know why they would
     4   BY MR. LOESER:                                           4   have such a large increase?" Did I read that
     5      Q If you go to the top of this e-mail                 5   correctly?
     6   exchange, where the string starts, Ms. Harper            6      A Yes, you did.
     7   writes to you 2:52 p.m. "Steve, Long story, but          7      Q Do you see moving forward from there,
     8   this just in --- has DEA taken action against ANDA       8   Ms. Myers says to -- I guess it's Ms. Randall,
     9   in the Ft. Lauderdale area? Our Security Director        9   September 7, 2010, "LouAnn, Does Steve Becker have
    10   was just speaking to a DEA Florida agent who            10   HD Smith? Could you please send him this e-mail
    11   mentioned problems with them . . . in a discussion      11   and ask him to let Jim Rausch know why they are
    12   about Mallinckrodt providing Oxy placebos (which        12   placing such a large order? I don't know if they
    13   we were doing) and about Sunrise registration           13   are afraid that we will run out of quota, but
    14   surrender."                                             14   that's not a problem, so I'd rather they didn't
    15        Do you recall that conversation with               15   start stockpiling. I just wasn't sure if it was
    16   Ms. Harper?                                             16   Steve's or not."
    17      A No.                                                17        Who is LouAnn Randall?
    18      Q Do you recall the DEA taking action                18      A She was one of the secretary assistants.
    19   against Anda?                                           19      Q Okay. And then moving ahead, the string
    20      A No, I don't.                                       20   moves on to you at that point, from LouAnn Randall
    21      Q Do you recall why Ms. Harper is asking you         21   to you, dated September 8, 2010, same subject;
    22   about your understanding of any DEA action against      22   "H.D. Smith- order." "Steve, please see Penny's
    23   Anda?                                                   23   comments below. Do you know why HD Smith is
    24        MR. DAVISON: Objection to form.                    24   placing this large Methadone order?" Do you see
    25      A She'd be asking me questions about Anda            25   that?

                                                    Page 275                                                          Page 277
     1 because it was my account.                                 1      A Yes.
     2 BY MR. LOESER:                                             2      Q And then up above you respond on
     3     Q Do you know what she's referring to here,            3   September 8, 2010, at 8:13 a.m. And can you read
     4 the "Oxy placebos"?                                        4   your response?
     5      A No, I don't.                                        5      A "They decreased inventories in August due
     6        MR. DAVISON: Objection.                             6   to their fiscal year end."
     7      A You'd have to ask Karen Harper that.                7      Q Okay. And then moving up from there,
     8        (Whereupon, Exhibit Mallinckrodt-Becker-            8   LouAnn Randall sends your answer on to Penny Myers
     9   024 was marked for identification by the                 9   and cc's you. And says, "Per Steve, this HD Smith
    10   reporter.)                                              10   order is a legitimate order. Please contact Steve
    11        THE REPORTER: 24.                                  11   Becker if you have further questions." Do you see
    12   BY MR. LOESER:                                          12   that?
    13      Q Mr. Becker, you've been handed Exhibit 24,         13      A Mm-hmm (affirmative).
    14   Bates number MNK-T1_0004595209. This is an e-mail       14      Q So how does your explanation establish
    15   string that starts at the top with Jim Rausch,          15   that this is a legitimate order?
    16   dated September 8, 2010, to LouAnn Randall, "RE:        16        MR. DAVISON: Objection to form.
    17   H.D. Smith- order 70176900"; do you see that?           17      A Wholesalers many times in their fiscal
    18      A Mm-hmm (affirmative).                              18   year-end conduct inventory, take inventory, reduce
    19      Q And you see that this e-mail string                19   their inventories for their accounting purposes.
    20   includes e-mail to and from you as well?                20   And that's basically what took place here.
    21      A Yes.                                               21   BY MR. LOESER:
    22      Q So let's go to the back of the string.             22      Q And other than finding out about what they
    23   And if you look at where it starts, Mr. Rausch          23   were doing with their inventory, did you do
    24   sends Penny Myers an e-mail on September 7, 2010.       24   anything else to investigate whether this order
    25   And it states, "Penny, we received an order from        25   was suspicious?

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     1        MR. DAVISON: Objection.                              1         So once again here is your product manager
     2      A No. You'd have to ask Karen Harper on                2   and Mr. Rausch contacting you to obtain
     3   that.                                                     3   information about an order that has been
     4   BY MR. LOESER:                                            4   identified, as in this case, peculiar; is that
     5      Q And looking at what Ms. Randall says to              5   right?
     6   Mr. Rausch, she says, "Per Steve, this HD Smith           6        MR. DAVISON: Objection to form.
     7   order is a legitimate order." And so this                 7      A Could you repeat that? I'm sorry.
     8   indicates that the decision as to whether this was        8        MR. LOESER: Could you read that back,
     9   a legitimate order or not was based upon the              9   please.
    10   information that you provided; is that correct?          10        (The record was read by the reporter as
    11      A It appears so.                                      11   follows:
    12        MR. DAVISON: Objection to form.                     12         Question: "So once again here is your
    13        (Whereupon, Exhibit Mallinckrodt-Becker-            13   product manager and Mr. Rausch contacting you to
    14   025 was marked for identification by the                 14   obtain information about an order that has been
    15   reporter.)                                               15   identified, as in this case, peculiar; is that
    16         THE REPORTER: Number 25.                           16   right?"
    17   BY MR. LOESER:                                           17        MR. DAVISON: Objection to form.
    18      Q Mr. Becker, you've been handed Exhibit 25,          18      A That's correct.
    19   which is another e-mail string, first page               19   BY MR. LOESER:
    20   MNK-T1_0000267546. Top of the string is an e-mail        20      Q And then moving up the chain, you send an
    21   from Kate Muhlenkamp to Jim Rausch, cc'd to you,         21   e-mail on October 7 at 10:55 a.m. to Kate
    22   Order 70178685, importance indicates "High"; is          22   Muhlenkamp, again the importance is "High." And
    23   that correct?                                            23   you write, "Kate in regards to Quest they
    24      A Correct.                                            24   indicated that their core accounts are requesting
    25      Q Okay. If you go to where this chain                 25   Mallinckrodt products over Qualitest and that is
                                                      Page 279                                                 Page 281
     1   starts, Mr. Rausch sends Ms. Muhlenkamp an e-mail         1   what is causing the spike on our sales with them";
     2   September 29, 2010. He writes, "H.D. Smith                2   do you see that?
     3   ordered 960 bottles of 853001" -- is that a SKU           3      A Yes, I don't.
     4   number?                                                   4      Q "Please let me know if you need any
     5      A I believe so.                                        5   additional information and I will follow up with
     6      Q -- "their average is 256 over 9 months.              6   you on HD Smith and Kinray later today after I
     7   Do you know why they have increased their orders?         7   speak directly with the buyers."
     8   Thanks, Jim"; do you see that?                            8      A Mm-hmm (affirmative).
     9      A Mm-hmm (affirmative).                                9      Q Right. So you obtained information from
    10      Q And up above that Mr. Rausch writes Kate            10   your wholesale distributor client and provided
    11   Muhlenkamp, "Kate, two open peculiar order               11   that information to Ms. Muhlenkamp; is that right?
    12   responses needed." First of all, do you know what        12      A I believe so.
    13   a peculiar order is?                                     13      Q And that was the normal course where if an
    14      A No. You'd have to ask Jim Rausch that.              14   order was identified as suspicious or peculiar,
    15      Q Okay. And then the e-mail goes on to                15   the product manager would contact you, ask you to
    16   state, "You were going to check with Steve Becker        16   obtain information from your customer and then the
    17   Quest Order for Oxycodone. Secondly I need a             17   decision as to whether that order was suspicious
    18   response on the e-mail below. Thanks."                   18   or not was based upon the information you
    19        Do you see up above from there                      19   obtained?
    20   Ms. Muhlenkamp in an e-mail dated October 5th,           20        MR. DAVISON: Objection.
    21   2010, the next day writes to you, "Steve... can          21      A It appears that way, yes.
    22   you check on the below order and advise?                 22        MR. DAVISON: Objection to form.
    23   Additionally, Quest has been increasing their            23        Did you get my objection?
    24   orders on Oxycodone - do you have any background         24         (Reporter clarification.)
    25   on that? Thanks for your help."                          25   BY MR. LOESER:

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     1      Q And your explanation sum total which is                1      A Yes.
     2   that their -- Quest indicated that their core               2      Q That's on October 7, 2010. And the e-mail
     3   accounts are requesting Mallinckrodt products over          3   states, "Sales increased in August and September,
     4   Qualitest and that is what's causing the spike,             4   and are tracking at an increase for October. The
     5   how did that rule out that the order was                    5   order in question with the increase was for your
     6   suspicious?                                                 6   California DC." What's DC?
     7        MR. DAVISON: Objection.                                7      A Distribution center.
     8      A You'd have to ask Karen Harper that.                   8        MR. DAVISON: Objection.
     9   BY MR. LOESER:                                              9   BY MR. LOESER:
    10      Q Okay. Did you look into the ratio of                  10      Q Okay. And that was an explanation
    11   controlled substances to noncontrolled substances          11   provided by Ms. Soja. And then above that you see
    12   that Quest was ordering at that time?                      12   your e-mail to Kate Muhlenkamp at 12:20 p m.?
    13        MR. DAVISON: Objection to form.                       13      A Mm-hmm (affirmative).
    14      A No, I didn't. Most of our products were               14      Q You write, "Please see the response from
    15   controlled substances.                                     15   Lynne Soja, buyer for the HD Smith below. Sales
    16   BY MR. LOESER:                                             16   are increasing at the DC and tracking to
    17      Q How about the ratio of oxycodone to other             17   continue."
    18   products?                                                  18      A Mm-hmm (affirmative).
    19      A No, I didn't look into that at the time.              19      Q Correct?
    20      Q And how about the ratio of products that              20        So I gather Ms. Muhlenkamp asked a
    21   this wholesale distributor customer was sending to         21   question about this HD Smith order. You asked for
    22   Florida versus other places?                               22   the information from Ms. Soja and then you
    23        MR. DAVISON: Objection.                               23   forwarded that information back to Ms. Muhlenkamp;
    24      A No, I didn't look at that at the time.                24   is that right?
    25   BY MR. LOESER:                                             25        MR. DAVISON: Objection.

                                                         Page 283                                                   Page 285
     1      Q How about the ratio of pain clinics and                1      A It appears that way.
     2   dispensing physicians that this wholesale                   2   BY MR. LOESER:
     3   distributor customer of yours was sending its               3      Q Then moving up the string, Ms. Muhlenkamp
     4   Mallinckrodt product as opposed to other types of           4   writes to you at 2:12 p.m. on October 7, "In order
     5   customers?                                                  5   to provide a proper response to the DEA, we need
     6        MR. DAVISON: Objection.                                6   to have some color around why they think the
     7      A I didn't have that information. You'd                  7   orders are increasing? Did they pick up a new
     8   have to ask Karen Harper on that.                           8   customer? Are other manufacturers having supply
     9         (Whereupon, Exhibit Mallinckrodt-Becker-              9   issues? Let me know." Do you see that?
    10   026 was marked for identification by the                   10      A Yes.
    11   reporter.)                                                 11      Q So once again, there's an order that's
    12         THE REPORTER: Number 26.                             12   been flagged and you are being asked to collect
    13   BY MR. LOESER:                                             13   information from your wholesale distributor
    14      Q Mr. Becker, you've been handed Exhibit 26,            14   customer in order to respond to questions about
    15   which is another e-mail string from Kate                   15   whether the order is suspicious; is that right?
    16   Muhlenkamp to Jim Rausch. And then with other              16      A Correct.
    17   e-mails that involve you. First page has Bates             17      Q And then if you move up the chain, on
    18   number MNK-T1_0000267735.                                  18   October 7, 2010, at 2:23 p.m. you write, "Orders
    19        And you see at the top of the string, it's            19   at HD Smith are increasing due to improved
    20   dated October 7, 2010; is that correct?                    20   contract compliance and additional accounts
    21      A Yes.                                                  21   purchasing from their DC both as primary and on a
    22      Q If we go to the back of this string,                  22   secondary basis. Also note that the other
    23   there's an e-mail from Lynne Soja from HD Smith to         23   distributors may be limiting distribution in
    24   you and Dena Mando, subject "PO# 47204618"; do you         24   California. Anda has cut back and Harvard is not
    25   see that?                                                  25   shipping."

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     1       So explain to me why that information               1      A Correct.
     2   resolves whether HD Smith's order is suspicious?        2   BY MR. LOESER:
     3       MR. DAVISON: Objection to form.                     3      Q So once again, it appears that the
     4      A Anda evidently was no longer shipping C-II         4   information that you obtained from your wholesale
     5   products so it put additional strains on the DC at      5   distributor customer was being used by product
     6   HD Smith and Anda had cut back, according to the        6   manager, Mr. Rausch, to determine whether the
     7   information I had received.                             7   order was suspicious; is that right?
     8   BY MR. LOESER:                                          8        MR. DAVISON: Objection.
     9      Q And why was Anda no longer shipping C-II           9      A You'd have to ask them if they looked at
    10   product?                                               10   any other criteria.
    11       MR. DAVISON: Objection.                            11   BY MR. LOESER:
    12      A You'd have to ask Anda that.                      12      Q Does it appear, however, that they're
    13   BY MR. LOESER:                                         13   relying on the information that you provided?
    14      Q And why was Harvard not shipping anymore?         14        MR. DAVISON: Objection.
    15       MR. DAVISON: Objection.                            15      A They're using that information, correct.
    16      A They may have been shut down from their           16         (Whereupon, Exhibit Mallinckrodt-Becker-
    17   DEA license.                                           17   027 was marked for identification by the
    18   BY MR. LOESER:                                         18   reporter.)
    19      Q And so that didn't provide you any concern        19         THE REPORTER: Number 27.
    20   about whether HD Smith should continue shipping?       20   BY MR. LOESER:
    21       MR. DAVISON: Objection.                            21      Q Mr. Becker, you've been handed another
    22      A No.                                               22   e-mail string. This time the beginning top of the
    23   BY MR. LOESER:                                         23   page is an e-mail from Charity Keeven to Victor
    24      Q And did you examine at that point for HD          24   Borelli with a cc to Jane Williams, dated
    25   Smith the ratio of oxycodone to other products it      25   3/14/2001 (sic), Bates number MNK-T1_0000560836;

                                                     Page 287                                                     Page 289
     1   was purchasing from Mallinckrodt?                       1   is that correct?
     2      A No.                                                2      A Correct.
     3        MR. DAVISON: Objection.                            3      Q So if you look at the e-mail from
     4   BY MR. LOESER:                                          4   Ms. Keeven; who is that?
     5      Q And did you examine at that point the              5      A I'm not certain. I don't recall her, if
     6   ratio of HD Smith's downstream customers that were      6   she got married, had a different name or not.
     7   in Florida versus other places?                         7   Some -- I -- most -- I'm not certain.
     8        MR. DAVISON: Objection.                            8      Q All right. Well, the subject of this
     9      A No.                                                9   e-mail is, "RE: Backorder Priority customers"; do
    10   BY MR. LOESER:                                         10   you see that?
    11      Q And this -- I see this reference to               11      A Could you repeat that, please.
    12   improved contract compliance again. That merely        12      Q The subject of the e-mail is, "RE:
    13   means that they are continuing to buy at the rate      13   Backorder Priority customers"; do you see that?
    14   that they indicated that they would buy as we          14      A Mm-hmm (affirmative).
    15   talked about earlier; is that right?                   15      Q And it indicates there's an attachment
    16        MR. DAVISON: Objection.                           16   which is a backorder priority customers
    17      A Continuing to purchase products at a              17   spreadsheet; do you see that?
    18   normal rate with accounts being more compliant         18      A (Reviewing.) A spreadsheet?
    19   within the source program set up by HD Smith.          19      Q Right. The e-mail indicates that there's
    20   BY MR. LOESER:                                         20   an attachment.
    21      Q And then if you look to the beginning of          21      A Yes, but I don't have the attachment.
    22   the chain, Ms. Muhlenkamp sends on to Mr. Rausch       22      Q All right. So if you turn to the next
    23   your explanation and asks him if this is okay; is      23   page, or actually go to the bottom of the page,
    24   that right?                                            24   the e-mail from Charity Keeven on March 7, 2011 --
    25        MR. DAVISON: Objection.                           25      A Yes.

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                                                 Page 290                                                      Page 292
     1      Q -- goes to you and a number of other            1        MR. LOESER: Why don't we off the record
     2   people as well; is that right?                       2   for a moment.
     3      A Yes.                                            3        MR. DAVISON: We can go off the record.
     4      Q And the people that are included on here        4        THE VIDEOGRAPHER: Going off the record.
     5   are national account managers?                       5   The time is 3:21 p m.
     6      A Yes, and product managers.                      6        (A recess was taken from 3:21 p m. until
     7      Q And product managers. And the subject is        7   3:22 p.m.)
     8   "Backorder Priority customers," right?               8        (Whereupon, Exhibit Mallinckrodt-Becker-
     9      A Correct.                                        9   028 was re-marked for identification by the
    10      Q And if you turn the page, there's an           10   reporter.)
    11   e-mail from Ms. Keeven and she writes, "Hi          11        THE VIDEOGRAPHER: We are back on the
    12   Everyone, Attached is a list of our customers and   12   record. The time is 3:22 p.m.
    13   the priority in which we have been shipping         13   BY MR. LOESER:
    14   backorders. The first tab 'Class of Trade' lists    14      Q Mr. Becker, you're looking at Exhibit 28,
    15   the customers and their class of trade in the       15   which is the attachment to the e-mail we were
    16   order of which we ship. The second tab 'By          16   talking about with priority -- backorder priority
    17   product family' is broken out by product            17   customers. And if you look at that list, you'll
    18   family" -- and I'll skip. And then it says, "The    18   see there's a number of customers with the class
    19   third tab 'Not shipping Oxy 30' lists the           19   of trade that says "Retail" followed by a group
    20   customers were are currently not shipping           20   "Retail Buying Group" --
    21   Oxy 30 mg and their average demand."                21      A Mm-hmm (affirmative.)
    22        Do you see that?                               22      Q -- followed by "Mail Order" --
    23        MR. DAVISON: Objection to form.                23      A Mm-hmm (affirmative.)
    24      A Yes.                                           24      Q -- and on down the list.
    25   BY MR. LOESER:                                      25      A Yes, sir.
                                                 Page 291                                                     Page 293
     1      Q Okay. Do you recall receiving this --           1      Q Do you have any understanding of the
     2      A No, I don't.                                    2   reason for this particular order of priority?
     3      Q -- spreadsheet that indicates backorder         3         MR. DAVISON: Objection to form.
     4   priority customers?                                  4      A You're referring to the column on the
     5      A No, I don't recall this specifically.           5   right-hand side of the page, "Class of Trade
     6      Q Do you recall there being a priority list       6   Priority"?
     7   made of shipment to customers?                       7   BY MR. LOESER:
     8      A We would do that occasionally, if               8      Q Yes, yes.
     9   backorders and allocated product came up.            9      A You'd have to ask product managers that
    10      Q Turn to the attachment.                        10   specific question on why and how they formulated
    11         (Whereupon, Exhibit Mallinckrodt-Becker-      11   that priority list.
    12   028 was marked for identification by the            12      Q And you don't have any understanding?
    13   reporter.)                                          13         Where did your customers fall on this
    14         THE REPORTER: Number 28.                      14   list?
    15   BY MR. LOESER:                                      15      A It would depend what type of accounts.
    16      Q Handing you the attachment that is the         16   Looking through on the top ones, on the retail
    17   first tab identified on that e-mail. And can you    17   side (reviewing), just looking, Publix may have
    18   look at that for a moment and explain how the       18   been mine at one time, SuperValu may have been
    19   priority functions, what the order is?              19   mine at one time. I'm not --
    20         MR. DAVISON: Just hold off for a second.      20      Q And do you have any understanding why
    21   I don't think we have copies of this yet. You       21   retail would be the top priority for backorders?
    22   don't have to -- let me just look at the exhibit    22         MR. DAVISON: Objection.
    23   quickly.                                            23      A No, I don't. I think this is a little
    24         MR. LOESER: Why don't we add...               24   confusing because if you look at -- if you look at
    25         THE WITNESS: Do you need this?                25   wholesalers and distributors, and I don't see our

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     1   major wholesalers on this list, so...                 1        And if you look down at the bottom, it
     2   BY MR. LOESER:                                        2   starts with an e-mail from Ms. Madden, who is at
     3      Q Who are your major wholesalers?                  3   Masters, to you on April 7, 2011; subject, "Oxy
     4      A Your major wholesalers would be the big          4   30." She writes, "We are out. Any chance of
     5   three, McKesson, ABC, and Cardinal. HD Smith          5   getting some shipped asap? I know you are
     6   would fall in behind them, they're wholesalers.       6   allocating just don't want to sub with kvk"?
     7      Q AmerisourceBergen is listed under                7         So --
     8   distributor, Cardinal is listed under distributor.    8        MR. DAVISON: Can we just hold on for one
     9      A Is that over on the second page? Okay. I         9   second so I can review the document. I don't
    10   see them, yes. I see them now.                       10   think you have a copy for us.
    11      Q So and do you have any understanding why        11        MR. LOESER: Oh, I'm sorry.
    12   all of the distributors are in the bottom priority   12        THE WITNESS: (Handing.)
    13   for backorder fulfillment?                           13        MR. DAVISON: (Reviewing.)
    14      A No, I don't.                                    14        MR. LOESER: Can we go off the record for
    15        MR. DAVISON: Objection.                         15   a minute.
    16        Sorry. I just want to be clear with this        16        THE VIDEOGRAPHER: Going off the record.
    17   document, are you representing, Counsel, that this   17   The time is 3:27 p m.
    18   is the attachment to the bottom e-mail in Exhibit    18        (A recess was taken from 3:27 p m. until
    19   27? It's just again the Bates numbers are            19   3:28 p.m.)
    20   different, so I just want to make sure the record    20        THE VIDEOGRAPHER: We are back on the
    21   is clear on...                                       21   record. Time is 3:28 p m.
    22        MR. LOESER: Yeah, I believe that's the          22      A Number 029.
    23   case, but we can -- you know, we can look into it.   23   BY MR. LOESER:
    24   Again, it might be the native file issue.            24      Q Mr. Becker, you have in front of you
    25        MR. DAVISON: Understood.                        25   Exhibit 29, which again is an e-mail string that
                                                  Page 295                                                     Page 297
     1   BY MR. LOESER:                                        1   starts from Ms. Madden at Masters to you. She
     2      Q And, Mr. Becker, if you turn the page,           2   indicates that Masters is out of oxy. And she
     3   you'll see the "Distributor" column continues and     3   writes, "I know you're allocating just don't want
     4   McKesson is on the list.                              4   to sub with kvk." Can you explain what she means
     5      A Mm-hmm (affirmative).                            5   by that?
     6      Q But I did misspeak, "GPO" and                    6        MR. DAVISON: Objection to form.
     7   "Repackagers" are below "Distributors." What are      7      A KVK was competitor and didn't want to
     8   GPOs?                                                 8   substitute our orders evidently.
     9      A GPO's are like managed care account.             9   BY MR. LOESER:
    10      Q And what are repackagers?                       10      Q So she's saying to you that basically if
    11      A Repackagers would be somebody that would        11   you don't get her the product that she needs,
    12   purchase Mallinckrodt product, put it under their    12   she'll go to another manufacturer for the product?
    13   label, for -- normally that product would be used    13        MR. DAVISON: Objection to form.
    14   in a nursing home setting, so they would repackage   14      A It's what it looks like, yes.
    15   product as unit of use or unit dose.                 15   BY MR. LOESER:
    16      Q Okay.                                           16      Q Okay. And then you write a response to
    17         (Whereupon, Exhibit Mallinckrodt-Becker-       17   her above that and you write, "Dear Chrissy, The
    18   029 was marked for identification by the             18   update I last sent you still holds and we do not
    19   reporter.)                                           19   have any product available to ship.
    20         THE REPORTER: Number 29.                       20         "Please note that the Oxycodone 30mg will
    21   BY MR. LOESER:                                       21   continue to have rolling back orders through the
    22      Q Mr. Becker, you've been handed Exhibit 29,      22   spring."
    23   which is an e-mail from you to Chrissy Madden        23        And again is that because Mallinckrodt had
    24   dated April 11, 2001 (sic), subject line is, "RE:    24   sold out of all of the oxy 30 that it had at that
    25   Oxy 30."                                             25   point?

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                                                      Page 298                                                  Page 300
     1        MR. DAVISON: Objection to form.                       1   to stick with the original prioritization of
     2      A There may have been a manufacturing issue             2   customers for Oxy 30. Value Drug was on the list
     3   or there could have been quota issues with this            3   of customers that we planned to not ship during
     4   particular product. I don't recall.                        4   this time."
     5   BY MR. LOESER:                                             5      A Mm-hmm (affirmative).
     6      Q Okay. But whatever it was, Mallinckrodt               6      Q Do you recall why Value Drug was on the
     7   did not have the product to deliver to Masters,            7   list to not ship as of that time?
     8   right?                                                     8      A No, I don't.
     9      A Not to Masters evidently.                             9      Q And do you see moving up that chain on
    10      Q And you write, "We at Mallinckrodt                   10   April 29th at 9:04 you send an e-mail to
    11   apologize for the inconvenience that we have              11   Ms. Keeven, cc to Jane Williams; the subject is
    12   caused in our service level to Masters and I will         12   "OXYCODONE 30MG"?
    13   keep you updated on availability."                        13         "Any update, I request that you take some
    14      A Mm-hmm (affirmative).                                14   product from the HD Smith allocations and send
    15      Q So were you concerned at all at that point           15   them some product on Oxycodone 30"; do you see
    16   in April of 2011 about the amount of oxy 30 that          16   that?
    17   Masters was ordering from Mallinckrodt?                   17      A Yes.
    18      A I don't recall.                                      18      Q Do you recall why you asked for that to
    19        MR. DAVISON: Objection.                              19   happen?
    20        (Whereupon, Exhibit Mallinckrodt-Becker-             20      A I don't recall specifically why I asked
    21   030 was marked for identification by the                  21   that, but it was obviously a allocated product.
    22   reporter.)                                                22   And with my accounts, I would look at accounts if
    23         THE REPORTER: Number 30.                            23   we could take product that was being allocated to
    24   BY MR. LOESER:                                            24   one account, ship it to another account.
    25      Q Mr. Becker, you have in front of you                 25      Q Okay.
                                                        Page 299                                                Page 301
     1   Exhibit 30, which is an e-mail chain, top of which         1      A And that's obvious. It appears that's
     2   is an e-mail from you to Charity Keeven, dated             2   what I was doing.
     3   May 4th, 2011; subject, "RE: OXYCODONE 30MG."              3      Q So there was -- again Mallinckrodt did not
     4         Let's flip to the back of that chain. Do             4   have enough product to keep all of its customers
     5   you see Tom Donohue from Value Drug sends you an           5   happy?
     6   e-mail on April 28th, 2011; subject, "OXYCODONE            6        MR. DAVISON: Objection. Objection to
     7   30." And he writes, "Steve, Need an update on              7   form.
     8   Oxycodone 30mg. Would McKesson have this stock?            8   BY MR. LOESER:
     9   I haven't had for roughly 6 to 8 weeks"; do you            9      Q Is that fair?
    10   see that?                                                 10      A It appears that way.
    11      A Which page is it?                                    11      Q They needed more oxy 30 than Mallinckrodt
    12      Q Very last page.                                      12   had on hand to provide?
    13      A Oh, yes. I see that.                                 13        MR. DAVISON: Objection to form.
    14      Q Okay. And you see your response you send             14      A It appears that way.
    15   on to Ms. Keeven, you've attached the e-mail from         15   BY MR. LOESER:
    16   your wholesale distributor --                             16      Q If you move up chain, there's an e-mail
    17      A Mm-hmm (affirmative.)                                17   from Jane Williams to Charity Keeven and to you.
    18      Q -- client. And you write, "Charity,                  18   And again, this is all attached. It's one long
    19   Value Drug is in need of Oxycodone 30mg. Can we           19   string. This is on April 29th at 9:28 a.m. And
    20   send them some so they can service some of their          20   Ms. Williams writes, "Hi Steve, I put a
    21   accounts that use McKesson"; do you see that?             21   recommendation out to Charity and Lisa yesterday
    22      A Mm-hmm (affirmative).                                22   copying Ginger. It was more of an ongoing
    23      Q And then up above that at 12:05 on the               23   philosophy.
    24   same day, she responds, "Hi Steve, Unfortunately          24        "As it relates to this specific situation
    25   we are in such short supply right now that we have        25   with HD Smith. You are aware of the extremely

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     1   limited supply we have available. We have not         1   Would that be all right?" Do you see that?
     2   made a change to our allocation process or the        2      A Yes, I do.
     3   priority customers as of this moment in time."        3      Q And then moving to the next page you
     4        And then skipping down below, it says,           4   respond, "Yes please ship."
     5   "Charity and Lisa, with this message I am             5      A Mm-hmm (affirmative).
     6   requesting that we make a small amount of product     6      Q Right? And then moving up from there
     7   available to Value Drug and take the allocation       7   there's confirmation from Ms. Keeven that "492
     8   from Cardinal. By small I mean no more than 60        8   bottles out of the 900 order" -- "out of the 900
     9   bottles"; do you see that?                            9   ordered has been allocated to their order and
    10      A Yes, I do.                                      10   scheduled to ship overnight." Okay.
    11      Q Okay. And then if you move forward,             11      A Mm-hmm (affirmative).
    12   there's an e-mail from Ms. Keeven to you and to      12      Q So in this exchange, if we go all the way
    13   others, continuing in this string, May 4, 2011,      13   back to the beginning it starts with your customer
    14   11:56 a.m. And she writes, "Hi Steve, I just saw     14   indicating to you that they need oxy 30; is that
    15   your e-mail regarding Value Drug and Oxy 30...       15   right?
    16   Have they received the 60 bottles I allocated to     16      A Correct.
    17   them Friday? Is this in addition to that," right?    17      Q And you were told that they weren't
    18      A I see that, yes.                                18   allowed to have any because none was going to be
    19      Q Okay. And moving up you respond, "Yes           19   allocated to them, right?
    20   they got the 60. I know we are under" -- I think     20        MR. DAVISON: Objection.
    21   you meant to say "severe"; but it says, "I know we   21      A Correct.
    22   are under serve stains but OptiSource accounts are   22   BY MR. LOESER:
    23   pushing me hard to delivery. As you can see in       23      Q After sending e-mail back and forth with
    24   the e-mails, this one and Rochester Drug other       24   Ms. Keeven and others, the decision was made to
    25   accounts serviced by the big 3 are getting           25   ship 60 bottles, even though they weren't
                                                  Page 303                                                          Page 305
     1   products and the pharmacies are starting" --          1   allocated any in the first place; is that right?
     2   "stating" but I think you meant "starting that        2        MR. DAVISON: Objection to form.
     3   they will change wholesalers.                         3      A Correct.
     4         "We are now hurting the OptiSource              4   BY MR. LOESER:
     5   wholesalers as accounts are looking to move their     5      Q And then after further exchange, instead
     6   business."                                            6   of 60 bottles -- or in addition to 60 bottles,
     7         So here again it appears that your              7   another 492 bottles were shipped to the client; is
     8   customers are growing quite upset that you don't      8   that right?
     9   have enough oxy to satisfy all their demands; is      9        MR. DAVISON: Objection to form.
    10   that right?                                          10      A That's correct.
    11        MR. DAVISON: Objection to form.                 11        (Whereupon, Exhibit Mallinckrodt-Becker-
    12      A Yes.                                            12   031 was marked for identification by the
    13   BY MR. LOESER:                                       13   reporter.)
    14      Q And do you recall why, what's going on          14         THE REPORTER: Number 31.
    15   with the big three and why they are able to          15   BY MR. LOESER:
    16   provide product when --                              16      Q You have Exhibit 31. This is an e-mail
    17      A They were allocated a higher amount of          17   from Jane Williams to you dated August 31st, 2012;
    18   product based on their use.                          18   Subject, "RE Smith Drug Hydro/Apap SOM inquiry";
    19      Q And then moving up, Ms. Keeven responds to      19   do you see that?
    20   you on May 4th, 2011, at 12:16, "Steve, I am happy   20      A Yes.
    21   to send whatever is needed to keep the business, I   21      Q So if you go to the beginning of this
    22   just wanted to make sure it was in addition and      22   string, you'll see at the bottom of the first page
    23   Friday's allocation was not overlooked. It           23   there's an e-mail from Eileen Spaulding to
    24   appears that Value Drug has 1908 bottles on order.   24   Jennifer Bullerdick.
    25   I can ship around 500 bottles in case quantity.      25        And it states, "Jennifer, 3 orders have

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                                                      Page 306                                                       Page 308
     1   gone on hold for SOM review for Smith Drug for           1        MR. DAVISON: Objection to form.
     2   Hydro/Apap 7.5 and 10"--I'm skipping some of the         2      A This particular incident, I don't recall.
     3   numbers--"for their different DC's. The orders           3   BY MR. LOESER:
     4   placed are significantly higher than their past          4      Q Okay. So this is another example, though,
     5   ordering history even taking account" -- "even           5   of an order that came up as being potentially
     6   taking into account that they might be ordering          6   suspicious where the call went out to you to
     7   today for next week due to the Labor Day holiday.        7   collect the information necessary to determine
     8        "Can you provide any additional                     8   whether the order should ship or not; is that
     9   information for use in the SOM review?"                  9   right?
    10        Do you see that?                                   10        MR. DAVISON: Objection to form.
    11      A Yes, I do.                                         11      A Yes.
    12      Q And HD Smith was -- or Smith Drug was your         12         MR. LOESER: Can we go off the record?
    13   customer; is that right?                                13        THE VIDEOGRAPHER: We are going off the
    14      A Correct.                                           14   record. The time is 3:40 p.m.
    15      Q And so you were then e-mailed by                   15        (A recess was taken from 3:40 p m. until
    16   Ms. Bullerdick on August 31st, 2012, at 12:18.          16   3:54 p.m.)
    17       I'm sorry. Below that at 10:55 a.m. She             17        THE VIDEOGRAPHER: We are going back on
    18   writes, "Steve - the following orders were flagged      18   the record. The time is 3:54 p.m.
    19   due to the increased quantity of the order              19   BY MR. LOESER:
    20   compared to their historical demand.                    20      Q Okay?
    21        "Please have them cancel these orders and          21      A Yeah.
    22   resubmit."                                              22      Q So during 2009 and 2010, as we saw, your
    23        Do you see that?                                   23   sales increased substantially, wouldn't you say?
    24      A Yes.                                               24        MR. DAVISON: Objection to form.
    25      Q And can you read your response to                  25      A It appears that way.
                                                     Page 307                                                     Page 309
     1   Ms. Bullerdick in the e-mail above that?                 1   BY MR. LOESER:
     2      A "Jennifer, I am not having the orders               2      Q And in particular, your sales of
     3   cancelled. I will contact the buyer and find out         3   oxycodone, for most of your customers, was the
     4   the reason for the increase."                            4   leading product that you sold; is that right?
     5      Q Okay. So who is Jennifer Bullerdick?                5        MR. DAVISON: Objection to form.
     6      A She's a product manager.                            6      A It was our leading product, so I assume
     7      Q Okay. So the product manager told you to            7   so, yes, reflective of the reports that I made.
     8   cancel the order because it had been identified as       8        MR. LOESER: Why don't we go off the
     9   in the SOM inquiry; is that right?                       9   record for a second.
    10        MR. DAVISON: Objection to form.                    10        THE VIDEOGRAPHER: We're going off the
    11      A They were cancelling the order.                    11   record. Time is 3:55 p.m.
    12   BY MR. LOESER:                                          12        (A recess was taken from 3:55 p.m. until
    13      Q Right. And your response was you told her          13   3:58 p.m.)
    14   that you would not cancel the order; is that            14        THE VIDEOGRAPHER: We are back on the
    15   right?                                                  15   record. The time is 3:58 p.m.
    16        MR. DAVISON: Objection to form.                    16   BY MR. LOESER:
    17      A I didn't want the order cancelled. I               17      Q Mr. Becker, in 2011, the amount of
    18   wanted to investigate why there is an increase          18   oxycodone you were able to sell decreased; is that
    19   with the people at Smith Drug.                          19   right?
    20   BY MR. LOESER:                                          20        MR. DAVISON: Objection to form.
    21      Q Okay. And do you recall whether you                21      A I don't have that record in front of me.
    22   investigated why there was an increase?                 22   BY MR. LOESER:
    23      A I can't recall.                                    23      Q Do you recall that a number of clients of
    24      Q Do you recall what information, if any,            24   yours had their licenses suspended by the DEA
    25   you obtained from Smith Drug?                           25   in 2011?

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     1      A The Mallinckrodt accounts?                           1   BY MR. LOESER:
     2      Q Yes.                                                 2      Q And you paid attention to news and press
     3      A There were some, yes.                                3   releases and the like that indicated if a customer
     4      Q Okay. And did that have an impact on your            4   of yours had its license suspended --
     5   sales?                                                    5      A I tried to, yes.
     6      A It may have.                                         6        (Whereupon, Exhibit Mallinckrodt-Becker-
     7      Q You don't recall one way or the other?               7   033 was marked for identification by the
     8      A No.                                                  8   reporter.)
     9        (Whereupon, Exhibit Mallinckrodt-Becker-             9        THE REPORTER: Number 33.
    10   032 was marked for identification by the                 10   BY MR. LOESER:
    11   reporter.)                                               11      Q Mr. Becker, you've been handed Exhibit 33,
    12        THE REPORTER: Number 32.                            12   which is a press release from the U.S. Drug
    13   BY MR. LOESER:                                           13   Enforcement Administration. And the caption of
    14      Q You've been handed Exhibit 32, which is an          14   the press release is "Michigan Pharmaceutical
    15   e-mail from Victor Borelli to you, dated June            15   Supplier'S DEA License Suspended-Harvard Drug
    16   15th, 2010, with the subject, "CBSNews.com: US           16   Group, LLC distributed 13 million doses of Oxy
    17   Yanks License Of Michigan-based Drug Wholesaler";        17   from 2008 through 2010"; do you see that?
    18   is that correct?                                         18      A Mm-hmm (affirmative).
    19      A That's correct.                                     19      Q And as we've discussed Harvard Drug Group
    20      Q And Mr. Borelli sent this, and he writes            20   was a wholesale distributor client of yours; is
    21   to you, "FYI regard Harvard Drug."                       21   that correct?
    22      A Mm-hmm (affirmative).                               22      A Yes.
    23      Q And what is attached to Mr. Borelli's               23      Q And as we've seen, it was a client of
    24   e-mail is a story from Associated Press, that            24   yours during that time period as well, right?
    25   starts, "The government has suspended the license        25      A Yes.
                                                     Page 311                                                   Page 313
     1   of a Michigan-based drug wholesaler after finding         1     Q This press release indicates, "Harvard
     2   that many customers in Florida were illegally             2   Drug Group, LLC, based in Livonia Michigan, has
     3   distributing painkillers"; do you see that?               3   been the subject of DEA investigation that alleges
     4      A Mm-hmm (affirmative).                                4   the company was selling large quantities of
     5      Q And was this the first you heard of the              5   controlled substances to pharmacies, primarily in
     6   suspension of Harvard's license?                          6   Florida. The investigation has revealed that
     7      A I'm not certain.                                     7   several of Harvard's largest purchasers of
     8      Q Do you recall whether you learned this               8   oxycodone were engaged in schemes to dispense
     9   information from Mr. Borelli versus through your          9   controlled substances based on prescriptions that
    10   own --                                                   10   were written for other than legitimate medical
    11      A I can't recall.                                     11   purposes. The investigation revealed that Harvard
    12      Q But whether your wholesale distributor              12   Drug Group, LLC, distributed over 13 million
    13   clients had their license suspended with the DEA         13   dosage units of oxycodone products to customers in
    14   was an important matter for you, correct?                14   the two year time frame between March 2008 and
    15      A Would you repeat that?                              15   March 2010."
    16      Q Whether a wholesale distributor customer            16        Did I read that correctly?
    17   of yours had its license suspended by the DEA was        17     A Yes, you did.
    18   an important matter for you?                             18     Q Now, the information about Harvard Drug
    19        MR. DAVISON: Objection.                             19   companies' purchases of oxycodone from
    20      A It was an important matter. I don't                 20   Mallinckrodt was tracked in Mallinckrodt's
    21   understand what "whether" has to do...                   21   chargeback system, right?
    22   BY MR. LOESER:                                           22        MR. DAVISON: Objection to form.
    23      Q Right, it was an important matter for you?          23     A I presume so, yes.
    24      A Yes.                                                24   BY MR. LOESER:
    25        MR. DAVISON: Objection.                             25     Q And as we talked about earlier, that

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     1   information included the number of dosage units of         1   the suspension has not been named, we are under
     2   oxycodone products that were purchased by Harvard          2   the impression that it was also due to the sale of
     3   Drug Group; is that right?                                 3   Oxycodone in the state of Florida," right?
     4       MR. DAVISON: Objection to form.                        4      A Correct.
     5      A Units, I believe, yes.                                5      Q And below that, she writes, "The two
     6   BY MR. LOESER:                                             6   wholesaler/distributor license suspensions led us
     7      Q Okay. And in addition, the chargeback                 7   to do a more in-depth analysis of Covidien's
     8   system tracked what happened to those units,               8   Oxycodone sales in the state of Florida. We
     9   meaning the downstream customers to which they             9   specifically focused on doctors' offices and pain
    10   were sold, right?                                         10   clinics. It appears that Harvard and Sunrise were
    11      A I believe so, yes.                                   11   the dominant players in this market with over 50
    12       MR. DAVISON: Objection.                               12   percent of their total sales coming from this
    13   BY MR. LOESER:                                            13   market"; do you see that?
    14      Q And the chargeback system tracked that               14      A Yes.
    15   information based on transaction dates, correct?          15      Q Now, the information that Ms. Muhlenkamp
    16       MR. DAVISON: Objection to form.                       16   indicates Mallinckrodt will be doing a closer look
    17      A I believe so.                                        17   at is information contained in the chargeback
    18   BY MR. LOESER:                                            18   system; is that right?
    19      Q Do you know if Harvard was buying                    19        MR. DAVISON: Objection to form.
    20   oxycodone from anyone other than Mallinckrodt             20      A I would presume so.
    21   during the time that they were your client?               21   BY MR. LOESER:
    22       MR. DAVISON: Objection.                               22      Q And so collecting information by utilizing
    23      A No, I don't.                                         23   the chargeback system, Mallinckrodt was able to
    24       (Whereupon, Exhibit Mallinckrodt-Becker-              24   identify the transactions that were with doctors'
    25   034 was marked for identification by the                  25   offices and pain clinics?
                                                        Page 315                                                 Page 317
     1   reporter.)                                                 1        MR. DAVISON: Objection to form.
     2        THE REPORTER: Number 34.                              2   BY MR. LOESER:
     3   BY MR. LOESER:                                             3      Q Right?
     4      Q Mr. Becker, you've been handed Exhibit 34,            4      A Could you please repeat that.
     5   which is an e-mail from Kate Muhlenkamp to, among          5      Q The data in the chargeback system allowed
     6   other persons, you. And it's dated June 18th,              6   Mallinckrodt to identify transactions with
     7   2010. The subject is "Oxycodone Sales in Florida           7   doctors' offices and pain clinics?
     8   - Summary"; do you see that?                               8      A Yes.
     9      A Mm-hmm (affirmative).                                 9        MR. DAVISON: Objection.
    10      Q So this e-mail was sent three days after             10   BY MR. LOESER:
    11   the press release about Harvard Drug having its           11      Q That same data allowed Mallinckrodt to
    12   license suspended, correct?                               12   determine that Harvard and Sunrise were the
    13      A Apparently, yes.                                     13   dominant players in the market with over 50
    14      Q And if you read the first paragraph of               14   percent of their total sales coming from this
    15   Ms. Muhlenkamp's e-mail, she writes, "As many of          15   market, right?
    16   you have probably heard, Harvard Drug's license to        16        MR. DAVISON: Objection to form.
    17   handle controlled substances was suspended this           17      A It appears that way, yes.
    18   week. The predominant reason for the suspension           18   BY MR. LOESER:
    19   was the sale of Oxycodone in the state of Florida.        19      Q Okay. And as we talked about before, at
    20   Please see the attached article for additional            20   any point in time prior to the license suspension
    21   information and details"; do you see that?                21   of Harvard, you too could have asked for
    22        Down further, she notes, "Additionally, it           22   information from the chargeback system on doctors'
    23   came to our attention that Sunrise Wholesaler's           23   offices and pain clinics with which there were
    24   DEA license was suspended pending further                 24   transactions?
    25   investigation. Although the official reason for           25        MR. DAVISON: Objection.

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     1      A I could have.                                    1   Mallinckrodt, during any particular time periods,
     2   BY MR. LOESER:                                        2   purchased all of their product -- all of their
     3      Q Right. And you could have also looked at         3   oxycodone product from Mallinckrodt?
     4   the percentage of those -- of Harvard's total         4     A No, I don't know.
     5   sales that were with doctors' offices and pain        5        MR. DAVISON: Objection.
     6   clinics?                                              6   BY MR. LOESER:
     7        MR. DAVISON: Objection.                          7     Q And if, in fact, that occurred and a
     8      A If I requested a chargeback report for           8   hundred percent of the wholesale distributors'
     9   their full account base.                              9   purchases of oxycodone came from Mallinckrodt,
    10   BY MR. LOESER:                                       10   then in that instance the DEA would have exactly
    11      Q And you could see in the system the             11   the same information as Mallinckrodt?
    12   portion of the sales that were shipped to            12        MR. DAVISON: Objection.
    13   locations in Florida?                                13     A They should have, under that example.
    14        MR. DAVISON: Objection.                         14   BY MR. LOESER:
    15      A Correct.                                        15     Q Now, you see in the press release that we
    16   BY MR. LOESER:                                       16   looked at before, and in this e-mail from
    17      Q Now, with regard to all of that data, the       17   Ms. Muhlenkamp, that the DEA shut down Harvard
    18   DEA had the same information, correct? Is that       18   Drug Group and suspended its license based upon
    19   your understanding?                                  19   the proportion of oxycodone that Harvard Drug
    20      A Yes.                                            20   Group sold to Florida; is that right?
    21        MR. DAVISON: Objection.                         21        MR. DAVISON: Objection.
    22      A They had more information.                      22     A That's correct.
    23   BY MR. LOESER:                                       23   BY MR. LOESER:
    24      Q Okay. Was what the "more information"           24     Q And with regard to Harvard Drug Group's
    25   that the DEA had?                                    25   purchase of Mallinckrodt oxycodone, you also had
                                                  Page 319                                                        Page 321
     1      A They had information on every                    1   that information?
     2   manufacturer.                                         2        MR. DAVISON: Objection.
     3      Q Okay. So you're saying that if other             3      A Yeah, we had that information on
     4   manufacturers supplied information to Harvard,        4   chargeback.
     5   that the DEA knew in addition to Mallinckrodt's       5   BY MR. LOESER:
     6   sales, it would also know --                          6      Q So at what point in time prior to seeing
     7      A Well, the DEA knew --                            7   the suspension of Harvard's license in June of
     8        MR. DAVISON: Objection.                          8   2010 did you become suspicious of Harvard's sales
     9      A -- everything in regards to sale of              9   of oxycodone?
    10   scheduled products. They not only knew of            10        MR. DAVISON: Objection.
    11   Mallinckrodt products, they knew of every            11      A I didn't become suspicious of their orders
    12   manufacturer of oxycodone and what their sales       12   until I read this article.
    13   were.                                                13   BY MR. LOESER:
    14   BY MR. LOESER:                                       14      Q Do you believe that the persons at
    15      Q Right. And so if you were dealing with a        15   Mallinckrodt responsible for the suspicious order
    16   Mallinckrodt customer that purchased all of their    16   monitoring program and compliance should have been
    17   oxycodone from Mallinckrodt, with regard to that     17   suspicious of Harvard Drug sales prior to the time
    18   product and that distributor, Mallinckrodt had the   18   the DEA suspended Harvard's license?
    19   same information as the DEA, right?                  19        MR. DAVISON: Objection.
    20      A If they --                                      20      A You'd have to ask them. It was their job
    21        MR. DAVISON: Objection.                         21   to review all the orders.
    22      A If they purchased all their product, but        22   BY MR. LOESER:
    23   that was highly unlikely.                            23      Q And do you have an opinion?
    24   BY MR. LOESER:                                       24        MR. DAVISON: Objection.
    25      Q Do you know whether other customers of          25      A I just stated it; it'd be their job to do

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     1   so.                                                      1   BY MR. LOESER:
     2   BY MR. LOESER:                                           2      Q Okay. But you didn't evaluate the ratio
     3      Q So based on the time that you were                  3   of oxycodone or other products to noncontrolled
     4   responsible for Harvard Drug Group and they were         4   substances?
     5   your wholesale distributor client, you did not           5        MR. DAVISON: Objection.
     6   have any suspicions --                                   6      A We are predominantly a Schedule II
     7      A No, I didn't.                                       7   manufacturer, so no, I did not.
     8      Q -- based upon the sales that you saw?               8   BY MR. LOESER:
     9      A No. Because I just saw their sales. I               9      Q And you didn't examine the ratio of where
    10   didn't do any chargeback reports.                       10   products were shipped for this particular
    11       (Whereupon, Exhibit Mallinckrodt-Becker-            11   wholesale distributor customer of yours?
    12   035 was marked for identification by the                12        MR. DAVISON: Objection.
    13   reporter.)                                              13      A No, I did not have any reason to.
    14       THE REPORTER: Number 35.                            14   BY MR. LOESER:
    15   BY MR. LOESER:                                          15      Q And you didn't examine any of the
    16      Q Mr. Becker, you've been handed Exhibit 35,         16   circumstances of the particular pharmacies to
    17   which is a press release from the United States         17   which this wholesale distributor shipped --
    18   Department of Justice, District of Maryland, dated      18      A No.
    19   June 25th, 2014, indicating that, "Pennsylvania         19      Q -- its customer --
    20   Pharmaceutical Wholesaler Value Drug, Inc. To Pay       20        MR. DAVISON: Objection.
    21   4 million In Settlement, Settles Claims that Value      21        (Whereupon, Exhibit Mallinckrodt-Becker-
    22   Drug Failed to Report Suspicious Orders of              22   036 was marked for identification by the
    23   Oxycodone to Pharmacies in Maryland and                 23   reporter.)
    24   Pennsylvania."                                          24        THE REPORTER: Number 36.
    25       Did I read that correctly?                          25   BY MR. LOESER:
                                                    Page 323                                                        Page 325
     1      A Yes, you did.                                       1      Q Mr. Becker, you've been handed Exhibit 36,
     2      Q And Value Drug was another one of your              2   which are some pages from the Federal Register
     3   customers; is that correct?                              3   dated September 15th, 2005. And it contains the
     4      A Yes, it was.                                        4   decision and order regarding Masters
     5      Q And if you look at the second page of this          5   Pharmaceuticals' DEA license. And as we went over
     6   press release, in the middle of the second               6   before, Masters Pharmaceuticals was another one of
     7   paragraph, this states, "The settlement resolves         7   your wholesale distributor clients; is that right?
     8   allegations that from January 1st, 2009 through          8      A Yes.
     9   September 12th, 2012, Value Drug failed to report        9      Q And if we look at the first paragraph of
    10   suspicious orders of oxycodone to six pharmacy          10   this decision, it indicates, "On August 9, 2013,
    11   customers"; do you see that?                            11   the Deputy Assistant Administrator, Office of
    12      A Yes, I do.                                         12   Diversion Control, Drug Enforcement
    13      Q And that was the time period that Value            13   Administration, issued an Order to Show Cause to
    14   Drug was your customer; is that right?                  14   Masters Pharmaceuticals"; do you see that?
    15      A That's correct.                                    15      A Yes.
    16      Q And during that time period, did you ever          16      Q And down below, the order states, "The
    17   ask for any chargeback information to show              17   Order then alleged that notwithstanding 'the MOA,
    18   transactions with Value Drug's downstream               18   the specific guidance provided to [Respondent] by
    19   customers?                                              19   DEA, and the public information readily available
    20      A I had no reason to.                                20   regarding the oxycodone epidemic in Florida, and
    21      Q But at that time, you could have asked for         21   in the United States, [Respondent] failed to main
    22   that information?                                       22   effective controls against the diversion of
    23        MR. DAVISON: Objection.                            23   controlled substances."
    24      A I could have. There was no red flags for           24        And we've talked about the oxycodone
    25   me to ask for such.                                     25   epidemic in Florida; is that right?

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     1        MR. DAVISON: Objection to form.                      1   BY MR. LOESER:
     2      A Yes.                                                 2      Q And so with regard to Mallinckrodt product
     3   BY MR. LOESER:                                            3   sales, when the DEA is looking at information
     4      Q And you were aware of that based upon                4   about downstream customer sales, if it involves
     5   articles and other information that you read when         5   Mallinckrodt product, the DEA is looking at the
     6   you were selling oxycodone?                               6   same information that Mallinckrodt has in its own
     7      A Yes.                                                 7   chargeback system; is that right?
     8      Q This goes on to state, "The Order then               8        MR. DAVISON: Objection to form.
     9   alleged that from April 1st, 2009 through December        9      A Correct.
    10   31st, 2009, Respondent distributed more than 37          10   BY MR. LOESER:
    11   million dosage units of oxycodone nationally and         11      Q So when did you become suspicious of
    12   that nearly 25 million dosage units 'were                12   Masters Pharmaceuticals' downstream customer
    13   distributed to its Florida customers'"; do you see       13   sales?
    14   that?                                                    14        MR. DAVISON: Objection.
    15      A Yes.                                                15      A I don't recall getting suspicious.
    16      Q Now, at least with respect to Mallinckrodt          16   BY MR. LOESER:
    17   sales to Masters as we've discussed, Mallinckrodt        17      Q Okay. And do you believe Mallinckrodt's
    18   could have easily determined from the chargeback         18   failure to stop selling oxycodone in particular to
    19   data the proportion of sales to Masters that were        19   Masters was the result of negligence or was it an
    20   shipped to locations in Florida?                         20   intentional failure?
    21        MR. DAVISON: Objection to form.                     21        MR. DAVISON: Objection to form.
    22      A You'd have to ask Karen Harper that, if             22      A You'd have to ask Karen Harper that
    23   she is reviewing -- if she chose to review those         23   question.
    24   reports, that she would have discovered that.            24   BY MR. LOESER:
    25   BY MR. LOESER:                                           25      Q Okay. Do you have an opinion on that?
                                                       Page 327                                                 Page 329
     1      Q Right. You understand that information               1       MR. DAVISON: Objection.
     2   was contained in the chargeback system?                   2      A I don't.
     3        MR. DAVISON: Objection.                              3       (Whereupon, Exhibit Mallinckrodt-Becker-
     4      A Yes.                                                 4   037 was marked for identification by the
     5   BY MR. LOESER:                                            5   reporter.)
     6      Q And if you look at the middle column of              6       THE REPORTER: 37.
     7   the order, it states, "More specifically, the             7   BY MR. LOESER:
     8   Order alleged that." And do you see that there's          8      Q Mr. Becker, you've been handed what's
     9   a series of numbered paragraphs 1. through 7.?            9   marked Exhibit 37, which is a press release from
    10      A Yes.                                                10   the United States Attorney's Office for the
    11      Q And, for example, paragraph 6. states,              11   Southern District of New York, dated December
    12   "From January 1st, 2009 through November 30th,           12   23rd, 2016, with the heading "Manhattan U.S.
    13   2010, [it]," and that means Masters, "distributed        13   Attorney Announces $10 Million Civil Penalty
    14   approximately 1.7 million dosage units. . .to            14   Recovery Against New York Pharmaceutical
    15   Lam's Pharmacy; do you see that?                         15   Distributor Kinray, Llc."; do you see that?
    16      A Yes, I do.                                          16      A Yes, I do.
    17      Q And so all of these transactions that are           17      Q And it states, "This Recovery Is Part of a
    18   described in 1. through 6., that involve                 18   $44 Million Nationwide Civil Penalty Settlement
    19   downstream customers of Masters purchasing dosage        19   with Kinray, LLC., and Its Parent Company,
    20   units from Masters, if any of those sales were of        20   Cardinal Health"; do you see that?
    21   Mallinckrodt product, that information would be          21      A Yes, I do.
    22   contained in the Mallinckrodt chargeback system,         22      Q And Kinray was another one of your
    23   right?                                                   23   wholesale distributor customers; is that right?
    24        MR. DAVISON: Objection to form.                     24      A Yes, it was.
    25      A Yes.                                                25      Q And after the time Cardinal Health

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     1   purchased Kinray, Cardinal Health was one of your           1   purchased less of?
     2   wholesale distributor customers, right?                     2        MR. DAVISON: Objection.
     3      A Correct.                                               3      A Correct.
     4      Q And if you look at the first paragraph of              4   BY MR. LOESER:
     5   this press release, it states in the middle, "In            5      Q And you saw the ratio of oxycodone, for
     6   the consent decree approved yesterday by U.S.               6   example, to the other drugs that they purchased
     7   District Judge Ronnie Abrams, Kinray agreed to pay          7   from you?
     8   $10 million to the United States, and admitted and          8      A I didn't look at ratios.
     9   accepted responsibility for failing to inform the           9        MR. DAVISON: Objection.
    10   DEA, as required by CSA regulations, of Kinray's           10   BY MR. LOESER:
    11   receipt of suspicious orders for certain                   11      Q But in the tables that you prepared, you
    12   controlled substances during the time period               12   could easily determine the ratio, right?
    13   between January 1st, 2011 and May 14th, 2012"; do          13      A If you wanted to, yes.
    14   you see that?                                              14        MR. DAVISON: Objection.
    15      A Yes, I do.                                            15   BY MR. LOESER:
    16      Q And, again, that's -- time period overlaps            16      Q Okay. And you didn't do any of that?
    17   with the time period that Kinray and Cardinal              17        MR. DAVISON: Objection.
    18   Health were wholesale distributor customers of             18      A I didn't look at ratios, no.
    19   yours; is that right?                                      19   BY MR. LOESER:
    20      A Yes, but this immediate release, I was                20      Q Okay. And in the chargeback system, at
    21   retired at that time.                                      21   any point in time you could have asked for
    22      Q Right. But the time period that they're               22   information on where the product you sold to these
    23   examining was the time period that these --                23   entities was shipped --
    24      A Yeah.                                                 24        MR. DAVISON: Objection.
    25      Q -- entities were wholesale --                         25   BY MR. LOESER:
                                                       Page 331                                                   Page 333
     1      A Yes, I agree to that.                                  1      Q -- isn't that right?
     2      Q -- distributor customers of yours.                     2      A I could have, yes.
     3        So, Mr. Becker, when did you become                    3      Q And you never once did that?
     4   suspicious of Kinray and Cardinal Health's                  4        MR. DAVISON: Objection.
     5   downstream orders?                                          5      A I had no reason to on this particular
     6        MR. DAVISON: Objection --                              6   account.
     7      A I didn't -- I wasn't suspicious of them.               7   BY MR. LOESER:
     8   BY MR. LOESER:                                              8      Q And you didn't do that for any account,
     9      Q And when did you get suspicious of their               9   did you?
    10   direct orders of oxycodone from Mallinckrodt?              10        MR. DAVISON: Objection.
    11        MR. DAVISON: Objection.                               11      A Not to my recollection.
    12      A I wasn't suspicious of them. I didn't see             12   BY MR. LOESER:
    13   their orders directly. They were done by computer          13      Q Did you ever talk to Mr. Borelli about his
    14   electronically.                                            14   customer, KeySource Medical?
    15   BY MR. LOESER:                                             15      A When the account was turned over to me, I
    16      Q Well, as we saw from your background                  16   most likely did.
    17   reports, you carefully tracked the type of drug            17      Q And did you discuss with him the nature of
    18   that they purchased from you and the amount,               18   KeySource's business and types of products that it
    19   correct?                                                   19   tended to buy?
    20      A Correct.                                              20      A I believe we probably reviewed that.
    21      Q And you carefully tracked the dollars that            21      Q And do you recall what you learned from
    22   they paid you for those drugs?                             22   that?
    23      A Correct.                                              23      A No, I don't.
    24      Q And you saw the order in terms of which               24      Q Did you ever monitor any of the KeySource
    25   drugs they purchased more of and which they                25   sales or see any reports?

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     1      A Just the basic reports that we've looked             1   revealed that" -- it says "KeyStone," but I
     2   at and product backgrounders, doing business              2   believe it means "KeySource Medical distributed
     3   reviews, things of that nature.                           3   approximately 48 million dosage units of oxycodone
     4      Q So for KeySource as well, did you see                4   products to customers in Florida between November
     5   information indicating the proportion of their            5   2008 and November 2010," correct?
     6   purchases that were oxycodone versus other                6      A Correct.
     7   products?                                                 7      Q And in the reports that you saw when you
     8        MR. DAVISON: Objection.                              8   were working at Mallinckrodt, you were fully aware
     9      A You could look at it that way, yes.                  9   of the amount of oxycodone that KeySource
    10   BY MR. LOESER:                                           10   purchased from Mallinckrodt; is that right?
    11      Q Okay. And did you see the -- did you ever           11      A Yes.
    12   examine the extent to which KeySource sent its           12        MR. DAVISON: Objection to form.
    13   product to Florida versus other locations?               13   BY MR. LOESER:
    14      A No, I did not.                                      14      Q This goes on to state, "'Pharmaceutical
    15      Q Did you ever talk to Mr. Borelli about              15   companies have a responsibility to ensure that the
    16   that?                                                    16   drugs they sell don't end up in the hands of drug
    17      A Not that I recall.                                  17   traffickers or businesses that are conducting
    18      Q Did you ever see the amount of oxycodone            18   their businesses illegally.'" Do you agree with
    19   that KeySource purchased from Mallinckrodt?              19   that statement?
    20        MR. DAVISON: Objection.                             20      A Yes.
    21      A I may have, yes, in my various reports.             21        MR. DAVISON: Objection to form.
    22         (Whereupon, Exhibit Mallinckrodt-Becker-           22   BY MR. LOESER:
    23   038 was marked for identification by the                 23      Q And it goes on to state, "'Prescription
    24   reporter.)                                               24   drug abuse in Florida, southern Ohio and northern
    25        THE REPORTER: Number 38.                            25   Kentucky has risen to epidemic proportions.'" Do
                                                       Page 335                                                   Page 337
     1   BY MR. LOESER:                                            1   you agree with that statement --
     2      Q Showing you what's been marked Exhibit 38,           2        MR. DAVISON: Objection.
     3   which is an e-mail from Chrissy Madden at Masters         3   BY MR. LOESER:
     4   to you, dated June 10, 2011. And the subject is           4      Q -- as of this time?
     5   "fyi," and she attaches an article that appears           5        MR. DAVISON: Objection.
     6   that it was in Money Magazine -- or --                    6      A As of this time, yes.
     7      A Mm-hmm (affirmative).                                7   BY MR. LOESER:
     8      Q -- no, I'm sorry, "wlwt.com money." I'm              8      Q And it states, "'And KeySource Medical
     9   not sure what that is.                                    9   should have known based on the large, frequent
    10        And that article title is "Local Drug               10   quantities, that their customers were diverting
    11   Supplier's Controlled Drug License Suspended"; do        11   oxycodone into arenas that were not legitimate.'"
    12   you see that?                                            12        Do you agree that KeySource should have
    13      A Yes, I do.                                          13   known that?
    14      Q And so on this date, on June 10, 2011,              14        MR. DAVISON: Objection.
    15   Ms. Madden sent you an article indicating that           15      A If they had a product monitoring program
    16   KeySource's medical -- KeySource Medical's license       16   in place, they should have been aware of it.
    17   was suspended by the DEA; is that right?                 17   BY MR. LOESER:
    18      A That's correct.                                     18      Q And do you agree that if Mallinckrodt
    19      Q And this indicates, "The agency said                19   tracked all of that information to all of
    20   KeySource Medical has been the subject of a DEA          20   KeySource's sales, it also should have been aware
    21   investigation that alleges the company was selling       21   of that?
    22   large quantities of controlled substances to             22        MR. DAVISON: Objection.
    23   pharmacies, primarily in Florida"; is that right?        23      A You'd have to ask Karen Harper that
    24      A Correct.                                            24   question.
    25      Q Down below, it says, "The investigation             25   BY MR. LOESER:

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     1      Q You worked in this industry for a long           1      A That's correct.
     2   time. What's your understanding of that?              2         (Reporter clarification.)
     3        MR. DAVISON: Objection.                          3   BY MR. LOESER:
     4      A My understanding of what?                        4      Q Mallinckrodt sold hundreds of millions of
     5   BY MR. LOESER:                                        5   oxycodone IR 15 and 30 pills to its wholesale
     6      Q Well, let's look at it again.                    6   distributor clients?
     7        "KeySource should have known based on the        7        MR. DAVISON: Objection.
     8   large, frequent quantities, that their customers      8   BY MR. LOESER:
     9   were diverting oxycodone into arenas that were not    9      Q Okay. That's correct?
    10   legitimate." Mallinckrodt had the same               10      A Correct. According to the information
    11   information. Do you believe that that should have    11   that you have.
    12   been apparent to Mallinckrodt that KeySource was     12      Q And several of Mallinckrodt's major
    13   engaged in diversion?                                13   wholesale distributor clients sold most, and in
    14        MR. DAVISON: Objection to form.                 14   some cases, nearly all of the oxycodone they
    15      A That would be in our product monitoring         15   bought from Mallinckrodt to pain clinics,
    16   department's hands, and they should be looking at    16   pharmacies and dispensing physicians in Florida,
    17   the data.                                            17   right?
    18   BY MR. LOESER:                                       18        MR. DAVISON: Objection.
    19      Q And do you know if they did?                    19      A I don't know that.
    20      A I do not know if they did on this               20   BY MR. LOESER:
    21   particular account.                                  21      Q Is that what these --
    22      Q I want to run through some facts that we        22      A You'd have to ask Karen Harper that
    23   covered today and make sure that I understand your   23   question. She would have better knowledge on
    24   testimony.                                           24   that.
    25        Mallinckrodt had 51 percent of the              25      Q And as to your own clients, that's
                                                  Page 339                                                  Page 341
     1   oxycodone market share in the United States in        1   information that you could have obtained from the
     2   2010 and '11. Does that sound right?                  2   chargeback data if you had wanted to?
     3        MR. DAVISON: Objection to form.                  3        MR. DAVISON: Objection.
     4      A I wouldn't know without looking at the           4      A If I elected to run a detailed chargeback
     5   numbers.                                              5   report.
     6   BY MR. LOESER:                                        6   BY MR. LOESER:
     7      Q Okay. And the numbers that we looked at          7      Q Okay. And there was a very
     8   showed that for fiscal year 2011, Mallinckrodt's      8   well-publicized raging pill mill problem in
     9   market share of oxycodone was 51 percent?             9   Florida, and oxycodone IR was at the center of
    10        MR. DAVISON: Objection.                         10   this, right?
    11      A It appeared that way on what you provided       11        MR. DAVISON: Objection.
    12   me.                                                  12      A Correct.
    13   BY MR. LOESER:                                       13   BY MR. LOESER:
    14      Q And as we've seen and discussed in              14      Q And you saw that in articles?
    15   articles, oxycodone was one of the most abused and   15      A Yes.
    16   diverted opioids in the United States; is that       16        MR. DAVISON: Objection.
    17   right?                                               17   BY MR. LOESER:
    18        MS. RANJAN: Objection.                          18      Q Back starting in 2006, right?
    19        MR. DAVISON: Objection.                         19        MR. DAVISON: Objection.
    20      A I believe so.                                   20      A It could have been.
    21   BY MR. LOESER:                                       21   BY MR. LOESER:
    22      Q And Mallinckrodt sold hundreds of millions      22      Q Yeah. And the pills -- many of those
    23   of oxycodone IR 15 and 30 pills to its wholesale     23   pills were shipped by wholesale distributors to
    24   distributor clients; is that right?                  24   Florida, and from there, they migrated north along
    25        MR. DAVISON: Objection.                         25   what we talked about was the "Oxy Express"; is

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     1   that right?                                              1   that it was sending hundreds of millions of pills
     2        MR. DAVISON: Objection.                             2   to Florida; is that right?
     3      A According to the articles that I read and           3        MR. DAVISON: Objection.
     4   that have been published.                                4      A You'd have to ask Karen Harper that
     5   BY MR. LOESER:                                           5   particular question. She was product manager.
     6      Q And as we saw in the e-mail from Ms. New            6   She was the monitoring person.
     7   to you, you had suspicions about why the amount of       7   BY MR. LOESER:
     8   oxycodone being sold was increasing to the degree        8      Q Right. But you knew that was happening,
     9   it was as a result of the reformulation of               9   right?
    10   oxycodone; is that right?                               10        MR. DAVISON: Objection.
    11      A Correct.                                           11      A I did not specifically know they were all
    12        MR. DAVISON: Objection.                            12   going into Florida, and I didn't review specific
    13   BY MR. LOESER:                                          13   numbers.
    14      Q And so you read that addicts were                  14   BY MR. LOESER:
    15   switching from OxyContin to oxycodone because           15      Q Okay. That information was available,
    16   OxyContin had become more difficult to abuse,           16   however, in the chargeback system?
    17   right?                                                  17      A Correct.
    18        MR. DAVISON: Objection.                            18        MR. DAVISON: Objection.
    19      A Did you say I read that?                           19   BY MR. LOESER:
    20        MR. DAVISON: Objection.                            20      Q And millions of oxycodone pills that you
    21   BY MR. LOESER.                                          21   sold to your wholesale distributor clients were,
    22      Q Yes.                                               22   in fact, shipped to Florida, right?
    23      A I don't believe I read that.                       23        MR. DAVISON: Objection.
    24      Q Okay. That's a conversation you had with           24      A They could have been.
    25   Bonnie New based upon her --                            25   BY MR. LOESER:
                                                     Page 343                                                       Page 345
     1      A With Bonnie New and --                              1      Q And, Mr. Becker, is it fair to say that
     2        MR. DAVISON: Objection.                             2   the pills that you sold to your wholesale
     3      A -- possibly other people. It was an                 3   distributor clients contributed to the abuse and
     4   assumption that we made why oxycodone sales had          4   diversion problem in Florida?
     5   increased due to reformulation of the Purdue             5        MR. DAVISON: Objection.
     6   Frederick product.                                       6      A I don't know that for a fact because I
     7        (Reporter clarification.)                           7   don't know who the end users were.
     8      A Purdue Frederick product.                           8   BY MR. LOESER:
     9   BY MR. LOESER:                                           9      Q Do you have any reason to doubt that?
    10      Q And every time a Mallinckrodt wholesale            10        MR. DAVISON: Objection.
    11   distributor sold Mallinckrodt opioids to a              11      A I don't have a reason to doubt it, but I
    12   downstream customer, that sale and key details of       12   don't have information to state that all of our
    13   the sale were logged in the chargeback system?          13   product went to abusers.
    14      A That's correct.                                    14   BY MR. LOESER:
    15        MR. DAVISON: Objection.                            15      Q Okay. And we went through some chargeback
    16   BY MR. LOESER:                                          16   data for Harvard Drug Group, for example --
    17      Q So Mallinckrodt had available to it                17      A Mm-hmm (affirmative).
    18   detailed information about the number of pills it       18      Q -- and you saw that in addition to selling
    19   sold to distributors and the number of these same       19   that product via a veterinary supply company, over
    20   pills that these distributors shipped to Florida        20   90 percent of that product was, in fact, shipped
    21   and everywhere else, right?                             21   to Florida?
    22        MR. DAVISON: Objection to form.                    22        MR. DAVISON: Objection.
    23      A They should have, yes.                             23      A From that particular account, yes.
    24   BY MR. LOESER:                                          24   BY MR. LOESER:
    25      Q And so it was no secret to Mallinckrodt            25      Q Right. And so based on that, is it fair

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     1   to assume that product that you sold, like other      1       MR. LOESER: Can we go off the record for
     2   oxycodone products shipped to Florida, were           2   a minute.
     3   diverted and abused as well?                          3       THE VIDEOGRAPHER: We are going off the
     4      A I don't know.                                    4   record. Time is 4:33 p.m.
     5        MR. DAVISON: Objection to form.                  5       (A recess was taken from 4:33 p.m. until
     6      A I don't believe it's fair to make that           6   4:44 p.m.)
     7   statement.                                            7       THE VIDEOGRAPHER: We are back on the
     8   BY MR. LOESER:                                        8   record. The time is 4:44 p.m.
     9      Q Okay. Do you have any reason to believe          9       (Whereupon, Exhibit Mallinckrodt-Becker-
    10   that the product you sold that was shipped to        10   039 was marked for identification by the
    11   Florida did not get into the -- was not diverted,    11   reporter.)
    12   whereas other people's product was diverted?         12       THE REPORTER: Number 39.
    13        MR. DAVISON: Objection.                         13   BY MR. LOESER:
    14      A Could you repeat that question?                 14      Q Mr. Becker, you've been handed Exhibit 39,
    15   BY MR. LOESER:                                       15   which is an e-mail from Karen Harper to you, dated
    16      Q Do you have any reason to believe that the      16   April 1st, 2011, subject, "Updated Suspicious
    17   product you sold was not diverted, whereas product   17   Order Monitoring Customer Checklist for
    18   that other manufacturers sold was diverted?          18   Wholesaler." Is that correct?
    19      A No.                                             19      A That's correct.
    20        MR. DAVISON: Objection.                         20      Q And if you look at the bottom half of that
    21   BY MR. LOESER:                                       21   page, there's an e-mail from you to Ms. Harper,
    22      Q So it's fair to assume that if there was a      22   with a cc to Jane Williams, dated March
    23   significant problem of the diversion of oxycodone    23   14th, 2011, subject, "Questionnaire."
    24   in Florida, that included in that would be product   24      A Mm-hmm (affirmative).
    25   that you sold that ended up in Florida as well?      25      Q And can you read what you wrote?
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     1      A A Mallinckrodt product?                          1      A "I've attached an update for you on the
     2        MR. DAVISON: Objection.                          2   questionnaire for the DEA license renewal. Please
     3   BY MR. LOESER:                                        3   refer to the end of the document for additional
     4      Q Yes.                                             4   questions we may want to consider. We can set up
     5      A Correct.                                         5   a time to discuss at any time."
     6      Q And you understand that a significant            6      Q And if you go to the top of that e-mail
     7   number of people died overdosing on oxycodone?        7   string, in Karen Harper's e-mail to you, she
     8        MR. DAVISON: Objection to form.                  8   writes, "Steve, Thanks for the great suggested
     9      A I don't know how many people passed              9   questions. I've reviewed with the SOM Leadership
    10   away -- or died from this epidemic.                  10   Team and incorporated many of your suggestions
    11   BY MR. LOESER:                                       11   into the actual On-Site Customer Audit document."
    12      Q But you know from the articles that we've       12      A Mm-hmm (affirmative).
    13   gone over and that you read at the time that you     13      Q "Regarding the Wholesaler Checklist, do
    14   were selling oxycodone that a significant number     14   the questions seem to be on point and relevant to
    15   of people were, in fact, dying because of            15   that class of trade? Based on the information you
    16   overdoses on oxycodone, right?                       16   and Jane received at the recent trade show, I've
    17        MR. DAVISON: Objection to form.                 17   revised the Customer Checklist Information Sheet
    18      A I believe so.                                   18   that will be sent with every Customer Checklist
    19   BY MR. LOESER:                                       19   going forward after our update is complete. Your
    20      Q Mr. Becker, can you please tell the jury        20   feedback will be appreciated."
    21   if you have any regrets regarding your involvement   21        Do you recall the circumstances of this
    22   in the sale and distribution of opioids during the   22   e-mail?
    23   time that you worked for Mallinckrodt?               23      A Yes. I was asked to help put together a
    24      A No.                                             24   questionnaire.
    25        MR. DAVISON: Objection.                         25      Q And what was the purpose of the

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     1   questionnaire?                                        1   BY MR. LOESER:
     2      A It was for our records on the account and        2      Q Alprazolam, okay.
     3   their DEA license, I believe.                         3      A Alprazolam, mm-hmm (affirmative).
     4      Q And if you turn to the questionnaire             4      Q (Continuing) "while ordering few, if any,
     5   itself, the top of the second page of the exhibit,    5   non-controlled drugs."
     6   there's a handwritten note, "Steve Becker             6      A Mm-hmm (affirmative).
     7   Revision." Is that your handwriting?                  7      Q So that would be -- according to this
     8      A No.                                              8   questionnaire that you helped prepare, that would
     9      Q Okay. And if you look at this page,              9   be a characteristic of a suspicious order; is that
    10   there's a number of questions; is that right?        10   right?
    11      A Appears that those are all questions. Are       11      A It could be.
    12   you looking at 1. through 10.?                       12       MR. DAVISON: Objection.
    13      Q Right.                                          13   BY MR. LOESER:
    14      A Yes.                                            14      Q And you apparently were aware of that
    15      Q And these are -- the idea was that these        15   because you helped prepare this questionnaire?
    16   are circumstances that would be evaluated when --    16       MR. DAVISON: Objection.
    17   for each downstream customer transaction; is that    17      A Correct.
    18   right?                                               18   BY MR. LOESER:
    19        MR. DAVISON: Objection to form.                 19      Q Okay. And the next item on this list is
    20   BY MR. LOESER:                                       20   "Ordering a limited variety of controlled
    21      Q Let me ask it another way.                      21   substances in quantities disproportionate to the
    22        Looking at this document, before the 10         22   quantity of non-controlled drugs ordered."
    23   questions, there's the statement, "Does this         23       So that would be another circumstance that
    24   wholesaler monitor pharmacy customers engaged in     24   would be indicative of a suspicious order; is that
    25   dispensing controlled substances for one or more     25   right?
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     1   of the following characteristics in the pattern of    1         MR. DAVISON: Objection.
     2   ordering controlled substances?" Do you see that?     2      A Correct.
     3      A Yes.                                             3   BY MR. LOESER:
     4      Q And so this was a question -- the idea was       4      Q And again, that's something else that you
     5   that your wholesale distributor customers will be     5   would be aware of because you helped prepare this
     6   presented with this questionnaire, and this           6   questionnaire?
     7   information about these characteristics, they         7         MR. DAVISON: Objection to form.
     8   would be asked whether they were collecting this      8      A Correct.
     9   information?                                          9   BY MR. LOESER:
    10        MR. DAVISON: Objection.                         10      Q And the same is true for each of these ten
    11      A That's correct.                                 11   items, these are circumstances of a suspicious
    12   BY MR. LOESER:                                       12   order, of which you are generally aware, and
    13      Q And the idea of these ten characteristics       13   understood as to why they would potentially
    14   is to identify suspicious orders, right?             14   identify a suspicious order?
    15        MR. DAVISON: Objection.                         15      A I believe so.
    16      A It appears that way, yes.                       16         MR. DAVISON: Objection.
    17   BY MR. LOESER:                                       17   BY MR. LOESER:
    18      Q Okay. And so, for example, the very first       18      Q Okay. Let's turn to the second page --
    19   item on this list is "Ordering excessive             19   well, you note in your e-mail to Ms. Harper,
    20   quantities of a limited variety of controlled        20   "Please refer to the end of the document for
    21   drugs (e.g. Ordering only oxycodone,                 21   additional questions we may want to consider."
    22   hydrocodone)" -- can't really say that, but          22   And so then the third page of this exhibit is a
    23   alprazolam. How do you say that?                     23   list of additional questions.
    24      A Which one? Hydrocodone?                         24         Are these questions that you prepared?
    25        MS. GAFFNEY: Alprazolam.                        25      A I believe I did.

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     1      Q Okay. So let's go down through that list,        1   BY MR. LOESER:
     2   and you can tell me why these items would be          2      Q Was the reason why you came up with this
     3   indicative of a suspicious order.                     3   question your knowledge that for a number of
     4        The first one is, "Provide the date that         4   wholesale distributors, while they were not in the
     5   your company began controlled substance               5   state of Florida, they were shipping most of their
     6   distribution."                                        6   product to Florida?
     7        Why would that matter?                           7        MR. DAVISON: Objection.
     8        MR. DAVISON: Objection.                          8      A Yeah, I think it was information for us to
     9      A Depending on -- not every account would          9   know if they were licensed to sell in Florida.
    10   have a vault to store -- for the proper storage of   10   BY MR. LOESER:
    11   scheduled products, and six months down the road,    11      Q The next question you have is, "Does your
    12   they put one in. So knowing the date of when they    12   company distribute controlled substances and other
    13   started selling controlled substances would be an    13   pharmaceuticals in the state of Florida?"
    14   important factor.                                    14        Now tell me, why was that, according to
    15   BY MR. LOESER:                                       15   your helpful assistance with this questionnaire,
    16      Q Could it also be because in the opioid          16   potentially indicative of a suspicious order?
    17   epidemic, a lot of new companies came forward to     17        MR. DAVISON: Objection.
    18   participate in the illegal distribution of --        18      A Because the amount of orders evidently
    19      A Yeah, that's why --                             19   that were going into Florida at the time that we
    20        MR. DAVISON: Objection.                         20   were aware of.
    21      A Yes, that's why the questions are...            21   BY MR. LOESER:
    22   BY MR. LOESER:                                       22      Q Okay.
    23      Q Okay. And then your second question is,         23      A And the problem that they had in Florida.
    24   "Does your company distribute controlled             24      Q And that was something you were aware of
    25   substances and other pharmaceuticals out of your     25   on April 1st, 2011 -- or I'm sorry,
                                                  Page 355                                                  Page 357
     1   state?" Why is that potentially indicative of a       1   March 14th, 2011, when you sent these
     2   suspicious order?                                     2   contributions to the questionnaire?
     3        MR. DAVISON: Objection.                          3      A Evidently, yes.
     4      A It's to know where the account distributes       4        MR. DAVISON: Objection.
     5   their product.                                        5   BY MR. LOESER:
     6   BY MR. LOESER:                                        6      Q Okay. The next question is, "Does your
     7      Q Okay. And would it matter if they                7   company sell controlled substances or
     8   distributed all of their product to one state, for    8   pharmaceuticals to customers who distribute or
     9   example?                                              9   dispense products over the Internet?"
    10        MR. DAVISON: Objection.                         10        Now, tell me, why would that be indicative
    11      A They're licensed for one state, then            11   of a suspicious order?
    12   that's all they're licensed for. Licensed for        12        MR. DAVISON: Objection.
    13   three states, that's fine.                           13      A Knowing if the pharmacy has other outside
    14   BY MR. LOESER:                                       14   business than walk-in business.
    15      Q And were you thinking as well of the            15   BY MR. LOESER:
    16   problem that you knew existed of wholesale           16      Q Was there something in particular about
    17   distributors shipping most or all of their product   17   selling controlled substances over the Internet
    18   to Florida, for example --                           18   that you thought was a cause for concern?
    19        MR. DAVISON: Objection to form.                 19      A Evidently.
    20   BY MR. LOESER:                                       20      Q The next item is, "Has your company been
    21      Q -- which was out of the state where a lot       21   cited for any violations pertaining to controlled
    22   of these distributors were located?                  22   substances?"
    23      A Could you repeat the question.                  23        Why was that a factor potentially
    24        MR. DAVISON: Objection.                         24   indicative of suspicious orders?
    25      A I'm sorry.                                      25        MR. DAVISON: Objection to form.

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     1      A So we're aware of it.                            1      A I believe that has to do with getting into
     2   BY MR. LOESER:                                        2   the vault.
     3      Q So you're aware of whether the company           3      Q Okay. Again, the idea being you wanted to
     4   that you're considering as a wholesale distributor    4   make sure that the distributor was not set up in a
     5   had engaged in prior illegal conduct with regard      5   way where theft would be easy from their facility?
     6   to controlled substances?                             6        MR. DAVISON: Objection.
     7        MR. DAVISON: Objection to form.                  7      A Theft and access to their vault or cage.
     8      A Possibly, yes.                                   8   BY MR. LOESER:
     9   BY MR. LOESER:                                        9      Q Okay. The next item says, "Does your
    10      Q Okay. And is that something that you had        10   company have video surveillance of sensitive areas
    11   seen among wholesale distributor customer            11   where controlled drugs received, stored and
    12   candidates?                                          12   processed?"
    13        MR. DAVISON: Objection.                         13        That too to deter theft?
    14      A Not particularly, no.                           14        MR. DAVISON: Objection.
    15   BY MR. LOESER:                                       15      A Yes.
    16      Q The next item is, "Does your company have       16   BY MR. LOESER:
    17   a specific person who manages compliance on          17      Q So if a company didn't have that, that
    18   controlled substances and DEA regulations?"          18   would be something to take into account when
    19        Why would that be a factor to consider          19   evaluating the suspicious order monitoring program
    20   when identifying whether a wholesale distributor     20   of that --
    21   customer engages in suspicious orders?               21      A Correct.
    22        MR. DAVISON: Objection to form.                 22      Q -- wholesale distributor?
    23      A Well, they have to have a product               23        MR. DAVISON: Objection.
    24   monitoring program in place, as required by the      24   BY MR. LOESER:
    25   DEA, I believe.                                      25      Q The next item is, "Provide an overview of
                                                  Page 359                                                  Page 361
     1   BY MR. LOESER:                                        1   your company process of opening new pharmacy
     2      Q Okay. The next item is, "Does your               2   customers."
     3   company have a distribution site security             3        Why is that important?
     4   manager?"                                             4      A So we know how they conduct their business
     5        Why does that matter?                            5   of going to sell to the end user.
     6      A I'm not really certain on that one.              6      Q And by "end user," you mean the downstream
     7      Q Okay. Could it be that it would help             7   customers?
     8   deter theft of controlled substances from the         8      A Yes.
     9   distributor?                                          9      Q So you have a better idea of who the
    10      A I would imagine that's what it was --           10   downstream customers are of the wholesale
    11        MR. DAVISON: Objection.                         11   distributor that you --
    12      A -- pertaining to, and their vault,              12      A Yes.
    13   security with their vault.                           13      Q -- consider bringing on?
    14   BY MR. LOESER:                                       14        MR. DAVISON: Objection to form.
    15      Q Okay. The next item is, "List the name of       15   BY MR. LOESER:
    16   the security company who you have contracted         16      Q Then you have a number of items listed
    17   with."                                               17   here, and it starts with "Number of accounts
    18        Explain that one.                               18   serviced."
    19        MR. DAVISON: Objection.                         19        Why does that matter?
    20      A Again that would pertain to the security        20      A To know their size, to know -- basically
    21   of their vault and who they may work with.           21   just get more information about their business.
    22   BY MR. LOESER:                                       22      Q Okay. And then there's a series of types
    23      Q The next item on your list is, "Does your       23   of downstream customers that you've listed, and
    24   company have a card access control system?"          24   they include "Distributors, Retail Pharmacies,
    25        Explain that.                                   25   Pain Management Clinics, Physicians, Hospitals,

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     1   Mail Order, Long Term Care."                          1   time that you worked at Mallinckrodt, did you
     2         The type of downstream customer, why does       2   attempt to collect any of this information from
     3   that matter for evaluating the suspicious order       3   your wholesale distributor clients?
     4   monitoring program of a wholesale distributor?        4        MR. DAVISON: Objection.
     5         MR. DAVISON: Objection.                         5      A It was sent out by Karen Harper's group
     6      A Just basically based on the number of            6   and response went back to Karen Harper's group on
     7   accounts you service, breaking it down from there.    7   the e-mail, I believe. I don't believe any of the
     8   If it's retail pharmacies, that's fine. If it's       8   documents came back through me.
     9   pain management clinics and they're being             9   BY MR. LOESER:
    10   outnumbered, that would -- for our people to use     10      Q Right. And this is April 1st, 2011, and
    11   this form, that would be relevant information that   11   this is a questionnaire you're preparing as of
    12   they have about approving an account to be opened    12   that date, correct?
    13   up to service to purchase Mallinckrodt products.     13      A Correct.
    14   BY MR. LOESER:                                       14      Q And so I'm asking you prior to that date,
    15      Q Okay. So pain management clinics in             15   during the years from 2000 to 2011 that you worked
    16   particular would stand out as a potential --         16   at Mallinckrodt, is this information that you
    17      A To me, yes.                                     17   collected from any of your wholesale distributor
    18      Q -- problem?                                     18   clients?
    19      A To me.                                          19      A I may have collected some --
    20         MR. DAVISON: Objection.                        20        MR. DAVISON: Objection.
    21   BY MR. LOESER:                                       21      A -- but yes.
    22      Q And that's because of the amount of             22   BY MR. LOESER:
    23   diversion that happened from pain management         23      Q Okay. And where would that be reflected,
    24   clinics?                                             24   if you collected that information?
    25         MR. DAVISON: Objection.                        25        MR. DAVISON: Objection.
                                                  Page 363                                                     Page 365
     1      A Most likely, yes.                                1      A I'm not certain where I would have put it.
     2   BY MR. LOESER:                                        2   BY MR. LOESER:
     3      Q Okay. And what about physicians? Is that         3      Q Were you required to submit any kind of
     4   dispensing physicians; is that what you had in        4   report or information to anyone in which you
     5   mind?                                                 5   indicated the collection of any of this
     6      A Yes.                                             6   information?
     7      Q And would they also stand out as a               7      A No, not that I recall.
     8   particular issue because of the --                    8      Q And so if there is no such report, does
     9      A With me, yes.                                    9   that indicate that you provided no report of this
    10      Q Because of the diversion that occurred          10   information?
    11   with physicians?                                     11        MR. DAVISON: Objection.
    12      A Yes.                                            12      A I can't answer that. If I did or did not,
    13        MR. DAVISON: Objection.                         13   I don't recall.
    14   BY MR. LOESER:                                       14   BY MR. LOESER:
    15      Q So for all these factors that you               15      Q I'm going back to the first page that has
    16   identified, did you examine whether your wholesale   16   questions number 1. through 10., and we went over
    17   distributor clients -- did you collect this          17   some of them, including "Ordering excessive
    18   information from all of your wholesale distributor   18   quantities of a limited variety of controlled
    19   clients?                                             19   drugs," and so on.
    20      A You'd have to ask Karen Harper that.            20        Is this information that you collected
    21        MR. DAVISON: Objection.                         21   from your clients or evaluated during the time
    22      A That information was done through her           22   2000 through 2011?
    23   department, I believe.                               23        MR. DAVISON: Objection to form.
    24   BY MR. LOESER:                                       24      A Did I collect this data?
    25      Q Okay. But I'm asking you. So during the         25   BY MR. LOESER:

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     1      Q Right.                                           1   Lisa Cardetti, Karen Harper's e-mail to you; is
     2      A I may have.                                      2   that right?
     3      Q Okay. And if you did, would there be some        3      A Could have been, yes.
     4   record of you having done that?                       4      Q Okay. So if you look at the e-mail from
     5      A Not that I know. I'm not certain.                5   Karen Harper to you on November 15th, 2011, she
     6      Q Okay. So when you say you may have, are          6   writes, "Steve, I was grateful for the opportunity
     7   you saying that there's a very, very remote chance    7   to speak to the expanded Generic Sales Group last
     8   that you did or that --                               8   week and I enjoyed catching up with you, Jane,
     9      A I could have asked --                            9   Bob, and all who attended.
    10        MR. DAVISON: Objection.                         10        "Attached please find several DEA memos to
    11      A -- these various questions to some of my        11   industry regarding Suspicious Order Monitoring and
    12   accounts, and I don't know if I made record of it    12   the Federal Register DEA Revocation Notice
    13   or not.                                              13   referenced in the DEA letter dated 12/27/2007.
    14   BY MR. LOESER:                                       14        "Although these are several years old, DEA
    15      Q But you don't have any specific                 15   frequently references them to this day in
    16   recollection of asking any of these questions, do    16   conversations pertaining to industry obligations."
    17   you?                                                 17        Do you recall the meeting with Ms. Harper
    18        MR. DAVISON: Objection.                         18   and --
    19      A No recollection specifically, no.               19      A No.
    20   BY MR. LOESER:                                       20      Q Do you recall whether -- between
    21      Q Okay. And as we talked about earlier with       21   April 1st, 2011, and October 15th, 2012, whether
    22   regard to the oxycodone sales to your wholesale      22   you continued to be involved with helping create a
    23   distributor clients, you did not evaluate the        23   checklist for suspicious order monitoring?
    24   ratio of oxycodone --                                24      A I don't recall specifically, no.
    25      A I've answered that before. No, I did not.       25      Q And in looking at this e-mail, it looks
                                                  Page 367                                                       Page 369
     1     Q Yeah, okay.                                       1   like the e-mail that you forwarded to Ms. Cardetti
     2       MR. DAVISON: Objection.                           2   on October 15, 2012, was an e-mail that was sent
     3   BY MR. LOESER:                                        3   to you on November 15th, 2011, so the prior year.
     4     Q And that's the same for all of these              4        Do you recall receiving this e-mail from
     5   questions on here, during the time frame that         5   Ms. Harper?
     6   we've discussed today, with regard to oxycodone?      6      A No.
     7       MR. DAVISON: Objection.                           7        MR. DAVISON: Objection.
     8     A I believe so, yes.                                8   BY MR. LOESER:
     9       (Whereupon, Exhibit Mallinckrodt-Becker-          9      Q And then below her e-mail, there's an
    10   040 was marked for identification by the             10   e-mail from you a little earlier in that same day.
    11   reporter.)                                           11   On November 15th, 2011, you write, "Dear Karen, It
    12       THE REPORTER: Number 40.                         12   was great to see you last week in DC for our
    13   BY MR. LOESER:                                       13   National meeting.
    14     Q Mr. Becker, you have in front of you             14        "I am looking for any type of document
    15   Exhibit 40, which is an e-mail to you from Lisa      15   from the DEA on the requirement for product
    16   Cardetti, dated October 15th, 2012.                  16   monitoring the wholesale sale account should
    17       Who is Lisa Cardetti?                            17   follow.
    18     A She was a product manager at Mallinckrodt.       18        "Do you have anything you can send?"
    19     Q I'm sorry. This is an e-mail from you to         19        And that's what caused her to then send
    20   Lisa Cardetti.                                       20   the materials that she references in her e-mail.
    21     A Mm-hmm (affirmative).                            21   Do you have any recollection --
    22     Q And below that is an e-mail from Karen           22        MR. DAVISON: Objection.
    23   Harper to you.                                       23   BY MR. LOESER:
    24     A Mm-hmm (affirmative).                            24      Q -- of asking for that information?
    25     Q And so it looks like you forwarded, to           25      A I remember asking for it.

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     1      Q And why did you ask for it?                         1      Q Third, "Ordering excessive quantities of a
     2      A So I could have it on hand to understand            2   limited variety of controlled substances in
     3   what the DEA is looking for and have it to share         3   combination with excessive quantities of lifestyle
     4   with accounts.                                           4   drugs."
     5      Q Okay. So this was 2011, and you had been            5        Fourth is, "Ordering the same controlled
     6   working at Mallinckrodt since 2000; is that right?       6   substances from multiple distributors"; do you see
     7      A I believe so.                                       7   that?
     8      Q And was this the first time -- so if you            8      A Yes, I do.
     9   look at the attachment, one of the things that you       9      Q So we've spent a lot of time going through
    10   were sent was a letter dated September 27th,            10   your customers, particularly during the time frame
    11   2006 --                                                 11   of 2008 to 2010. How many of those factors would
    12      A Mm-hmm (affirmative).                              12   you say applied to your wholesale distributor
    13      Q -- from the DEA. Was this the first time           13   customers?
    14   you had seen this letter?                               14        MR. DAVISON: Objection to form.
    15      A Correct.                                           15      A How many of these apply to my accounts?
    16      Q And was this the first time that you had           16   BY MR. LOESER:
    17   received information regarding what the DEA would       17      Q Yeah.
    18   consider circumstances that might be indicative of      18      A Well, I would imagine all of them.
    19   diversion?                                              19        MR. LOESER: Go off the record.
    20      A I believe so.                                      20        THE VIDEOGRAPHER: We are going off the
    21       MR. DAVISON: Objection to form.                     21   record. The time is 5:06 p.m.
    22   BY MR. LOESER:                                          22        (A recess was taken from 5:06 p.m. until
    23      Q So why don't you turn to the third page of         23   5:17 p.m.)
    24   the DEA letter dated September 27, 2006.                24        THE VIDEOGRAPHER: We are back on the
    25      A (Complies.)                                        25   record. Time is 5:17 p.m.
                                                    Page 371                                                        Page 373
     1      Q The heading is, "Circumstances That Might           1         MR. GASTEL: Good evening, Mr. Becker. My
     2   Be Indicative of Diversion, DEA investigations           2   name is Ben Gastel, and I represent a group of
     3   have revealed that certain pharmacies engaged in         3   plaintiffs in Tennessee that have been
     4   dispensing controlled substances for other than a        4   cross-noticed in today's deposition.
     5   legitimate medical purpose often display one or          5        I'll first state for the record, as we
     6   more of the following characteristics in their           6   have done in numerous of these depositions, that
     7   pattern of ordering controlled substances."              7   we object to the deposition going forward today on
     8        Do you see those items there?                       8   behalf of our clients because of Mallinckrodt's
     9      A Yes.                                                9   continuous failures to meet their obligations set
    10      Q And some of those items are the same items         10   forth in the state-federal cooperation protocol,
    11   that were on the questionnaire that you were            11   and as laid out in our previous deposition records
    12   working on; is that right?                              12   and in our motions to quash.
    13      A Yes.                                               13        MR. DAVISON: And I just note that
    14      Q And take a look at the first four items on         14   Mallinckrodt has complied with state-federal
    15   that list.                                              15   protocol, but your objection is noted.
    16      A Mm-hmm (affirmative).                              16        MR. GASTEL: And I also will incorporate
    17      Q The first one is, "Ordering excessive              17   Mr. Loeser's objections about the recently
    18   quantities of a limited variety of controlled           18   produced documents, and like Mr. Loeser, I will
    19   substances."                                            19   also like to reserve the right to recall the
    20      A Mm-hmm (affirmative).                              20   witness.
    21      Q Second one, "Ordering a limited variety of         21         MR. DAVISON: And just to make the record
    22   controlled substances in quantities                     22   clear on the number of documents produced, I think
    23   disproportionate to the quantity of non-controlled      23   earlier today Mr. Loeser said it was 300,000
    24   medications."                                           24   documents. I believe it was closer to 25,000
    25      A Yes.                                               25   documents or somewhere around there. I do not

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     1   believe it was 300,000 documents.                     1      Q And do you recall approximately when those
     2               EXAMINATION                               2   visits were?
     3   BY MR. GASTEL:                                        3      A No, I don't.
     4      Q So now that that dance is out of the way,        4      Q Anything stick out in your mind regarding
     5   Mr. Becker, I'll reiterate that my name is Ben        5   your visits for the sales meetings?
     6   Gastel, and I represent, like I said, a different     6        MR. DAVISON: Objection to form.
     7   group of plaintiffs than the group that Mr. Loeser    7      A No. I can't even remember what accounts
     8   was representing when he was asking you questions     8   they were for.
     9   throughout the day. Fortunately for you, I don't      9   BY MR. GASTEL:
    10   have nearly as many questions as Mr. Loeser.         10      Q And apart from those visits regarding
    11        And everyone I represent is from the state      11   TopRx and the visits you've described for the
    12   of Tennessee, so I'll begin by asking you, have      12   sales meetings, do you recall any other instances
    13   you ever been to Tennessee as part of your work      13   where you would have traveled to the state of
    14   for Mallinckrodt?                                    14   Tennessee for your work for Mallinckrodt?
    15      A Yes.                                            15      A No.
    16      Q In what capacities did you go to the state      16      Q I probably should have began here, but
    17   of Tennessee?                                        17   will you state your full current address.
    18      A I had an account that I called on there.        18      A 581 Coventry Parkway, Eagan, Minnesota
    19      Q What account was that?                          19   55123.
    20      A TopRx I believe was in Tennessee.               20      Q And how long have you lived there, sir?
    21      Q And do you remember what part of Tennessee      21      A I believe maybe 25 years, 26 years.
    22   TopRx was located?                                   22      Q Any plans to move from there anytime soon?
    23      A I don't. Bartlett, possibly. Is there           23        MR. DAVISON: Objection.
    24   such a town?                                         24      A I'm not planning to move from there, but I
    25      Q There is.                                       25   have another residence I spend quite a bit of time
                                                  Page 375                                                  Page 377
     1      A I think that's where I think it is. My           1   in.
     2   memory doesn't serve me the best. It's been           2   BY MR. GASTEL:
     3   awhile.                                               3      Q And where is that other residence?
     4      Q And how many times, approximately, do you        4      A Brainerd, Minnesota.
     5   think that you traveled to Tennessee to visit         5      Q And what is the address of that residence?
     6   TopRx?                                                6      A I don't have the ZIP Code. It would be
     7      A I may have traveled -- to that account, I        7   20857 Paradise Lane, Brainerd, Minnesota.
     8   may have traveled there two, three times.             8      Q Going back again, the clients that I
     9      Q Anything stick out from those visits?            9   represent are in the state of Tennessee. What is
    10        MR. DAVISON: Objection to form.                 10   your understanding of opioid prescription rates in
    11      A No.                                             11   the state of Tennessee?
    12   BY MR. GASTEL:                                       12      A I don't have any --
    13      Q And what was the nature of the visit?           13        MR. DAVISON: Objection to form.
    14      A Sales call. And on top -- on that, I may        14      A -- information on that.
    15   have attended -- some sales meetings for my          15   BY MR. GASTEL:
    16   accounts may have taken place in Memphis or          16      Q Do you believe that Tennessee has been
    17   Nashville.                                           17   particularly hard hit by the opioid crisis?
    18      Q And those would be separate than your           18        MR. DAVISON: Objection.
    19   visits directly to TopRx?                            19      A I don't know how they would rank on any
    20      A Correct.                                        20   issues with opiates.
    21      Q And approximately how many times do you         21   BY MR. GASTEL:
    22   think that you traveled to Tennessee for these       22      Q But you understand that the opioid crisis
    23   sales meetings?                                      23   affects certain parts of the country
    24      A Again, I don't recall specifically. Maybe       24   differently --
    25   two, three times.                                    25      A Correct.

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     1      Q -- than it affects other parts of the              1        MR. DAVISON: Objection.
     2   country?                                                2      A No, it would not surprise me. I'm just
     3      A Correct.                                           3   not familiar with it.
     4        MR. DAVISON: Objection.                            4   BY MR. GASTEL:
     5      A I believe Tennessee, Kentucky, Ohio, up            5      Q Mr. Loeser went through some documents
     6   that corridor, there was an issue.                      6   related to Masters Pharmaceutical and specifically
     7   BY MR. GASTEL:                                          7   as it relates to the DEA's suspension of their
     8      Q Have you ever reviewed any materials               8   license in 2011. Do you recall those documents?
     9   published by the Tennessee Department of Health on      9        MR. DAVISON: Objection.
    10   Tennessee's opioid crisis?                             10      A I recall seeing the documents from him
    11      A No.                                               11   today.
    12      Q Are you aware that as of 2013, 2014, the          12   BY MR. GASTEL:
    13   Tennessee Department of Health estimated that          13      Q Do you recall that after Mallinckrodt
    14   there were approximately 221,000 adults in             14   suspended sales to Masters, Mallinckrodt held a
    15   Tennessee using prescription opioids for               15   meeting that some employees referred to as "the
    16   nonmedical reasons?                                    16   earthquake meeting"?
    17      A No.                                               17        MR. DAVISON: Objection to form.
    18        MR. DAVISON: Objection to form.                   18      A I've never heard any such thing.
    19   BY MR. GASTEL:                                         19   BY MR. GASTEL:
    20      Q You talked a lot earlier today about the          20      Q You never heard anybody refer to a meeting
    21   I-75 corridor from Florida to Ohio. Do you             21   at Mallinckrodt as "the earthquake meeting"?
    22   remember that testimony?                               22        MR. DAVISON: Objection.
    23        MR. DAVISON: Objection.                           23      A No.
    24      A I didn't talk about it. I was asked               24   BY MR. GASTEL:
    25   questions on the I-75 corridor.                        25      Q And you testified earlier that you knew
                                                   Page 379                                                     Page 381
     1   BY MR. GASTEL:                                          1   that Mallinckrodt collected chargeback data
     2      Q Sure. And I think that you kind of refer           2   regarding its sales, correct?
     3   to that as the Oxy Express a couple of times.           3      A Correct.
     4      A That's what it is --                               4      Q And you went through some chargeback data
     5        MR. DAVISON: Objection to form.                    5   with Mr. Loeser earlier today, correct?
     6      A I guess that's what it is acknowledged as          6        MR. DAVISON: Can we just hold up for a
     7   being, but I also believe I stated there's other        7   second. I think there might be an issue with the
     8   highways that come out of Florida.                      8   phone. Can we just check if anyone on the phone
     9   BY MR. GASTEL:                                          9   can hear us.
    10      Q Sure. But are you aware that I-75 runs            10        THE REPORTER: One moment. Should we go
    11   right through Eastern Tennessee?                       11   off the record?
    12        MR. DAVISON: Objection.                           12        MR. DAVISON: Yeah, let's go off the
    13      A I'm not sure exactly where it is.                 13   record.
    14   BY MR. GASTEL:                                         14        THE VIDEOGRAPHER: Going off the record.
    15      Q Would it surprise you to learn that that          15   The time is 5:25 p m.
    16   was true?                                              16        (A recess was taken from 5:25 p m. until
    17        MR. DAVISON: Objection.                           17   5:27 p.m.)
    18   BY MR. GASTEL:                                         18        THE VIDEOGRAPHER: We are back on the
    19      Q Would it surprise you to learn that that          19   record. The time is 5:27 p.m.
    20   was true?                                              20        MR. GASTEL: Do you have the exhibit
    21        MR. DAVISON: Objection.                           21   stickers?
    22      A What was true?                                    22        THE REPORTER: Yes.
    23   BY MR. GASTEL:                                         23        (Whereupon, Exhibit Mallinckrodt-Becker-
    24      Q That Interstate 75 runs right through             24   041 was marked for identification by the
    25   Eastern Tennessee?                                     25   reporter.)

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     1        THE REPORTER: We are on 41.                             1        MR. DAVISON: Objection.
     2   BY MR. GASTEL:                                               2   BY MR. GASTEL:
     3      Q Mr. Becker, I've handed you a document,                 3      Q Then do you see again on this document --
     4   and you'll see on the front page there's a cover             4   I now realize I have not put it up on the -- that
     5   page. This Microsoft Excel spreadsheet was                   5   in the far right there are columns that have dates
     6   produced to us in a native format with Bates                 6   listed, do you see that, and they run from
     7   Number MNK_TNSTA05347733, and it has a file name             7   July 2011 through June 2012?
     8   of "TN and UT oxy15 and 30 through June 2012."               8      A Yes, I do.
     9        Do you see where it says that, sir?                     9      Q Do you see that?
    10      A Yes, I do.                                             10      A Yes, I do.
    11        MS. RANJAN: Counsel, do you have copies                11      Q Would that suggest to you that this is
    12   for either attorneys in attendance?                         12   chargeback data covering that period of time?
    13        MR. GASTEL: Sure. (Handing.)                           13        MR. DAVISON: Objection to form.
    14   BY MR. GASTEL:                                              14      A I do not know.
    15      Q Flipping to the spreadsheet--and I'll                  15   BY MR. GASTEL:
    16   represent to you that this is the sheet that                16      Q Well, when you would see July 2011 in a
    17   carries the tab name of "Oxy 30 TN"--do you see             17   spreadsheet, you would normally consider that to
    18   across the top there are column labels for this             18   be data reflect --
    19   spreadsheet, including the "Ship to Number," the            19      A If this is a chargeback report.
    20   "Ship to Name," the "Ship to Address," the "Ship            20        MR. DAVISON: Objection.
    21   to City," the "Ship to State" --                            21   BY MR. GASTEL:
    22      A Yes.                                                   22      Q Yeah, and I'll represent to you that it is
    23      Q -- and the "Sold Via Parent Name"; do you              23   a chargeback report --
    24   see that?                                                   24      A Okay.
    25      A Yes, I do.                                             25      Q -- that was maintained by Mallinckrodt on
                                                        Page 383                                                   Page 385
     1      Q And this would be consistent with the type              1   its share drive, okay?
     2   of information that would be collected in                    2         MR. DAVISON: Objection.
     3   chargeback data that was maintained by                       3   BY MR. GASTEL:
     4   Mallinckrodt, correct?                                       4      Q I didn't run this report. This is a --
     5        MR. DAVISON: Objection to form.                         5      A Right, I've never seen this report.
     6      A I'm not certain exactly what information                6      Q -- document that Mallinckrodt produced to
     7   they put in their chargeback reports because I               7   us.
     8   only requested reports. I did not work in that               8      A I've never seen this report.
     9   department.                                                  9      Q I understand.
    10   BY MR. GASTEL:                                              10         And you recall earlier today that
    11      Q But you know that chargeback data would                11   Mr. Loeser walked you through the period of time
    12   include information on who Mallinckrodt sold                12   when Mallinckrodt suspended sales to Masters
    13   product to, correct?                                        13   Pharmaceuticals; do you remember that?
    14      A Yes.                                                   14         MR. DAVISON: Objection.
    15      Q And that would typically be shown as a                 15      A Yes.
    16   parent in the name of the chargeback data,                  16   BY MR. GASTEL:
    17   correct?                                                    17      Q So I want to look at the column "Sold Via
    18        MR. DAVISON: Objection to form.                        18   Parent Name" on this spreadsheet.
    19      A Correct.                                               19      A Yes.
    20   BY MR. GASTEL:                                              20      Q Okay. And will you go down and find the
    21      Q And then it would also show the address                21   first instance where Masters Pharmaceutical is
    22   and the name of the customer, the downstream                22   identified. And to help direct your attention,
    23   customer, who ultimately received that order,               23   you'll see that it is in row 24; do you see that?
    24   correct?                                                    24      A (Reviewing.) Yes, I do.
    25      A Correct.                                               25      Q And the downstream customer reflected in

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     1   this for Masters Pharmaceutical is Food City              1   2012 via AmerisourceBergen; do you see that?
     2   located at 11503 Chapman Highway; do you see that?        2      A Mm-hmm. Mm-hmm (affirmative).
     3        MR. DAVISON: Objection.                              3        MR. DAVISON: Objection.
     4      A Is what? Food City, did you say?                     4   BY MR. GASTEL:
     5   BY MR. GASTEL:                                            5      Q And that was your client during this time
     6      Q Yes, on --                                           6   period, correct?
     7      A Yes.                                                 7        MS. MCINTYRE: Object to form.
     8      Q -- 11503 --                                          8      A AmerisourceBergen?
     9      A Yes.                                                 9   BY MR. GASTEL:
    10      Q -- Chapman Highway; you see that, correct?          10      Q AmerisourceBergen was your account during
    11      A Yes.                                                11   this time period?
    12      Q And then if you go over here to the data            12      A It may have been. I don't recall.
    13   reflected in the columns with the month and year         13      Q But at some point you were the account
    14   names --                                                 14   manager for the AmerisourceBergen account,
    15      A Mm-hmm (affirmative).                               15   correct?
    16      Q -- you'll see that there are sales                  16      A At one point I was, yes.
    17   reported for July 2011; do you see that?                 17      Q And so after Mallinckrodt suspends sales
    18        MR. DAVISON: Objection.                             18   to Masters Pharmaceuticals for its failure to
    19      A Yes.                                                19   maintain effective controls against diversion,
    20   BY MR. GASTEL:                                           20   what did the sales team do to ensure that drugs
    21      Q And there are sales reported for                    21   that were previously being sold to Masters were
    22   August 2011; do you see that?                            22   just simply not being diverted to other wholesale
    23      A Yes.                                                23   customers?
    24        MR. DAVISON: Objection.                             24        MR. DAVISON: Objection to form.
    25   BY MR. GASTEL:                                           25      A Could you repeat the question, please.
                                                       Page 387                                                Page 389
     1      Q And then there are sales reported in                 1   BY MR. GASTEL:
     2   September of 2011; do you see that?                       2      Q Sure. After Mallinckrodt suspends sales
     3      A Yes.                                                 3   to Masters Pharmaceuticals, what did the sales
     4        MR. DAVISON: Objection.                              4   team do to ensure that Masters' downstream
     5   BY MR. GASTEL:                                            5   customers were not simply going to other
     6      Q And then there's no more sales for the               6   wholesalers to obtain prescription opioids?
     7   rest of the year; do you see that?                        7        MR. DAVISON: Objection to form.
     8      A Yes.                                                 8      A I don't recall that the sales team did
     9        MR. DAVISON: Objection.                              9   anything. That would be Karen Harper's job under
    10   BY MR. GASTEL:                                           10   product monitoring.
    11      Q And that would be consistent with roughly           11   BY MR. GASTEL:
    12   the time period when Mallinckrodt suspended sales        12      Q And do you see that the Ship to City here
    13   to Masters Pharmaceuticals, correct?                     13   for this Food City location is in Seymour,
    14      A Evidently, yes.                                     14   Tennessee; do you see that?
    15      Q And then for the first month that there's           15      A Yes, I do.
    16   no reported Masters sale, do you see that there is       16      Q And then do you see that with regard to
    17   a sale of what I imagine is 22,200 pills to that         17   the sales via Masters that there is -- during the
    18   very same pharmacy that went through                     18   period covered by this spreadsheet, which appears
    19   AmerisourceBergen Health? Do you see that in line        19   to be one year, there were 76,600 oxy 30 pills
    20   22?                                                      20   sold to this pharmacy in Seymour?
    21        MR. DAVISON: Objection.                             21      A What line number are you looking at again?
    22      A I see that.                                         22        MR. DAVISON: Objection.
    23   BY MR. GASTEL:                                           23   BY MR. GASTEL:
    24      Q And then sales continued through the                24      Q Again, on line number 24 --
    25   period covered by this spreadsheet through June          25      A Yes, I see that.

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     1      Q -- for sales to Food City via Masters            1   July of 2011 of 45,600 oxy 30 pills into this Food
     2   Pharmaceuticals, there's 76,600 pills; do you see     2   City pharmacy in Knoxville, Tennessee; do you see
     3   that?                                                 3   that?
     4        MR. DAVISON: Objection.                          4     A Yes, I do.
     5      A Mm-hmm (affirmative). I see that.                5        MR. DAVISON: Objection.
     6   BY MR. GASTEL:                                        6   BY MR. GASTEL:
     7      Q And then AmerisourceBergen, during that          7     Q And then no sales for the rest of the
     8   same period, has 77,900 pills sold to this Food       8   year; do you see that?
     9   City in Seymour, Tennessee --                         9     A Yes, I do.
    10        MS. MCINTYRE: I can't hear the question.        10        MR. DAVISON: Objection.
    11   I'm sorry to interrupt.                              11   BY MR. GASTEL:
    12   BY MR. GASTEL:                                       12     Q But then sales continue through
    13      Q -- during the period reflected in this          13   AmerisourceBergen, as reflected on row 41; do you
    14   spreadsheet; do you see that?                        14   see that?
    15        MR. DAVISON: Objection.                         15        MR. DAVISON: Objection.
    16      A You hesitated, so could you repeat the          16     A Yes, I do.
    17   question.                                            17   BY MR. GASTEL:
    18   BY MR. GASTEL:                                       18     Q And again the sales through
    19      Q Sure. And then if you go farther up the         19   AmerisourceBergen are 46,300; do you see that?
    20   spreadsheet to the same Food City located in         20     A Yes, I do.
    21   Seymour, Tennessee, sales via AmerisourceBergen      21        MR. DAVISON: Objection.
    22   during this period covered by this spreadsheet       22   BY MR. GASTEL:
    23   constitutes 77,900 pills; do you see that?           23     Q So after Mallinckrodt shut off Masters in
    24      A Yes.                                            24   the summer of 2011, are you aware of any attempt
    25        MR. DAVISON: Objection to form.                 25   by Mallinckrodt's sales department to undertake
                                                  Page 391                                                  Page 393
     1        MS. MCINTYRE: Object to form.                    1   any investigation regarding Masters' customers in
     2   BY MR. GASTEL:                                        2   Tennessee?
     3      Q And also do you see that this spreadsheet        3      A I don't know.
     4   is sorted by the "Total 12 months" column; do you     4        MR. DAVISON: Objection to form.
     5   see that?                                             5      A That would have been Karen Harper's
     6      A Yes.                                             6   responsibility.
     7      Q And it's sorted in descending order from         7   BY MR. GASTEL:
     8   the highest to the lowest; do you see that?           8      Q Do you know whether or not Karen Harper
     9      A Yes.                                             9   did anything?
    10      Q And so this would appear that during this       10        MR. DAVISON: Objection.
    11   time period, this was -- this account, Food City     11      A I do not know. You'd have to ask her
    12   in Seymour, Tennessee, was Masters' largest          12   specifically.
    13   Tennessee customer covered by this time period; do   13   BY MR. GASTEL:
    14   you see that?                                        14      Q But she didn't talk to you about that at
    15        MR. DAVISON: Objection to form.                 15   that time?
    16      A According to this data.                         16        MR. DAVISON: Objection.
    17   BY MR. GASTEL:                                       17      A About Food City?
    18      Q Sure. And then again we see, if we go           18   BY MR. GASTEL:
    19   back -- if we flip farther down the spreadsheet      19      Q Well, about any Masters customer in the
    20   down to rows 41 and 42; do you see that?             20   state of Tennessee?
    21      A Mm-hmm (affirmative).                           21      A Not that I recall.
    22      Q We see the next instance of Masters being       22      Q And after Mallinckrodt shut off -- sorry.
    23   listed in this spreadsheet; do you see that --       23   Strike that.
    24      A Mm-hmm (affirmative). Yes, I do.                24        Do you know whether the suspicious order
    25      Q -- in line 42? And it reflects a sale in        25   monitoring team held any meetings with the sales

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      1   force to discuss Masters Pharmaceuticals'               1        MR. DAVISON: Objection.
      2   downstream customers moving to other Mallinckrodt       2   BY MR. GASTEL:
      3   wholesalers?                                            3      Q And so it's entirely possible that other
      4      A Not that I recall.                                 4   manufacturers and other wholesalers are also
      5        MR. DAVISON: Objection.                            5   pushing product into this pharmacy in Seymour,
      6   BY MR. GASTEL:                                          6   Tennessee, correct?
      7      Q Do you know how many people live in                7        MR. DAVISON: Objection.
      8   Seymour, Tennessee?                                     8      A You'd have to ask those accounts.
      9      A I don't.                                           9   BY MR. GASTEL:
     10        MR. DAVISON: Objection.                           10      Q Sure.
     11   BY MR. GASTEL:                                         11      A I wouldn't be able to answer that.
     12      Q According to the United States Census             12      Q But your chargeback data only reflects
     13   Bureau, there's approximately 11,000 people who        13   sales made by Mallinckrodt, not the other
     14   live there. Do you have any reason to dispute          14   manufacturers, correct?
     15   that?                                                  15      A That's correct.
     16        MR. DAVISON: Objection.                           16        MR. DAVISON: Objection.
     17      A No.                                               17      A The DEA has the information on all
     18   BY MR. GASTEL:                                         18   combined manufacturers.
     19      Q Would it raise a red flag to you that             19   BY MR. GASTEL:
     20   Mallinckrodt, during the period reflected by this      20      Q Sure. But with regard to the information
     21   chargeback data, was selling what appears to be        21   about Mallinckrodt sales, Mallinckrodt has the
     22   approximately 145,000 oxy 30 pills into Seymour,       22   same information as the DEA through its chargeback
     23   Tennessee?                                             23   data, right?
     24        MR. DAVISON: Objection.                           24        MR. DAVISON: Objection.
     25        MS. MCINTYRE: Objection.                          25      A It should.
                                                     Page 395                                                     Page 397
      1      A Repeat the question, please.                       1   BY MR. GASTEL:
      2   BY MR. GASTEL:                                          2     Q And oxy 30, which is the only prescription
      3      Q Would it raise a red flag to you that              3   opioid reflected by this spreadsheet, is not the
      4   Mallinckrodt, during the period reflected by this       4   only prescription opioid on the market, is it?
      5   chargeback data --                                      5       MR. DAVISON: Objection.
      6      A If I had this information --                       6     A Correct.
      7        MR. DAVISON: Objection.                            7   BY MR. GASTEL:
      8      A -- it may have raised a flag to me.                8     Q There are other prescription opioids like
      9   BY MR. GASTEL:                                          9   oxy 15, correct?
     10      Q And you've testified a little bit about           10     A Correct.
     11   this today, but Mallinckrodt isn't the only oxy 30     11     Q Or hydrocodone, correct?
     12   manufacturer in the United States, correct?            12     A Correct.
     13      A That's correct.                                   13     Q And oxy with Tylenol, which often trades
     14      Q You had numerous other competitors, right?        14   under the brand name of Percocet, right?
     15      A I'm not certain the definition of                 15       MR. DAVISON: Objection.
     16   "numerous." I'm not certain how many players may       16     A Correct.
     17   have been out there.                                   17   BY MR. GASTEL:
     18      Q Well, how many players do you recall being        18     Q Will you flip to the last page of that
     19   in the oxy 30 market?                                  19   exhibit, please.
     20      A Three to four.                                    20     A (Complies.)
     21      Q So there were three to four others. And I         21     Q Do you see the very last line of this
     22   think that Mr. Loeser showed you data earlier          22   spreadsheet?
     23   today that in or around 2011, your market share        23     A 963?
     24   for oxy was approximately 51 percent, correct?         24     Q 964.
     25      A Correct.                                          25     A 964?

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      1      Q Yep.                                             1 reporter.)
      2      A Yes.                                             2        THE REPORTER: This is Number 42.
      3      Q Will you read the number that's right            3        MR. GASTEL: I might have come with less
      4   there.                                                4   copies of this one for some reason. I'm sorry
      5        MR. DAVISON: Objection.                          5   about that. Well, I'll share that one, and I'll
      6      A I believe that's 8,635,800.                      6   just, on the Elmo, use mine.
      7   BY MR. GASTEL:                                        7   BY MR. GASTEL:
      8      Q And according to this chargeback data            8      Q I just handed you a document, sir, that
      9   that's maintained by Mallinckrodt, that's the         9   was produced to us in this litigation under Bates
     10   number of oxy 30 pills sold by Mallinckrodt into     10   number MNK_TNSTA02127136. And the file name is
     11   the state of Tennessee from July 2011 through June   11   "Oxy 15 and 30 Ship to and Sold via by mo Jan2014
     12   2012.                                                12   to December2014 run 1-15-15."
     13        MR. DAVISON: Objection to form.                 13        Does that suggest to you, sir, that this
     14      A According to your report, yes.                  14   is chargeback data for the calendar year 2014 that
     15   BY MR. GASTEL:                                       15   was run on January 15th, 2015?
     16      Q And does that raise a red flag to you that      16      A It could be --
     17   Mallinckrodt is selling 8.6 million pills of oxy     17        MR. DAVISON: Objection.
     18   30 into Tennessee over a 12-month period?            18      A -- a chargeback report. I'm not familiar
     19        MR. DAVISON: Objection to form.                 19   with what our full chargeback reports look like.
     20      A You'd have to ask Karen Harper that under       20   BY MR. GASTEL:
     21   product monitoring.                                  21      Q Sure. But chargeback reports often come
     22   BY MR. GASTEL:                                       22   with information regarding the name of the ship --
     23      Q Do you know how many people live in the         23   the ship to name, the ship to address, the ship to
     24   state of Tennessee?                                  24   city, the ship to state, the sold via parent name,
     25      A No, I don't.                                    25   correct?

                                                   Page 399                                                     Page 401
      1        MR. DAVISON: Objection.                          1       MR. DAVISON: Objection.
      2   BY MR. GASTEL:                                        2      A Correct.
      3      Q According to the United States Census            3   BY MR. GASTEL:
      4   Bureau, approximately 6 and a half million people     4      Q And then do you see that there's also here
      5   live in the state of Tennessee. Do you have any       5   a column for "Product"; do you see that?
      6   reason to dispute that figure?                        6      A (Reviewing.)
      7        MR. DAVISON: Objection.                          7      Q It's column K, sir.
      8      A No.                                              8      A Yes, I see that.
      9   BY MR. GASTEL:                                        9      Q And then again we see columns reflecting
     10      Q So according to your own data, during this      10   the months of January 2014 through December 2014.
     11   time period, you were selling over 1.3 pills of      11   Do you see those columns, sir?
     12   oxy 30 for every man, woman and child in the state   12      A Yes, I do.
     13   of Tennessee. Does that concern you?                 13      Q And then do you also see that this
     14        MR. DAVISON: Objection to form.                 14   spreadsheet is sorted by the column "Total 12
     15      A Does that concern me?                           15   months"?
     16   BY MR. GASTEL:                                       16      A Yes.
     17      Q Yeah.                                           17      Q And they're sorted once again in
     18      A If I had these numbers in front of me, I        18   descending order beginning with the highest volume
     19   would have had concerns, yeah.                       19   and descending down. Do you see that?
     20        THE WITNESS: Can this go on this pile           20      A Yes, I do.
     21   here as well, or do you want this separate?          21       MR. DAVISON: Objection.
     22        THE REPORTER: You can put it on the same        22   BY MR. GASTEL:
     23   pile.                                                23      Q And do you see that the third largest
     24        (Whereupon, Exhibit Mallinckrodt-Becker-        24   customer of Mallinckrodt for oxy 15 and oxy 30
     25   042 was marked for identification by the             25   during the time period reflected by this

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      1   spreadsheet is that Food City in Seymour,             1 of oxy 30 during this time period of 2014, right,
      2   Tennessee?                                            2 there are other --
      3         MR. DAVISON: Objection to form.                 3       A That's correct.
      4       A I do see that.                                  4       Q And there are also other prescription
      5   BY MR. GASTEL:                                        5   opioids on the market, like hydrocodone and oxy
      6       Q And this is in 2014, correct?                   6   15, correct?
      7         MR. DAVISON: Objection.                         7         MR. DAVISON: Objection.
      8       A Correct --                                      8       A Correct.
      9   BY MR. GASTEL:                                        9   BY MR. GASTEL:
     10       Q This is approximately --                       10       Q Do you know of any reason why Seymour,
     11       A -- according to your report.                   11   Tennessee, would have a medical need for this much
     12       Q -- two and a half years after you've --        12   prescription opioids?
     13   after Mallinckrodt suspended sales to Masters        13       A I have no idea.
     14   Pharmaceuticals for its failure to maintain          14         MR. DAVISON: Objection to form.
     15   effective controls against diversion, correct?       15         (Whereupon, Exhibit Mallinckrodt-Becker-
     16       A Mm-hmm (affirmative).                          16   043 was marked for identification by the
     17         MR. DAVISON: Objection.                        17   reporter.)
     18   BY MR. GASTEL:                                       18         THE REPORTER: Number 43.
     19       Q Is that a "yes," sir?                          19         MR. GASTEL: I got my copies this time.
     20       A Yes.                                           20   Oh, wait. Can I... (Handing.)
     21       Q And then do you see that according to this     21   BY MR. GASTEL:
     22   spreadsheet, there were--I'm trying to zoom in a     22       Q Sir, you've just been handed a document
     23   little--83,800 pills sold to that Food City; do      23   that was produced to us in this litigation with
     24   you see that?                                        24   the Bates stamp number of MNK-T1_0006449611. And
     25       A Yes, I do.                                     25   it's a PowerPoint presentation, and that's why the

                                                   Page 403                                                       Page 405
      1        MR. DAVISON: Objection to form.                  1   rest of the document does not have Bates stamps on
      2   BY MR. GASTEL:                                        2   it.
      3      Q Once again in Seymour, Tennessee; do you         3        But do you see the first page? It is
      4   see that?                                             4   listed as the "Non-Warehousing" -- or this
      5      A Yes, I do.                                       5   document is identified as the "Non-Warehousing
      6        MR. DAVISON: Objection.                          6   Chain Bridge the Gap Campaign," and it's dated
      7   BY MR. GASTEL:                                        7   March 22nd, 2011; do you see that?
      8      Q And this time the Mallinckrodt customer is       8       A Yes.
      9   reflected to be McKesson Drug; do you see that?       9       Q Do you recall this presentation, sir?
     10        MR. DAVISON: Objection.                         10       A No, I don't.
     11      A Yes, I do.                                      11       Q Do you see here that it says, "Credit for
     12   BY MR. GASTEL:                                       12   developing this program goes to Steve Becker and
     13      Q And again, if the population of Seymour,        13   Victor Borelli?
     14   Tennessee, is approximately 11,000 people, and       14       A Mm-hmm (affirmative).
     15   you're selling 83,000 oxy 30 pills over a year,      15       Q Do you see that?
     16   that's almost eight pills for every man, woman and   16       A Yes, I do.
     17   child in Seymour, Tennessee.                         17       Q And you don't recall developing this
     18        MR. DAVISON: Objection to form.                 18   program in March of 2011?
     19   BY MR. GASTEL:                                       19        MR. DAVISON: Objection to form.
     20      Q Does that cause you concern?                    20       A No, I don't.
     21        MR. DAVISON: Objection to form.                 21   BY MR. GASTEL:
     22      A It would cause me concern.                      22       Q Do you recall that in 2011 there was a
     23   BY MR. GASTEL:                                       23   push to sort of directly interact with what's
     24      Q And once again -- I don't want to belabor       24   called the nonwarehousing chain?
     25   this point, but you're not the only manufacturer     25        MR. DAVISON: Objection.

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                                                   Page 406                                                 Page 408
      1      A Please repeat that.                              1      Q And then flip through until you get to
      2   BY MR. GASTEL:                                        2   this page, which is a chart (indicating).
      3      Q Do you recall that in 2011 there was a           3      A (Complies.) Mm-hmm (affirmative).
      4   push to directly interact with what's called a        4      Q First page of the chart; do you see that?
      5   nonwarehousing chain?                                 5      A Yes, I do.
      6      A I don't recall that.                             6      Q And then about midway down, it lists Food
      7        MR. DAVISON: Objection.                          7   City; do you see that?
      8   BY MR. GASTEL:                                        8      A Yes, I do.
      9      Q Do you know what a nonwarehousing chain          9      Q And it says the store count is 73 and the
     10   is?                                                  10   wholesaler is ABC.
     11      A Yes, I do.                                      11      A Mm-hmm (affirmative).
     12      Q What is a nonwarehousing chain?                 12      Q Does that suggest to you that Food City
     13      A Nonwarehousing chain does not warehouse         13   was a target of this program which stated purpose
     14   product. They purchase it through their              14   was to expand Mallinckrodt's sales base?
     15   wholesaler, and they could be on contract with the   15        MR. DAVISON: Objection to form.
     16   manufacturer.                                        16      A Again, it could be. I don't recall
     17      Q And those could be pharmacies, correct?         17   writing this specifically. It could have been
     18        MR. DAVISON: Objection.                         18   Vic.
     19      A They could be pharmacies, yes.                  19   BY MR. GASTEL:
     20   BY MR. GASTEL:                                       20      Q And I understand that you didn't write it,
     21      Q And do you see this document on the second      21   but it would suggest that the goal here was to
     22   page, beginning with "Why Now?"                      22   expand sales to the chains listed here, which
     23      A Mm-hmm (affirmative).                           23   would include Food City; do you see --
     24      Q And one of the bullet points listed here        24        MR. DAVISON: Objection to form.
     25   is to "Expand our sales base and market share with   25      A Possibly expand sales, but to work with
                                                   Page 407                                                 Page 409
      1   the second tier chains which balances our risk        1   them and make -- put them on some type of a
      2   with large chain accounts."                           2   nonwarehousing program.
      3        Did I read that correctly?                       3   BY MR. GASTEL:
      4      A You did.                                         4      Q And so according to this document,
      5      Q Does that suggest to you that the purpose        5   in 2011, it was the goal to expand sales into
      6   of this program was to expand Mallinckrodt's sales    6   nonwarehousing chains like Food City, correct?
      7   base?                                                 7        MR. DAVISON: Objection.
      8        MR. DAVISON: Objection.                          8      A Yes. Could be, yes.
      9      A Not necessarily. I don't believe I wrote         9        (Whereupon, Exhibit Mallinckrodt-Becker-
     10   this particular part of this.                        10   044 was marked for identification by the
     11   BY MR. GASTEL:                                       11   reporter.)
     12      Q When you see the term "expand our sales         12        THE REPORTER: Number 44.
     13   base," you don't interpret that to mean that the     13   BY MR. GASTEL:
     14   goal of whatever program is being described here     14      Q You've just been handed a document that's
     15   is to expand Mallinckrodt's sales base?              15   been marked as Exhibit 44. It was produced to us
     16        MR. DAVISON: Objection.                         16   in this litigation carrying the Bates stamp
     17      A "Expand sales base" could mean that, yes.       17   MNK-T1_0005890567.
     18   BY MR. GASTEL:                                       18      A Yes.
     19      Q And do you see here on the next page it         19      Q Do you see at the top this is an e-mail to
     20   says, "Target Audience/Target Products"?             20   LouAnn Randall from Steven Becker, dated March
     21      A Mm-hmm (affirmative).                           21   28th, 2011; do you see that?
     22      Q And it says, "Non-warehousing chains with       22      A Yes, I do.
     23   20 or more pharmacies."                              23      Q Do you recall sending this e-mail?
     24        Did I read that correctly?                      24      A I don't recall sending it, no.
     25      A Yes, you did.                                   25      Q Any reason to doubt that you did?

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                                                                               Review
                                                         Page 410                                                 Page 412
      1      A No.                                                   1   BY MR. GASTEL:
      2      Q And it says, "Dear LouAnn, Attached is                2      Q And you had that intent despite knowing
      3   pricing and program outline that I need placed             3   that Masters was one of the customers selling into
      4   into profit models for the following accounts,             4   Food City, correct?
      5   Anda, Harvard, KeySource and Masters"; do you see          5        MR. DAVISON: Objection to form.
      6   that?                                                      6      A Repeat that question.
      7      A Yes, I do.                                            7   BY MR. GASTEL:
      8      Q And what does that mean, that you need                8      Q You put this program together despite
      9   this placed into profit models?                            9   knowing at this time that Masters was one of your
     10        MR. DAVISON: Objection.                              10   customers that was selling into Food City, right?
     11      A Profit models show a profitability of our            11        MR. DAVISON: Objection to form.
     12   products if we set specific accounts up to a              12      A I did not put this program together for
     13   nonwarehousing chain program.                             13   Masters in any regards.
     14   BY MR. GASTEL:                                            14   BY MR. GASTEL:
     15      Q And then you see that you also describe              15      Q Well, that wasn't my question, sir.
     16   this as the -- "This is for a special Alternative         16        My question was you put this program
     17   Non-warehousing Chain Program for distributors            17   together despite knowing that Masters, in 2011,
     18   which Jane presented to Ginger."                          18   was one of your customers to Food City, right?
     19        Did I read that correctly?                           19        MR. DAVISON: Objection to form.
     20      A Yes.                                                 20      A I didn't know that they serviced Food
     21      Q And then there's a variety attachments to            21   City.
     22   this e-mail; do you see that?                             22   BY MR. GASTEL:
     23      A Yes.                                                 23      Q Well, the chargeback data that we looked
     24      Q And I want to just direct your attention             24   at earlier certainly would have told you that
     25   to the first one, which is the document that's            25   Masters was a --
                                                       Page 411                                                   Page 413
      1   described here as the "ANWC Program," okay? And            1      A I didn't have that information.
      2   then if you flip to the second page of that                2      Q But at that time, you still knew that
      3   document, you'll see that there are accounts               3   Masters was having problems with regard to
      4   listed there, and one of those accounts is the             4   maintaining effective controls against
      5   Food City account; do you see that?                        5   diversion --
      6      A Yes.                                                  6      A Evidently I did, yes.
      7      Q And so this is a follow-up to that                    7        MR. DAVISON: Objection.
      8   previous document that we were just reviewing              8   BY MR. GASTEL:
      9   regarding the nonwarehousing chain bridge the gap          9      Q And then if you didn't know that Masters
     10   campaign?                                                 10   was one of the Mallinckrodt customers that was
     11      A Mm-hmm (affirmative).                                11   selling into Food City, why would they be listed
     12        MR. DAVISON: Objection to form.                      12   here as one of the accounts that needed to be
     13   BY MR. GASTEL:                                            13   placed into profit models?
     14      Q Correct?                                             14        MR. DAVISON: Objection.
     15      A This document's a follow-up to that?                 15      A I'm not certain.
     16      Q Well, it's dated March 28th, 2011, and the           16   BY MR. GASTEL:
     17   previous document was dated six days earlier,             17      Q What's a chargeback restriction?
     18   March 22nd, 2011.                                         18        MR. DAVISON: Objection.
     19      A It could be.                                         19      A Chargeback restriction most likely would
     20      Q So it would appear that this is once again           20   be an account that's cut off to accept chargebacks
     21   you putting into motion to get this program off           21   of our product.
     22   the ground with the intent of expanding sales to          22   BY MR. GASTEL:
     23   nonwarehousing chains, including Food City, right?        23      Q Were you aware of any instances where a
     24        MR. DAVISON: Objection to from.                      24   distributor continued to ship to a customer even
     25      A Correct.                                             25   though a chargeback restriction was in place?

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                                                                               Review
                                                     Page 414                                                     Page 416
      1        MR. DAVISON: Objection to form.                    1      Q Do you recall ever trying to develop a
      2     A Not that I was aware of.                            2   program with your sales force to incentivize them
      3   BY MR. GASTEL:                                          3   to locate and report pill mill operations?
      4     Q Who was principally responsible for                 4        MR. DAVISON: Objection to form.
      5   collecting and maintaining chargeback data during       5      A No.
      6   your time at Mallinckrodt?                              6   BY MR. GASTEL:
      7     A I'm not certain who ran that department.            7      Q Were you ever incentivized to locate and
      8     Q Do you recall any specific people that              8   report suspicious orders?
      9   were involved in collecting or maintaining              9        MR. DAVISON: Objection.
     10   chargeback data?                                       10      A Were we incentivized?
     11     A I don't recall their names, no.                    11   BY MR. GASTEL:
     12     Q Was it your understanding that Karen               12      Q Yeah. You have a bonus system in place --
     13   Harper had that information?                           13      A No.
     14        MR. DAVISON: Objection.                           14      Q -- to incentivize you to meet sales,
     15     A She had access to it. She was the product          15   right?
     16   monitoring person.                                     16      A Correct.
     17   BY MR. GASTEL:                                         17        MR. DAVISON: Objection.
     18     Q Did you ever use IMS data in your role             18   BY MR. GASTEL:
     19   with Mallinckrodt?                                     19      Q So my question is, did you have an
     20     A Our marketing department may have.                 20   incentive structure in place to encourage you to
     21     Q Do you know how they used it?                      21   locate and report suspicious orders?
     22        MR. DAVISON: Objection.                           22      A No.
     23     A The marketing department used it in                23      Q Did you ever recall having a -- trying to
     24   presentations to the sales force.                      24   develop an incentive system to encourage the sales
     25        MR. GASTEL: And this will probably be             25   force to locate and report suspicious orders?
                                                      Page 415                                                     Page 417
      1   music to your ears, Mr. Becker, but I am almost         1      A No.
      2   done. If we could go off the record for two             2        MR. DAVISON: Objection.
      3   minutes and let me review my notes, and we'll be        3        MR. GASTEL: Mr. Becker, I have no further
      4   finished up with you shortly.                           4   questions for you to today.
      5        THE WITNESS: Okay.                                 5        THE WITNESS: Thank you.
      6        THE VIDEOGRAPHER: Going off the record.            6        MR. DAVISON: I just have something --
      7   The time is 6:02 p m.                                   7   very brief follow-up. Do you want to just go
      8        (A recess was taken from 6:02 p m. until           8   ahead? Is that okay with everyone?
      9   6:06 p.m.)                                              9        MR. GASTEL: Do you want to take the seat?
     10        THE VIDEOGRAPHER: We are back on the              10        MR. DAVISON: Yeah. Could we go off the
     11   record. The time is 6:06 p.m.                          11   record just real quick.
     12   BY MR. GASTEL:                                         12        THE VIDEOGRAPHER: Going off the record.
     13      Q Mr. Becker, you spoke with Mr. Loeser             13   The time is 8:08 p m. -- or I'm sorry, 6:08 p.m.
     14   briefly about this before, but you were                14        (A recess was taken from 6:08:19 p.m.
     15   compensated both with a salary and a bonus at the      15   until 6:08:52 p.m.)
     16   end of the year, correct?                              16        THE VIDEOGRAPHER: We are back on the
     17      A Correct.                                          17   record. Time is 6:08 p m.
     18      Q And your bonus was based on whether or not        18              EXAMINATION
     19   you hit specific sales targets, correct?               19   BY MR. DAVISON:
     20      A Correct.                                          20      Q Mr. Becker, my name is William Davison.
     21      Q Were you ever incentivized to locate and          21   I'm your lawyer here today, as well as
     22   report pill mill operations?                           22   representing Mallinckrodt, LLC, and SpecGX LLC.
     23        MR. DAVISON: Objection to form.                   23        THE REPORTER: I'm sorry. Slow down.
     24      A No.                                               24   BY MR. DAVISON:
     25   BY MR. GASTEL:                                         25      Q It's SpecGX LLC. And I just have a few

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      1   questions for you.                                    1   system?
      2       Do you recall talking earlier about First         2         Is that right?
      3   Veterinary Supply?                                    3        MR. DAVISON: Objection to form.
      4     A Yes.                                              4      A You'd have to ask Karen Harper that. I
      5     Q Had you ever heard of First Veterinary            5   don't recall.
      6   Supply before today?                                  6   BY MR. LOESER:
      7     A No.                                               7      Q You did, in fact, have a veterinary supply
      8     Q Do you know whether First Veterinary              8   customer; did you not?
      9   Supply sells exclusively veterinary products?         9      A There may have been some, yes.
     10     A No.                                              10      Q Yeah, and that was not First Veterinary
     11     Q Do you know whether First Veterinary             11   Supply company, as far as you knew; is that right?
     12   Supply sells exclusively to veterinarians?           12      A I believe so -- I'm not certain what
     13     A No.                                              13   account I had. I believe Schein Pharmaceutical,
     14     Q And do you recall talking earlier today          14   which was an account of mine, had a vet supply
     15   about chargeback data?                               15   distributor.
     16     A Yes.                                             16      Q And do you recall that for sales that were
     17     Q Were you ever in the chargeback department       17   to an actual vet supply distributor for the
     18   during your time at Mallinckrodt?                    18   purpose of supplying veterinarians, that those
     19     A No.                                              19   sales were not accounted for in the chargeback
     20     Q Did you ever have access to the actual           20   system?
     21   chargeback database when you worked at               21      A That very well could be. I'm not certain
     22   Mallinckrodt?                                        22   of that.
     23     A No.                                              23      Q And as Mr. Davison noted, you were not in
     24     Q Were others at Mallinckrodt more familiar        24   the chargeback department, correct?
     25   with the chargeback database and its capability      25      A Correct.
                                                   Page 419                                                  Page 421
      1   than you?                                             1      Q But you did have the ability to ask for
      2      A Yes.                                             2   chargeback reports; is that correct?
      3      Q During your time at Mallinckrodt, were you       3      A Correct.
      4   aware of all the information maintained by the        4      Q And, in fact, we saw in a few e-mail
      5   Drug Enforcement Administration relating to the       5   examples of you asking for chargeback reports?
      6   sale and distribution of controlled substances?       6      A Yes.
      7      A No.                                              7      Q And there was no limitation imposed by
      8        THE REPORTER: One moment.                        8   Mallinckrodt on the number of times you could ask
      9        Okay. Great.                                     9   for chargeback reports; is that --
     10   BY MR. DAVISON:                                      10      A Not that I'm aware of.
     11      Q And finally, do you recall talking about        11      Q And there was no limitation that
     12   Food City earlier today?                             12   restricted your ability to ask for chargeback
     13      A Yes.                                            13   reports with respect to any of your wholesale
     14      Q Was Food City ever a direct customer of         14   distributor clients; is that right?
     15   Mallinckrodt during your time at the company?        15        MR. DAVISON: Objection.
     16      A Not that I know.                                16      A Correct.
     17        MR. DAVISON: That's all the questions I         17   BY MR. LOESER:
     18   have, Mr. Becker.                                    18      Q That's correct?
     19        MR. LOESER: Just a couple of follow-up          19      A Yes.
     20   questions, Mr. Becker.                               20        MR. LOESER: I have no further questions.
     21             FURTHER EXAMINATION                        21        MR. DAVISON: Thank you. We can go off
     22   BY MR. LOESER:                                       22   the record.
     23      Q It's true, is it not, that veterinary           23        THE VIDEOGRAPHER: We're going off the
     24   sales, sales of opioids that were, in fact, to       24   record.
     25   veterinarians, were not recorded in the chargeback   25        This is the conclusion of the deposition.

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                                                                               Review
                                                 Page 422                                                          Page 424
      1   The time is 6:12 p.m.                               1 Deponent: Steven A. Becker
      2                                                           Deposition Date: December 19, 2018
      3                                                       2 Case: National Prescription Opiate Litigation
                                                              3
      4       (Time noted: 6:12 p.m., Wednesday,
                                                              4          ACKNOWLEDGMENT OF DEPONENT
      5   December 19, 2018.)                                 5
      6
                                                              6       I,_____________________________________,
      7
                                                              7 do hereby certify that I have read the foregoing
      8
                                                              8 pages, and that the same is a correct
      9
                                                              9 transcription of the answers given by me to the
     10                                                      10 questions therein propounded, except for the
     11                                                      11 corrections or changes in form or substance, if
     12                                                      12 any, noted in the attached Errata Sheet.
     13                 *****                                13
     14                                                      14 _________________________________________________
     15                                                      15 STEVEN A. BECKER          DATE
     16                                                      16
     17                                                      17

     18
                                                             18       Subscribed and sworn to before me
                                                             19 this________day of _________________, 20____.
     19
                                                             20
     20
                                                             21 My commission expires: _____________________.
     21
                                                             22
     22                                                      23
     23                                                           ____________________________________________
     24                                                      24 Notary Public
     25                                                      25

                                                 Page 423                                                          Page 425
      1               ERRATA                                  1 STATE OF MINNESOTA)
      2   Deponent: Steven A. Becker                                         : ss CERTIFICATE
                                                              2 COUNTY OF HENNEPIN)
          Deposition Date: December 19, 2018                  3
      3   Case: National Prescription Opiate Litigation               I, Myrina A. Kleinschmidt, Registered
                                                              4 Merit Reporter, a Notary Public in and for the
      4   PAGE LINE CHANGE                                        County of Ramsey, State of Minnesota, hereby
      5   ____ ____ ______________________________________    5 certify that I reported the deposition as noted on
      6     REASON: ______________________________________        the first page, and that the witness was by me
                                                              6 first duly sworn to tell the whole truth;
      7   ____ ____ ______________________________________    7       That the testimony was transcribed under
      8     REASON: ______________________________________        my direction and is a true record of the testimony
                                                              8 of the witness;
      9   ____ ____ ______________________________________    9      That I am not a relative or employee or
     10     REASON: ______________________________________        attorney or counsel of any of the parties or a
                                                             10 relative or employee of such attorney or counsel;
     11   ____ ____ ______________________________________   11      That I am not financially interested in
     12     REASON: ______________________________________        the action and have no contract with the parties,
                                                             12 attorneys, or persons with an interest in the
     13   ____ ____ ______________________________________
                                                                  action that affects or has a substantial tendency
     14     REASON: ______________________________________   13 to affect my impartiality;
     15   ____ ____ ______________________________________   14      That the right to read and sign the
                                                                  deposition by the witness was reserved;
     16     REASON: ______________________________________   15
     17   ____ ____ ______________________________________            WITNESS MY HAND AND SEAL this 24th day of
                                                             16 December, 2018.
     18     REASON: ______________________________________   17
     19   ____ ____ ______________________________________   18
                                                             19
     20     REASON: ______________________________________   20
     21   ____ ____ ______________________________________                   ________________________________
     22     REASON: ______________________________________   21              Myrina A. Kleinschmidt
                                                                             Registered Merit Reporter
     23   ____ ____ ______________________________________   22              Certified Realtime Reporter
     24     REASON: ______________________________________   23
                                                             24
     25                                                      25

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